Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27   Desc:
            Exhibit Exhibit A (Schedule of Claim-English) Page 1 of 96



                                 EXHIBIT A
                                     Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                             Desc:
                                                 Exhibit Exhibit A (Schedule of Claim-English) Page 2 of 96

                                                                           Twenty-Third Omnibus Objection
                                                                           Exhibit A - Exact Duplicate Claims
                                     CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
           NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
1 ACEVEDO CARRASCO,             05/25/18   Commonwealth of Puerto         19708                 $ 1,675.00* ACEVEDO CARRASCO,      05/25/18   Commonwealth of Puerto    22036           $ 1,675.00*
  JOHN PAUL                                Rico                                                             JOHN PAUL                         Rico
  MIGUEL PEREZ BURGOS                      17 BK 03283-LTS                                                  MIGUEL PEREZ BURGOS               17 BK 03283-LTS
  APARTADO 1062                                                                                             APARTADO 1062
  GUAYAMA, PR 00785                                                                                         GUAYAMA, PR 00785

  Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
2 ACEVEDO HERNANDEZ,            06/28/18   Commonwealth of Puerto         119653             Undetermined* ACEVEDO HERNANDEZ,      06/28/18   Commonwealth of Puerto    122488       Undetermined*
  NOELIA                                   Rico                                                            NOELIA                             Rico
  HC 3 BOX 7953                            17 BK 03283-LTS                                                 HC 3 BOX 7953                      17 BK 03283-LTS
  MOCA, PR 00676                                                                                           MOCA, PR 00676

  Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
3 ACEVEDO LUCIANO,              06/28/18   Commonwealth of Puerto         44894              Undetermined* ACEVEDO LUCIANO,        06/29/18   Commonwealth of Puerto    166216       Undetermined*
  ZAIDA I.                                 Rico                                                            ZAIDA I.                           Rico
  P.O BOX. 245                             17 BK 03283-LTS                                                 P.O. BOX 245                       17 BK 03283-LTS
  ANGELES, PR 00611                                                                                        ANGELES, PR 00611

  Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
4 ACEVEDO                       06/29/18   Commonwealth of Puerto         73038              Undetermined* ACEVEDO                 07/09/18   Commonwealth of Puerto    147837       Undetermined*
  MALDONADO,                               Rico                                                            MALDONADO,                         Rico
  CRISTINA                                 17 BK 03283-LTS                                                 CRISTINA                           17 BK 03283-LTS
  PO BOX 1359                                                                                              P.O. BOX 1359
  MOCA, PR 00676                                                                                           MOCA, PR 00676

  Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
5 ACEVEDO MENENDEZ,             06/29/18   Commonwealth of Puerto         166847                $ 7,000.00* ACEVEDO MENENDEZ,      07/06/18   Commonwealth of Puerto    160199          $ 7,000.00*
  DULCE MARIA                              Rico                                                             DULCE MARIA                       Rico
  PO BOX 5075 PMB 396                      17 BK 03283-LTS                                                  PO BOX 5075 PMB 396               17 BK 03283-LTS
  SAN GERMAN, PR 00683                                                                                      SAN GERMAN, PR 00683

  Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
6 ACEVEDO MESONERO,             05/25/18   Commonwealth of Puerto         34847              Undetermined* ACEVEDO MESONERO,       05/25/18   Commonwealth of Puerto    35028        Undetermined*
  MYRIAM I                                 Rico                                                            MYRIAM I                           Rico
  RAMEY                                    17 BK 03283-LTS                                                 RAMEY                              17 BK 03283-LTS
  105 HARRISON                                                                                             105 HARRISON
  AGUADILLA, PR 00603                                                                                      AGUADILLA, PR 00603

  Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




            * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 1 of 95
                                      Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                               Desc:
                                                  Exhibit Exhibit A (Schedule of Claim-English) Page 3 of 96

                                                                            Twenty-Third Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                    REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                         DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME              FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
7 ACEVEDO PASTRANA,              06/27/18   Commonwealth of Puerto         49475                   $ 4,200.00 ACEVEDO PASTRANA,       06/27/18   Commonwealth of Puerto    55930            $ 4,200.00
  MIRIAM                                    Rico                                                              MIRIAM                             Rico
  HC 02 BUZÓN 17962                         17 BK 03283-LTS                                                   HC 02 BUZÓN 17962                  17 BK 03283-LTS
  RÍO GRANDE, PR 00745                                                                                        RÍO GRANDE, PR 00745

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
8 ACEVEDO RODRIGUEZ,             07/02/18   Commonwealth of Puerto         111394             Undetermined* ACEVEDO RODRIGUEZ,        07/03/18   Commonwealth of Puerto    148364       Undetermined*
  MOISES                                    Rico                                                            MOISES                               Rico
  HC 69 BOX 16155                           17 BK 03283-LTS                                                 HC 69 BOX 16155                      17 BK 03283-LTS
  BAYAMON, PR 00956                                                                                         BAYAMON, PR 00956

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
9 ACEVEDO ROMAN,                 07/02/18   Commonwealth of Puerto         42336                   $ 6,048.00 ACEVEDO ROMAN,          07/05/18   Commonwealth of Puerto    155913           $ 6,048.00
  DINELIA E                                 Rico                                                              DINELIA E                          Rico
  1402 KIMDALE ST. E                        17 BK 03283-LTS                                                   7917 CARR 4485                     17 BK 03283-LTS
  LEHIGH ACRES, FL 33936                                                                                      QUEBRADILLAS, PR
                                                                                                              00678

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
10 ACEVEDO ROMAN,                07/02/18   Commonwealth of Puerto         90394                 $ 44,400.00 ACEVEDO ROMAN,           07/06/18   Commonwealth of Puerto    157087          $ 44,400.00
   DINELIA E.                               Rico                                                             DINELIA E.                          Rico
   1402 KIMDALE ST. E                       17 BK 03283-LTS                                                  1402 KIMDALE ST. E                  17 BK 03283-LTS
   LEHIGH ARCRES, FL                                                                                         LEHIGH ACRES, FL 33936
   33936

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
11 ACEVEDO ROMAN,                06/29/18   Commonwealth of Puerto         133789             Undetermined* ACEVEDO ROMAN,            06/29/18   Commonwealth of Puerto    133841       Undetermined*
   JUANA E.                                 Rico                                                            JUANA E.                             Rico
   116 AVE. LULIO E.                        17 BK 03283-LTS                                                 116 AVE. LULIO E.                    17 BK 03283-LTS
   SAAVEDRA                                                                                                 SAAVEDRO
   ISABELA, PR 00662                                                                                        ISABELA, PR 00662

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
12 ACEVEDO SANTOS,               06/06/18   Commonwealth of Puerto         60447              Undetermined* ACEVEDO SANTOS,           06/06/18   Commonwealth of Puerto    71551        Undetermined*
   ADRIAN                                   Rico                                                            ADRIAN                               Rico
   500 ROBERTO H.TODD                       17 BK 03283-LTS                                                 HC 02 BOX 6288                       17 BK 03283-LTS
   P.O.BOX 8000                                                                                             MOROVIS, PR 00687
   SANTURCE, PR 00910

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.



             * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 2 of 95
                                      Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                         Desc:
                                                  Exhibit Exhibit A (Schedule of Claim-English) Page 4 of 96

                                                                            Twenty-Third Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                              REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                   DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT               NAME          FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
13 ACEVEDO SOTO,                 05/11/18   Commonwealth of Puerto         14332              Undetermined* ACEVEDO SOTO,       05/11/18   Commonwealth of Puerto    14998        Undetermined*
   OSVALDO                                  Rico                                                            OSVALDO                        Rico
   HC 01 BOX 6070                           17 BK 03283-LTS                                                 HC01 BOX 6070                  17 BK 03283-LTS
   MOCA, PR 00676                                                                                           MOCA, PR 00676

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
14 ACEVEDO SOTO,                 05/11/18   Commonwealth of Puerto         14335              Undetermined* ACEVEDO SOTO,       05/11/18   Commonwealth of Puerto    14998        Undetermined*
   OSVALDO                                  Rico                                                            OSVALDO                        Rico
   HC 01 BOX 6070                           17 BK 03283-LTS                                                 HC01 BOX 6070                  17 BK 03283-LTS
   MOCA, PR 00676                                                                                           MOCA, PR 00676

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
15 ACEVEDO VARGAS,               08/13/18   Commonwealth of Puerto         163633             Undetermined* ACEVEDO VARGAS,     08/24/18   Commonwealth of Puerto    163429       Undetermined*
   ANGEL E.                                 Rico                                                            ANGEL E.                       Rico
   HC 60 BOX 29070                          17 BK 03283-LTS                                                 HC60 BOX 29070                 17 BK 03283-LTS
   AGUADA, PR 00602                                                                                         AGUADA, PR 00602

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
16 ACEVEDO VARGAS,               06/28/18   Commonwealth of Puerto         163286             Undetermined* ACEVEDO VARGAS,     06/28/18   Commonwealth of Puerto    163289       Undetermined*
   MARIBEL                                  Rico                                                            MARIBEL                        Rico
   PO BOX 1686                              17 BK 03283-LTS                                                 PO BOX 1686                    17 BK 03283-LTS
   HORMIGUEROS, PR                                                                                          HORMIGUEROS, PR
   00660                                                                                                    00660

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
17 ACOSTA FIGUEROA,              06/27/18   Commonwealth of Puerto         57260                 $ 44,353.43 ACOSTA FIGUEROA,   06/28/18   Commonwealth of Puerto    133962          $ 44,353.43
   MAGALY                                   Rico                                                             MAGALY                        Rico
   527 ORQUIDEA ST.                         17 BK 03283-LTS                                                  527 ORQUIDEA ST.              17 BK 03283-LTS
   MOCA GARDENS                                                                                              MOCA GARDENS
   MOCA, PR 00676                                                                                            MOCA, PR 00676

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
18 ACOSTA LUCIANO,               06/22/18   Commonwealth of Puerto         85790                 $ 18,000.00 ACOSTA LUCIANO,    06/22/18   Commonwealth of Puerto    107591          $ 18,000.00
   EVELYN                                   Rico                                                             EVELYN                        Rico
   1738 CALLE LA                            17 BK 03283-LTS                                                  1738 CALLE LA                 17 BK 03283-LTS
   MONTAÑA                                                                                                   MONTANA
   PONCE, PR 00728                                                                                           PONCE, PR 00728

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                    Page 3 of 95
                                      Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                              Desc:
                                                  Exhibit Exhibit A (Schedule of Claim-English) Page 5 of 96

                                                                            Twenty-Third Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
19 ACOSTA PADILLA,               06/28/18   Commonwealth of Puerto         64210              Undetermined* ACOSTA PADILLA,          06/28/18   Commonwealth of Puerto    66221        Undetermined*
   LUCIA                                    Rico                                                            LUCIA                               Rico
   1708 HIAWATHA DR                         17 BK 03283-LTS                                                 1708 HIAWATHA DR                    17 BK 03283-LTS
   KISSIMMEE, FL 34741                                                                                      KISSIMMEE, FL 34746

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
20 ACOSTA SANTIAGO,              06/05/18   Commonwealth of Puerto         118733                $ 43,782.46 ACOSTA SANTIAGO,        06/05/18   Commonwealth of Puerto    129868         $ 43,782.46*
   BETSY B.                                 Rico                                                             BETSY B.                           Rico
   PO BOX 330721                            17 BK 03283-LTS                                                  URB. NUEVO MAMAYES                 17 BK 03283-LTS
   PONCE, PR 00733                                                                                           CALLE PEDRO ROMAN
                                                                                                             SABATER 264
                                                                                                             PONCE, PR 00730

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
21 ACOSTA SANTIAGO,              06/27/18   Commonwealth of Puerto         73014              Undetermined* ACOSTA SANTIAGO,         07/06/18   Commonwealth of Puerto    159302       Undetermined*
   DIONISIO                                 Rico                                                            DIONISIO                            Rico
   PO BOX 801                               17 BK 03283-LTS                                                 PO BOX 801                          17 BK 03283-LTS
   SANTA ISABEL, PR 00757                                                                                   SANTA ISABEL, PR 00757
   -0801

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
22 ADORNO MARRERO,               06/06/18   Commonwealth of Puerto         48926              Undetermined* ADORNO MARRERO,          06/06/18   Commonwealth of Puerto    48952        Undetermined*
   VILMA                                    Rico                                                            VILMA                               Rico
   PMB 299                                  17 BK 03283-LTS                                                 PMB 299                             17 BK 03283-LTS
   P O BOX 4002                                                                                             P O BOX 4002
   VEGA ALTA, PR 00692                                                                                      VEGA ALTA, PR 00692

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
23 AGOSTINI AVILES,              05/07/18   Commonwealth of Puerto         10667                 $ 48,246.38 AGOSTINI AVILES,        05/07/18   Commonwealth of Puerto    11059           $ 48,246.38
   EDITH                                    Rico                                                             EDITH                              Rico
   RODRIGUEZ OLMO                           17 BK 03283-LTS                                                  RODRIGUEZ OLMO                     17 BK 03283-LTS
   4 CALLE G                                                                                                 4 CALLE G
   ARECIBO, PR 00612                                                                                         ARECIBO, PR 00612

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 4 of 95
                                      Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                              Desc:
                                                  Exhibit Exhibit A (Schedule of Claim-English) Page 6 of 96

                                                                            Twenty-Third Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
24 AGOSTINI AVILES,              05/07/18   Commonwealth of Puerto         10708                 $ 48,246.38 AGOSTINI AVILES,        05/07/18   Commonwealth of Puerto    11059           $ 48,246.38
   EDITH                                    Rico                                                             EDITH                              Rico
   RODRIGUEZ OLMO                           17 BK 03283-LTS                                                  RODRIGUEZ OLMO                     17 BK 03283-LTS
   CALLE G 4                                                                                                 4 CALLE G
   ARECIBO, PR 00612                                                                                         ARECIBO, PR 00612

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
25 AGOSTO JORGE, SOR             06/29/18   Commonwealth of Puerto         80095              Undetermined* AGOSTO JORGE, SOR        07/06/18   Commonwealth of Puerto    160029       Undetermined*
   ANGEL                                    Rico                                                            ANGEL                               Rico
   RR 08 BOX 9553                           17 BK 03283-LTS                                                 RR 8 BOX 9553                       17 BK 03283-LTS
   BAYAMON, PR 00956                                                                                        BAYAMON, PR 00956

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
26 AGRONT PEREZ, TAIRA           06/26/18   Commonwealth of Puerto         86767              Undetermined* AGRONT PEREZ, TAIRA      06/26/18   Commonwealth of Puerto    92641        Undetermined*
   V.                                       Rico                                                            V.                                  Rico
   HC-57 BOX 15611                          17 BK 03283-LTS                                                 HC 57 BOX 15611                     17 BK 03283-LTS
   AGUADA, PR 00602                                                                                         AGUADA, PR 00602

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
27 AGUAYO CRUZ, IDA              06/28/18   Commonwealth of Puerto         136045             Undetermined* AGUAYO CRUZ, IDA         06/28/18   Commonwealth of Puerto    154075       Undetermined*
   LUZ                                      Rico                                                            LUZ                                 Rico
   AC-21 C/45 STA.                          17 BK 03283-LTS                                                 AC-21 CALLE 45 STA.                 17 BK 03283-LTS
   JUANITA                                                                                                  JUANITA
   BAYAMON, PR 00956                                                                                        BAYAMON, PR 00956

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
28 AGUAYO LOPEZ,                 05/04/18   Commonwealth of Puerto         10398                $ 121,599.28 AGUAYO LOPEZ,           05/04/18   Commonwealth of Puerto    10399          $ 121,599.28
   MARILYN                                  Rico                                                             MARILYN                            Rico
   MILAGROS ACEVEDO                         17 BK 03283-LTS                                                  MILAGROS ACEVEDO                   17 BK 03283-LTS
   COLON                                                                                                     COLON
   COND COLINA REAL                                                                                          COND COLINA REAL
   2000 AVE F RINCON BOX                                                                                     2000 AVE F RINCON BOX
   1405                                                                                                      1405
   SAN JUAN, PR 00926                                                                                        SAN JUAN, PR 00926

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 5 of 95
                                      Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                             Desc:
                                                  Exhibit Exhibit A (Schedule of Claim-English) Page 7 of 96

                                                                            Twenty-Third Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
29 AGUEDA RIOS, ELIAS            06/11/18   Commonwealth of Puerto         25459              Undetermined* AGUEDA RIOS, ELIAS      06/11/18   Commonwealth of Puerto    25483        Undetermined*
   PO BOX 508                               Rico                                                            PO BOX 5085                        Rico
   FLORIDA, PR 00650-0508                   17 BK 03283-LTS                                                 FLORIDA, PR 00650-508              17 BK 03283-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
30 ALAMEDA, EVELYN               06/25/18   Commonwealth of Puerto         37717                 $ 16,800.00 ALAMEDA, EVELYN        06/25/18   Commonwealth of Puerto    41251           $ 16,800.00
   SANTANA                                  Rico                                                             SANTANA                           Rico
   HC 01 BOX 7367                           17 BK 03283-LTS                                                  HC 01 BOX 7367                    17 BK 03283-LTS
   LAJAS, PR 00667                                                                                           LAJAS, PR 00667

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
31 ALBERTORIO RIVERA,            06/29/18   Commonwealth of Puerto         153192             Undetermined* ALBERTORIO RIVERA,      06/29/18   Commonwealth of Puerto    154605       Undetermined*
   FRANCES T.                               Rico                                                            FRANCES T.                         Rico
   157 CALLE                                17 BK 03283-LTS                                                 157 CALLE                          17 BK 03283-LTS
   CONFRATERNIDAD                                                                                           CONFRATERNIDAD
   URB. PARAISO DE                                                                                          URB. PARAISO
   MAYAGUEZ                                                                                                 MAYAGUEZ
   MAYAGUEZ, PR 00680                                                                                       MAYAGUEZ, PR 00680

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
32 ALBINO FIGUEROA,              04/06/18   Commonwealth of Puerto          5441              Undetermined* ALBINO FIGUEROA,        04/06/18   Commonwealth of Puerto    6755         Undetermined*
   JORGE C                                  Rico                                                            JORGE C                            Rico
   M 44 RIO HONDO                           17 BK 03283-LTS                                                 RIO HONDO                          17 BK 03283-LTS
   MAYAGUEZ, PR 00680                                                                                       M44
                                                                                                            MAYAGUEZ, PR 00680

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
33 ALBIZU MERCED,                05/17/18   Commonwealth of Puerto         12430              Undetermined* ALBIZU MERCED,          05/23/18   Commonwealth of Puerto    32575        Undetermined*
   ANTONIA M.                               Rico                                                            ANTONIA M.                         Rico
   URB. COVADONGA                           17 BK 03283-LTS                                                 URB. COVADONGA                     17 BK 03283-LTS
   2E4 CALLE ARRIONDAS                                                                                      2E4 CALLE ARRIONDAS
   TOA BAJA, PR 00949                                                                                       TOA BAJA, PR 00949

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 6 of 95
                                      Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                            Desc:
                                                  Exhibit Exhibit A (Schedule of Claim-English) Page 8 of 96

                                                                            Twenty-Third Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME           FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
34 ALCAZAR RUIZ, INGRED          05/29/18   Commonwealth of Puerto         40124              Undetermined* ALCAZAR RUIZ, INGRED   05/29/18   Commonwealth of Puerto    40388        Undetermined*
   URB VILLAS DE RIO                        Rico                                                            URB VILLAS DE RIO                 Rico
   VERDE                                    17 BK 03283-LTS                                                 VERDE                             17 BK 03283-LTS
   ZZ3 CALLE 25                                                                                             ZZ3 CALLE 25
   CAGUAS, PR 00725                                                                                         CAGUAS, PR 00725

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
35 ALCAZAR RUIZ, INGRED          05/29/18   Commonwealth of Puerto         40265              Undetermined* ALCAZAR RUIZ, INGRED   05/29/18   Commonwealth of Puerto    40388        Undetermined*
   ZZ-3 CALLE 25                            Rico                                                            URB VILLAS DE RIO                 Rico
   CAGUAS, PR 00725                         17 BK 03283-LTS                                                 VERDE                             17 BK 03283-LTS
                                                                                                            ZZ3 CALLE 25
                                                                                                            CAGUAS, PR 00725

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
36 ALEMAN RIOS,                  06/27/18   Commonwealth of Puerto         54092                $ 25,000.00* ALEMAN RIOS,          06/27/18   Commonwealth of Puerto    58720          $ 25,000.00*
   MARITZA                                  Rico                                                             MARITZA                          Rico
   ALTURAS                                  17 BK 03283-LTS                                                  ALTURAS                          17 BK 03283-LTS
   BUCARABONES L-18                                                                                          BUCARABONES
   CALLE 48                                                                                                  L-18 CALLE 48
   TOA ALTA, PR 00953                                                                                        TOA ALTA, PR 00953

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
37 ALEQUIN VALLES,               06/25/18   Commonwealth of Puerto         92718              Undetermined* ALEQUIN VALLES,        06/25/18   Commonwealth of Puerto    97902        Undetermined*
   DIGNA                                    Rico                                                            DIGNA                             Rico
   HC 64 BOX 8349                           17 BK 03283-LTS                                                 BO. GUARDARRAYA                   17 BK 03283-LTS
   BO GUARDURRAYA                                                                                           HC 764 BUZON 8349
   PATILLAS, PR 00723                                                                                       PATILLAS, PR 00723

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
38 ALICEA ALICEA,                06/29/18   Commonwealth of Puerto         136729             Undetermined* ALICEA ALICEA,         06/29/18   Commonwealth of Puerto    164341       Undetermined*
   REYNALDO                                 Rico                                                            REYNALDO                          Rico
   PO BOX 561860                            17 BK 03283-LTS                                                 P.O. BOX 561860                   17 BK 03283-LTS
   GUAYANILLA, PR 00656                                                                                     GUAYANILLA, PR 00656

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 7 of 95
                                      Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                           Desc:
                                                  Exhibit Exhibit A (Schedule of Claim-English) Page 9 of 96

                                                                            Twenty-Third Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                     DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME           FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
39 ALICEA CRUZ, ADA E            06/28/18   Commonwealth of Puerto         113253             Undetermined* ALICEA CRUZ, ADA E    06/28/18   Commonwealth of Puerto    121790       Undetermined*
   URB MONTECASINO                          Rico                                                            URB. MONTECASINO                 Rico
   HEIGHTS                                  17 BK 03283-LTS                                                 HEIGHTS                          17 BK 03283-LTS
   229 CRIO GUAMANI                                                                                         226 RIO GUAMANI
   TOA ALTA, PR 00953                                                                                       TOA ALTA, PR 00953

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
40 ALICEA CRUZ, ADA E            06/28/18   Commonwealth of Puerto         118573             Undetermined* ALICEA CRUZ, ADA E    06/28/18   Commonwealth of Puerto    121790       Undetermined*
   URB. MONTECASINO                         Rico                                                            URB. MONTECASINO                 Rico
   HEIGHTS                                  17 BK 03283-LTS                                                 HEIGHTS                          17 BK 03283-LTS
   226 RIO GUAMANI                                                                                          226 RIO GUAMANI
   TOA ALTA, PR 00953                                                                                       TOA ALTA, PR 00953

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
41 ALICEA GALARZA,               06/29/18   Commonwealth of Puerto         93271              Undetermined* ALICEA GALARZA,       06/29/18   Commonwealth of Puerto    103111       Undetermined*
   EDDIE J                                  Rico                                                            EDDIE J                          Rico
   URB VISTA DEL RIO 2                      17 BK 03283-LTS                                                 URB VISTA DEL RIO 2              17 BK 03283-LTS
   CALLE 12 L-12                                                                                            CALLE 12 L-12
   ANASCO, PR 00610                                                                                         ANASCO, PR 00610

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
42 ALICEA GALARZA,               06/29/18   Commonwealth of Puerto         93326              Undetermined* ALICEA GALARZA,       06/29/18   Commonwealth of Puerto    103111       Undetermined*
   EDDIE J                                  Rico                                                            EDDIE J                          Rico
   URB VISTA DEL RIO 2                      17 BK 03283-LTS                                                 URB VISTA DEL RIO 2              17 BK 03283-LTS
   CALLE 12 L-12                                                                                            CALLE 12 L-12
   ANASCO, PR 00610                                                                                         ANASCO, PR 00610

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
43 ALICEA GALARZA,               06/29/18   Commonwealth of Puerto         102004             Undetermined* ALICEA GALARZA,       06/29/18   Commonwealth of Puerto    103111       Undetermined*
   EDDIE J                                  Rico                                                            EDDIE J                          Rico
   VISTA DEL RIO 2                          17 BK 03283-LTS                                                 URB VISTA DEL RIO 2              17 BK 03283-LTS
   CALLE 12 L12                                                                                             CALLE 12 L-12
   ANASCO, PR 00610                                                                                         ANASCO, PR 00610

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                      Page 8 of 95
                                      Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                             Desc:
                                                  Exhibit Exhibit A (Schedule of Claim-English) Page 10 of 96

                                                                            Twenty-Third Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
44 ALICEA MENDEZ,                06/29/18   Commonwealth of Puerto         131674             Undetermined* ALICEA MENDEZ,          06/29/18   Commonwealth of Puerto    151770       Undetermined*
   CESAR                                    Rico                                                            CESAR                              Rico
   URB VILLA                                17 BK 03283-LTS                                                 URB VILLA                          17 BK 03283-LTS
   INTERAMERICANA                                                                                           INTERAMERICANA
   D-14 CALLE 4                                                                                             D-14 CALLE 4
   SAN GERMAN, PR 00683                                                                                     SAN GERMAN, PR 00683

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
45 ALICEA SERRANO,               05/23/18   Commonwealth of Puerto         19377              Undetermined* ALICEA SERRANO,         05/25/18   Commonwealth of Puerto    22411        Undetermined*
   WANDA I                                  Rico                                                            WANDA I                            Rico
   URB LA MARINA                            17 BK 03283-LTS                                                 URB LA MARINA                      17 BK 03283-LTS
   23 CALLE CANCER                                                                                          23 CALLE CANCER
   CAROLINA, PR 00979                                                                                       CAROLINA, PR 00979

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
46 ALICEA VIROLA,                05/29/18   Commonwealth of Puerto         24688              Undetermined* ALICEA VIROLA,          05/29/18   Commonwealth of Puerto    30999           $ 9,000.00*
   VANESSA                                  Rico                                                            VANESSA                            Rico
   URB ALTA VISTA                           17 BK 03283-LTS                                                 URB ALTA VISTA                     17 BK 03283-LTS
   Q 17 CALLE 19                                                                                            Q 17 CALLE 19
   PONCE, PR 00716                                                                                          PONCE, PR 00716

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
47 ALLEN TELECOM LLC             05/17/18   Commonwealth of Puerto         15894                 $ 80,000.00 ALLEN TELECOM LLC      05/25/18   Commonwealth of Puerto    19831           $ 80,000.00
   ROBINSON, BRADSHAW                       Rico                                                             ROBINSON, BRADSHAW                Rico
   & HINSON, P.A.                           17 BK 03283-LTS                                                  & HINSON, P.A.                    17 BK 03283-LTS
   DAVID M. SCHILLI                                                                                          DAVID M. SCHILLI
   101 N. TRYON STREET                                                                                       101 N. TRYON STREET
   SUITE 1900                                                                                                SUITE 1900
   CHARLOTTE, NC 28246                                                                                       CHARLOTTE, NC 28246

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
48 ALMEDA ACEVEDO,               05/04/18   Commonwealth of Puerto          8998              Undetermined* ALMEDA ACEVEDO,         05/04/18   Commonwealth of Puerto    9085         Undetermined*
   ALEX                                     Rico                                                            ALEX                               Rico
   HC 20 BOX 25504                          17 BK 03283-LTS                                                 HC-02 BOX 25504                    17 BK 03283-LTS
   SAN LORENZO, PR 00754                                                                                    SAN LORENZO, PR 00754
                                                                                                            -9615

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 9 of 95
                                      Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                           Desc:
                                                  Exhibit Exhibit A (Schedule of Claim-English) Page 11 of 96

                                                                            Twenty-Third Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                     DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME           FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
49 ALMODOVAR                     06/24/18   Commonwealth of Puerto         47555              Undetermined* ALMODOVAR             06/25/18   Commonwealth of Puerto    40801        Undetermined*
   GONZALEZ, ELVIN O.                       Rico                                                            GONZALEZ, ELVIN O.               Rico
   212 CALLE 65 DE                          17 BK 03283-LTS                                                 212 CALLE 65 DE                  17 BK 03283-LTS
   INFANTERIA                                                                                               INFANTERIA
   PENUELAS, PR 00624                                                                                       PENUELAS, PR 00698

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
50 ALMODOVAR                     04/23/18   Commonwealth of Puerto          9581              Undetermined* ALMODOVAR             04/23/18   Commonwealth of Puerto    9649         Undetermined*
   VAZQUEZ, MIRIAM                          Rico                                                            VAZQUEZ, MIRIAM                  Rico
   LA PROVIDENCIA                           17 BK 03283-LTS                                                 PO BOX 331447                    17 BK 03283-LTS
   2120 CALLE FRANCO                                                                                        PONCE, PR 00733
   PONCE, PR 00728-3133

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
51 ALMODOVAR,                    06/28/18   Commonwealth of Puerto         46954              Undetermined* ALMODOVAR,            06/28/18   Commonwealth of Puerto    59390        Undetermined*
   YOLANDA                                  Rico                                                            YOLANDA                          Rico
   CALLE AA Z-20                            17 BK 03283-LTS                                                 CALLE AA Z-20                    17 BK 03283-LTS
   ALTURAS                                                                                                  ALTURAS
   VEGA BAJA, PR 00693                                                                                      VEGA BAJA, PR 00693

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
52 ALOMAR TORRES,                06/25/18   Commonwealth of Puerto         50019              Undetermined* ALOMAR TORRES,        06/27/18   Commonwealth of Puerto    106612       Undetermined*
   FRANCISCO                                Rico                                                            FRANCISCO                        Rico
   P.O BOX 2131                             17 BK 03283-LTS                                                 PO BOX 2131                      17 BK 03283-LTS
   SALINAS, PR 00751                                                                                        SALINAS, PR 00751

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
53 ALOMAR TORRES,                06/26/18   Commonwealth of Puerto         52267              Undetermined* ALOMAR TORRES,        06/27/18   Commonwealth of Puerto    101737       Undetermined*
   FRANCISCO                                Rico                                                            FRANCISCO                        Rico
   PO BOX 2131                              17 BK 03283-LTS                                                 P.O BOX 2131                     17 BK 03283-LTS
   SALINAS, PR 00751                                                                                        SALINAS, PR 00751

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
54 ALOMAR TORRES,                06/26/18   Commonwealth of Puerto         52849              Undetermined* ALOMAR TORRES,        06/27/18   Commonwealth of Puerto    109499       Undetermined*
   FRANCISCO                                Rico                                                            FRANCISCO                        Rico
   P.O. BOX 2131                            17 BK 03283-LTS                                                 P.O. BOX 2131                    17 BK 03283-LTS
   SALINAS, PR 00751                                                                                        SALINAS, PR 00751

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                      Page 10 of 95
                                      Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                              Desc:
                                                  Exhibit Exhibit A (Schedule of Claim-English) Page 12 of 96

                                                                            Twenty-Third Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME              FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
55 ALOMAR TORRES,                06/26/18   Commonwealth of Puerto         53031              Undetermined* ALOMAR TORRES,           06/27/18   Commonwealth of Puerto    144162       Undetermined*
   FRANCISCO                                Rico                                                            FRANCISCO                           Rico
   P.O. BOX 2131                            17 BK 03283-LTS                                                 PO BOX 2131                         17 BK 03283-LTS
   SALINAS, PR 00751                                                                                        SALINAS, PR 00751

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
56 ALONSO, REYNALDO              05/29/18   Commonwealth of Puerto         39681               $ 150,000.00* ALONSO, REYNALDO        05/29/18   Commonwealth of Puerto    43276         $ 150,000.00*
   MARGARITA CARRILLO                       Rico                                                             MARGARITA CARRILLO                 Rico
   ITURRINO                                 17 BK 03283-LTS                                                  ITURRINO                           17 BK 03283-LTS
   EDIF. LE MANS OFI 508                                                                                     EDIF. LE MANS OFI 508
   602 AVE MUNOZ                                                                                             602 AVE MUNOZ
   RIVERA                                                                                                    RIVERA
   SAN JUAN, PR 00918                                                                                        SAN JUAN, PR 00918

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
57 ALVARADO                      06/27/18   Commonwealth of Puerto         49467              Undetermined* ALVARADO                 06/27/18   Commonwealth of Puerto    54864        Undetermined*
   ALVARADO, ELBA M.                        Rico                                                            ALVARADO, ELBA M.                   Rico
   BO: BERMEJALES                           17 BK 03283-LTS                                                 HC 01 BOX 5904                      17 BK 03283-LTS
   SECTOR LA CUCHILLA                                                                                       BO. BERMEJALES
   CARR. 143 KM. 44.1                                                                                       SECTOR LA CUCHILLA
   HC -01 BOX 5904                                                                                          CARR. 143 KM 44.1
   OROCOVIS, PR 00720                                                                                       OROCOVIS, PR 00720-
                                                                                                            9703

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
58 ALVARADO DECLET,              06/28/18   Commonwealth of Puerto         64158              Undetermined* ALVARADO DECLET,         06/28/18   Commonwealth of Puerto    65175        Undetermined*
   MARTA                                    Rico                                                            MARTA                               Rico
   HC- 01 BOX 2036                          17 BK 03283-LTS                                                 HC-01 BOX 2036                      17 BK 03283-LTS
   MOROVIS, PR 00687                                                                                        MOROVIS, PR 00687

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
59 ALVARADO DIAZ,                06/26/18   Commonwealth of Puerto         92898              Undetermined* ALVARADO DIAZ,           06/26/18   Commonwealth of Puerto    97119        Undetermined*
   CARLOS M                                 Rico                                                            CARLOS M                            Rico
   PO BOX 1003                              17 BK 03283-LTS                                                 PO BOX 1003                         17 BK 03283-LTS
   COAMO, PR 00769                                                                                          COAMO, PR 00769

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 11 of 95
                                      Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                            Desc:
                                                  Exhibit Exhibit A (Schedule of Claim-English) Page 13 of 96

                                                                            Twenty-Third Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
60 ALVARADO ORTIZ,               05/17/18   Commonwealth of Puerto         12724              Undetermined* ALVARADO ORTIZ,        05/17/18   Commonwealth of Puerto    16047        Undetermined*
   MADELINE                                 Rico                                                            MADELINE                          Rico
   HC02 BOX 4207                            17 BK 03283-LTS                                                 HC 02 BOX 4207                    17 BK 03283-LTS
   VILLALBA, PR 00766-                                                                                      BO.JOVITO CARR.150
   9711                                                                                                     INT.560 KM.0.7
                                                                                                            VILLALBA, PR 00766-
                                                                                                            9711

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
61 ALVARADO RIVERA,              06/29/18   Commonwealth of Puerto         133389             Undetermined* ALVARADO RIVERA,       06/29/18   Commonwealth of Puerto    139907       Undetermined*
   ELIZABETH                                Rico                                                            ELIZABETH                         Rico
   100 CARR. 648                            17 BK 03283-LTS                                                 100 CARR. 648                     17 BK 03283-LTS
   CONDOMINIO APT 11                                                                                        CONDOMINIO MAR
   MARCHIQUITA                                                                                              CHIQUITE
   MANATI, PR 00674                                                                                         APT. 11
                                                                                                            MANATI, PR 00674

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
62 ALVARADO TORRES,              06/28/18   Commonwealth of Puerto         67655              Undetermined* ALVARADO TORRES,       07/03/18   Commonwealth of Puerto    154893       Undetermined*
   MARIA L                                  Rico                                                            MARIA L                           Rico
   HC 01 BOX 6513                           17 BK 03283-LTS                                                 HC 01 BOX 6513                    17 BK 03283-LTS
   OROCOVIS, PR 00720                                                                                       OROCOVIS, PR 00720

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
63 ALVARADO VAZQUEZ,             06/28/18   Commonwealth of Puerto         116185             Undetermined* ALVARADO VAZQUEZ,      06/28/18   Commonwealth of Puerto    117504       Undetermined*
   JESUS M.                                 Rico                                                            JESUS M.                          Rico
   PO BOX 370158                            17 BK 03283-LTS                                                 PO BOX 370158                     17 BK 03283-LTS
   CAYEY, PR 00737-0158                                                                                     CAYEY, PR 00737-0158

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
64 ALVAREZ FUENTES,              06/22/18   Commonwealth of Puerto         35372              Undetermined* ALVAREZ FUENTES,       06/22/18   Commonwealth of Puerto    46399        Undetermined*
   MARIA C.                                 Rico                                                            MARIA C.                          Rico
   PO BOX 1981 PMB 143                      17 BK 03283-LTS                                                 PO BOX 1981 PMB 143               17 BK 03283-LTS
   LOIZA, PR 00772                                                                                          LOIZA, PR 00772

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 12 of 95
                                     Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                          Desc:
                                                 Exhibit Exhibit A (Schedule of Claim-English) Page 14 of 96

                                                                           Twenty-Third Omnibus Objection
                                                                           Exhibit A - Exact Duplicate Claims
                                     CLAIMS TO BE DISALLOWED                                                                               REMAINING CLAIMS

                                DATE           CASE NUMBER /                                                                    DATE          CASE NUMBER /
           NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT              NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
65 ALVAREZ GARCIA,              05/20/18   Commonwealth of Puerto         12979              Undetermined* ALVAREZ GARCIA,      06/04/18   Commonwealth of Puerto    31378        Undetermined*
   ANDRES JOSE                             Rico                                                            ANDRES JOSE                     Rico
   LAVINIA GARCIA                          17 BK 03283-LTS                                                 LAVINIA GARCIA                  17 BK 03283-LTS
   CUEBAS                                                                                                  CUEBAS
   JARDIN SANTA MARIA                                                                                      JARDIN SANTA MARIA
   CALLE MILAGROSA #75                                                                                     75 CALLE MILAGROSA
   APT 106                                                                                                 APT. 106
   MAYAGUEZ, PR 00680                                                                                      MAYAGUEZ, PR 00680

  Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
66 ALVAREZ GARCIA,              05/20/18   Commonwealth of Puerto         14662              Undetermined* ALVAREZ GARCIA,      06/04/18   Commonwealth of Puerto    31378        Undetermined*
   ANDRES JOSE                             Rico                                                            ANDRES JOSE                     Rico
   LAVINIA GARCIA                          17 BK 03283-LTS                                                 LAVINIA GARCIA                  17 BK 03283-LTS
   CUEBAS                                                                                                  CUEBAS
   JARDIN SANTA MARIA                                                                                      JARDIN SANTA MARIA
   CALLE MILAGROSA #75                                                                                     75 CALLE MILAGROSA
   APT 106                                                                                                 APT. 106
   MAYAGUEZ, PR 00680                                                                                      MAYAGUEZ, PR 00680

  Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
67 ALVAREZ GARCIA,              05/20/18   Commonwealth of Puerto         15320              Undetermined* ALVAREZ GARCIA,      06/04/18   Commonwealth of Puerto    31378        Undetermined*
   ANDRES JOSE                             Rico                                                            ANDRES JOSE                     Rico
   LAVINIA GARCIA                          17 BK 03283-LTS                                                 LAVINIA GARCIA                  17 BK 03283-LTS
   CUEBAS                                                                                                  CUEBAS
   JARDIN SANTA MARIA                                                                                      JARDIN SANTA MARIA
   CALLE MILAGROSA #75                                                                                     75 CALLE MILAGROSA
   APT 106                                                                                                 APT. 106
   MAYAGUEZ, PR 00680                                                                                      MAYAGUEZ, PR 00680

  Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
68 ALVAREZ GARCIA,              06/04/18   Commonwealth of Puerto         30725              Undetermined* ALVAREZ GARCIA,      06/04/18   Commonwealth of Puerto    31749        Undetermined*
   ANDRES JOSE                             Rico                                                            ANDRES JOSE                     Rico
   JARDIN SANTA MARIA                      17 BK 03283-LTS                                                 JARDIN SANTA MARIA              17 BK 03283-LTS
   75 CALLE MILAGROSA                                                                                      75 CALLE MILAGROSA
   APT. 106                                                                                                APT.106
   MAYAGUEZ, PR 00680                                                                                      MAYAGUEZ, PR 00680

  Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




            * Indicates claim contains unliquidated and/or undetermined amounts                                                                     Page 13 of 95
                                     Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                          Desc:
                                                 Exhibit Exhibit A (Schedule of Claim-English) Page 15 of 96

                                                                           Twenty-Third Omnibus Objection
                                                                           Exhibit A - Exact Duplicate Claims
                                     CLAIMS TO BE DISALLOWED                                                                               REMAINING CLAIMS

                                DATE           CASE NUMBER /                                                                    DATE          CASE NUMBER /
           NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT              NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
69 ALVAREZ GARCIA,              06/04/18   Commonwealth of Puerto         31505              Undetermined* ALVAREZ GARCIA,      06/04/18   Commonwealth of Puerto    31749        Undetermined*
   ANDRES JOSE                             Rico                                                            ANDRES JOSE                     Rico
   LAVINIA GARCIA                          17 BK 03283-LTS                                                 JARDIN SANTA MARIA              17 BK 03283-LTS
   CUEBAS                                                                                                  75 CALLE MILAGROSA
   JARDIN SANTA MARIA                                                                                      APT.106
   75 CALLE MILAGROSA                                                                                      MAYAGUEZ, PR 00680
   APT. 106
   MAYAGUEZ, PR 00680

  Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
70 ALVAREZ GARCIA,              06/04/18   Commonwealth of Puerto         31679              Undetermined* ALVAREZ GARCIA,      06/04/18   Commonwealth of Puerto    31749        Undetermined*
   ANDRES JOSE                             Rico                                                            ANDRES JOSE                     Rico
   JARDIN SANTA MARIA                      17 BK 03283-LTS                                                 JARDIN SANTA MARIA              17 BK 03283-LTS
   75 CALLE MILAGROSA                                                                                      75 CALLE MILAGROSA
   APT 106                                                                                                 APT.106
   MAYAGUEZ, PR 00680                                                                                      MAYAGUEZ, PR 00680

  Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
71 ÁLVAREZ GARCÍA,              06/04/18   Commonwealth of Puerto         31164              Undetermined* ALVAREZ GARCIA,      06/04/18   Commonwealth of Puerto    31749        Undetermined*
   ANDRÉS JOSÉ                             Rico                                                            ANDRES JOSE                     Rico
   JARDIN SANTA MARIA                      17 BK 03283-LTS                                                 JARDIN SANTA MARIA              17 BK 03283-LTS
   75 CALLE MILAGROSA                                                                                      75 CALLE MILAGROSA
   APT 106                                                                                                 APT.106
   MAYAGUEZ, PR 00680                                                                                      MAYAGUEZ, PR 00680

  Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
72 ALVAREZ LUGO,                06/29/18   Commonwealth of Puerto         75453              Undetermined* ALVAREZ LUGO,        06/29/18   Commonwealth of Puerto    75770        Undetermined*
   HECTOR V                                Rico                                                            HECTOR V                        Rico
   URB. CIUDAD CENTRAL                     17 BK 03283-LTS                                                 HECTOR V ALVAREZ                17 BK 03283-LTS
   II NUM 527                                                                                              LUGO URB CIUDAD
   CALLE ANGEL R                                                                                           URB CIUDAD CENTRAL
   MENDEZ                                                                                                  II NUM 527 ANGEL R
   CAROLINA, PR 00987                                                                                      MENDEZ
                                                                                                           CAROLINA, PR 00987

  Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




            * Indicates claim contains unliquidated and/or undetermined amounts                                                                     Page 14 of 95
                                      Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                              Desc:
                                                  Exhibit Exhibit A (Schedule of Claim-English) Page 16 of 96

                                                                            Twenty-Third Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
73 ALVAREZ MATTA, CARL           05/24/18   Commonwealth of Puerto         17910                 $ 19,200.00 ALVAREZ MATTA, CARL     05/25/18   Commonwealth of Puerto    34170          $ 19,200.00*
   COND TORRES ALTA 274                     Rico                                                             COND TORRES ALTA 274               Rico
   CALLE MEJICO APT 204                     17 BK 03283-LTS                                                  CALLE MEJICO APT 204               17 BK 03283-LTS
   SAN JUAN, PR 00918                                                                                        SAN JUAN, PR 00918

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
74 ALVAREZ MONTALVO,             07/09/18   Commonwealth of Puerto         110457             Undetermined* ALVAREZ MONTALVO,        07/09/18   Commonwealth of Puerto    134339       Undetermined*
   CARMEN J.                                Rico                                                            CARMEN J.                           Rico
   PARC RDGZ OLMO                           17 BK 03283-LTS                                                 PARC RDGZ OLMO                      17 BK 03283-LTS
   7 CALLE F                                                                                                7 CALLE F
   ARECIBO, PR 00612-4213                                                                                   ARECIBO, PR 00612-4213

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
75 ALVAREZ PEREZ,                05/29/18   Commonwealth of Puerto         45719              $ 1,703,000.00* ALVAREZ PEREZ,         05/29/18   Commonwealth of Puerto    57583        $ 1,703,000.00*
   ISRAEL                                   Rico                                                              ISRAEL                            Rico
   WILSON CRUZ RAMIREZ                      17 BK 03283-LTS                                                   LCDO. WILSON CRUZ                 17 BK 03283-LTS
   CALLE CARBONELL                                                                                            RAMIREZ
   #120 A                                                                                                     CALLE CARBONELL
   CABO ROJO, PR 00623                                                                                        #120 A
                                                                                                              CABO ROJO, PR 00623

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
76 ALVAREZ RODRIGUEZ,            07/10/18   Commonwealth of Puerto         137552             Undetermined* ALVAREZ RODRIGUEZ,       07/10/18   Commonwealth of Puerto    141603       Undetermined*
   IRIS A.                                  Rico                                                            IRIS A.                             Rico
   URB ALTURAS DE                           17 BK 03283-LTS                                                 URB. ALTURAS DE                     17 BK 03283-LTS
   SANTA ISABEL                                                                                             SANTA ISABEL
   CALLE 3 B20                                                                                              CALLE 3B 20
   SANTA ISABEL, PR 00757                                                                                   SANTA ISABEL, PR 00757

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
77 ALVERADO RIVERA,              06/06/18   Commonwealth of Puerto         82700              Undetermined* ALVERADO RIVERA,         06/06/18   Commonwealth of Puerto    83142        Undetermined*
   JOSE R                                   Rico                                                            JOSE R                              Rico
   BARRIO COAMO                             17 BK 03283-LTS                                                 BARRIO COAMO                        17 BK 03283-LTS
   ARRIBA                                                                                                   ARRIBA
   SECTOR VILLABLE                                                                                          SECTOR VILLALBA
   COAMO, PR 00769                                                                                          COAMO, PR 00769

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 15 of 95
                                      Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                             Desc:
                                                  Exhibit Exhibit A (Schedule of Claim-English) Page 17 of 96

                                                                            Twenty-Third Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
78 AMERICAN MODERN               03/19/18   Commonwealth of Puerto          2376              Undetermined* AMERICAN MODERN         03/19/18   Commonwealth of Puerto    3370         Undetermined*
   HOME INSURANCE                           Rico                                                            HOME INSURANCE                     Rico
   COMPANY                                  17 BK 03283-LTS                                                 COMPANY                            17 BK 03283-LTS
   ATTN: JOHN WEBER,                                                                                        ATTN: KENNETH KUHN,
   PRESIDENT                                                                                                VICE PRESIDENT
   PO BOX 5323                                                                                              PO BOX 5323
   CINCINNATI, OH 45201-                                                                                    CINCINNATI, OH 45201-
   5323                                                                                                     5323

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
79 ANA AGOSTO VEGA               07/18/18   Commonwealth of Puerto         62488                 $ 4,800.00* ANA AGOSTO VEGA        07/18/18   Commonwealth of Puerto    62490            $ 4,800.00
   2202 LUCAYA BEND                         Rico                                                             2202 LUCAYA BEND                  Rico
   APT.M -3                                 17 BK 03283-LTS                                                  APT.M -3                          17 BK 03283-LTS
   COCCONUT CREEK                                                                                            COCCONUT CREEK, FL
   MIAMI, FL 33066                                                                                           33066

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
80 ANAYA DE LEON,                06/27/18   Commonwealth of Puerto         108052             Undetermined* ANAYA DE LEON,          07/02/18   Commonwealth of Puerto    108528       Undetermined*
   MIRIAM                                   Rico                                                            MIRIAM                             Rico
   188 CALLE MORSE                          17 BK 03283-LTS                                                 188 CALLE MORSE                    17 BK 03283-LTS
   ARROYO, PR 00714                                                                                         ARROYO, PR 00714

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
81 ANAYA SOTO, MYRNA             06/28/18   Commonwealth of Puerto         113730                $ 28,000.00 ANAYA SOTO, MYRNA      06/28/18   Commonwealth of Puerto    116121          $ 28,000.00
   JUDITH                                   Rico                                                             JUDITH                            Rico
   PO BOX 1044                              17 BK 03283-LTS                                                  PO BOX 1044                       17 BK 03283-LTS
   ARROYO, PR 00714-1044                                                                                     ARROYO, PR 00714

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
82 ANDINO AYALA, JOSE            06/29/18   Commonwealth of Puerto         148442             Undetermined* ANDINO AYALA, JOSE      06/29/18   Commonwealth of Puerto    167758       Undetermined*
   ALBERTO                                  Rico                                                            ALBERTO                            Rico
   BO VILLA ESPERANZA                       17 BK 03283-LTS                                                 BO VILLA ESPERANZA                 17 BK 03283-LTS
   1529                                                                                                     1529
   CARR 874                                                                                                 CARR 874
   CAROLINA, PR 00985-                                                                                      CAROLINA, PR 00985-
   4372                                                                                                     4372

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 16 of 95
                                      Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                             Desc:
                                                  Exhibit Exhibit A (Schedule of Claim-English) Page 18 of 96

                                                                            Twenty-Third Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
83 ANDINO LLANOS,                06/27/18   Commonwealth of Puerto         126975             Undetermined* ANDINO LLANOS,          06/27/18   Commonwealth of Puerto    138088       Undetermined*
   NILDA                                    Rico                                                            NILDA                              Rico
   URB. CASTELLANA                          17 BK 03283-LTS                                                 Y-7 CALLE ROBLES                   17 BK 03283-LTS
   GARDENS                                                                                                  CASTELLANA GARDENS
   Y7 CALLE ROBLES                                                                                          CAROLINA, PR 00983
   CAROLINA, PR 00983-
   1959

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
84 APONTE BAEZ,                  06/29/18   Commonwealth of Puerto         134362             Undetermined* APONTE BAEZ,            06/29/18   Commonwealth of Puerto    164872       Undetermined*
   MARIBEL                                  Rico                                                            MARIBEL                            Rico
   HC 05 BOX 6720                           17 BK 03283-LTS                                                 HC-5 BOX 6720                      17 BK 03283-LTS
   AGUAS BUENAS, PR                                                                                         AGUAS BUENAS, PR
   00703                                                                                                    00703

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
85 APONTE BAEZ,                  06/29/18   Commonwealth of Puerto         151530             Undetermined* APONTE BAEZ,            06/29/18   Commonwealth of Puerto    164872       Undetermined*
   MARIBEL                                  Rico                                                            MARIBEL                            Rico
   HC 5 BOX 6720                            17 BK 03283-LTS                                                 HC-5 BOX 6720                      17 BK 03283-LTS
   AGUAS BUENAS, PR                                                                                         AGUAS BUENAS, PR
   00703                                                                                                    00703

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
86 APONTE CRUZ, REUBEN           06/29/18   Commonwealth of Puerto         84760              $ 32,000,000.00 APONTE CRUZ, REUBEN   07/03/18   Commonwealth of Puerto    154117       $ 32,000,000.00
   HC645 BOX 6422                           Rico                                                              HC 645 BOX 6422                  Rico
   TRUJILLO ALTO, PR                        17 BK 03283-LTS                                                   TRUJILLO ALTO, PR                17 BK 03283-LTS
   00976                                                                                                      00976

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
87 APONTE MARTINEZ,              06/29/18   Commonwealth of Puerto         153107             Undetermined* APONTE MARTINEZ,        06/29/18   Commonwealth of Puerto    167881       Undetermined*
   JULIA                                    Rico                                                            JULIA                              Rico
   PO BOX 3216                              17 BK 03283-LTS                                                 PO BOX 3216                        17 BK 03283-LTS
   HATO AMIBA ST.                                                                                           HATO AMIBA ST.
   SAN SEBASTIAN, PR                                                                                        SAN SEBASTIAN, PR
   00685                                                                                                    00685

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 17 of 95
                                      Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                               Desc:
                                                  Exhibit Exhibit A (Schedule of Claim-English) Page 19 of 96

                                                                            Twenty-Third Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                    REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                         DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME               FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
88 APONTE TORRES, JANET          06/26/18   Commonwealth of Puerto         96885              Undetermined* APONTE TORRES, JANET      06/28/18   Commonwealth of Puerto    115990       Undetermined*
   RR 9 BOX 1091                            Rico                                                            RR 9 BOX 1091                        Rico
   CUPEY BAJO                               17 BK 03283-LTS                                                 SAN JUAN, PR 00926-0000              17 BK 03283-LTS
   SAN JUAN, PR 00926

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
89 APONTE TORRES, JANET          06/26/18   Commonwealth of Puerto         162500             Undetermined* APONTE TORRES, JANET      06/28/18   Commonwealth of Puerto    115990       Undetermined*
   RR 9 BOX 1091                            Rico                                                            RR 9 BOX 1091                        Rico
   CUPEY BAJO                               17 BK 03283-LTS                                                 SAN JUAN, PR 00926-0000              17 BK 03283-LTS
   SAN JUAN, PR 00926

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
90 APONTE VAZQUEZ,               06/28/18   Commonwealth of Puerto         122049             Undetermined* APONTE VAZQUEZ,           06/28/18   Commonwealth of Puerto    142073       Undetermined*
   SANDRA                                   Rico                                                            SANDRA                               Rico
   URB. LAS AGUILAS                         17 BK 03283-LTS                                                 URB. LAS AGUILAS                     17 BK 03283-LTS
   B-16 CALLE 5                                                                                             B-16 CALLE 5
   COAMO, PR 00769                                                                                          COAMO, PR 00769

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
91 AQUINO, JOSUE                 10/19/18   Commonwealth of Puerto         167781           $ 10,000,000.00* AQUINO, JOSUE            10/19/18   Commonwealth of Puerto    167782      $ 10,000,000.00*
   RIVERA FERNÁNDEZ,                        Rico                                                             RIVERA FERNÁNDEZ,                   Rico
   ALLAN AMIR                               17 BK 03283-LTS                                                  ALLAN AMIR                          17 BK 03283-LTS
   CAPITAL CENTER BLDG.                                                                                      CAPITAL CENTER BLDG.
   239 ARTERIAL HOSTOS                                                                                       239 ARTERIAL HOSTOS
   AVENUE                                                                                                    AVENUE
   SUITE 401                                                                                                 SUITE 401
   SAN JUAN, PR 00918                                                                                        SAN JUAN, PR 00918

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
92 ARBELO-NIEVES,                07/24/18   Commonwealth of Puerto         135722             Undetermined* ARBELO-NIEVES,            07/24/18   Commonwealth of Puerto    156808       Undetermined*
   CARMEN M.                                Rico                                                            CARMEN M.                            Rico
   PO BOX 339                               17 BK 03283-LTS                                                 PO BOX 339                           17 BK 03283-LTS
   CAMUY, PR 00627                                                                                          CAMUY, PR 00627

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 18 of 95
                                      Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                               Desc:
                                                  Exhibit Exhibit A (Schedule of Claim-English) Page 20 of 96

                                                                            Twenty-Third Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                    REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                         DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME              FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
93 ARBELO-NIEVES,                07/24/18   Commonwealth of Puerto         153977             Undetermined* ARBELO-NIEVES,            07/24/18   Commonwealth of Puerto    156808       Undetermined*
   CARMEN M.                                Rico                                                            CARMEN M.                            Rico
   P.O. BOX 339                             17 BK 03283-LTS                                                 PO BOX 339                           17 BK 03283-LTS
   CAMUY, PR 00627                                                                                          CAMUY, PR 00627

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
94 ARCE NEGRON, IVONNE           06/27/18   Commonwealth of Puerto         54182              Undetermined* ARCE NEGRON, IVONNE       06/27/18   Commonwealth of Puerto    55317        Undetermined*
   BDA. OBRERA                              Rico                                                            BDA OBRERA                           Rico
   C/GONZALEZ #16                           17 BK 03283-LTS                                                 16 CALLE GONZALEZ                    17 BK 03283-LTS
   HUMACAO, PR 00791                                                                                        HUMACAO, PR 00791

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
95 ARCE NEGRON, IVONNE           06/27/18   Commonwealth of Puerto         54934              Undetermined* ARCE NEGRON, IVONNE       06/27/18   Commonwealth of Puerto    55317        Undetermined*
   BDA OBRERA                               Rico                                                            BDA OBRERA                           Rico
   CGONZALEZ 16                             17 BK 03283-LTS                                                 16 CALLE GONZALEZ                    17 BK 03283-LTS
   HUMACAO, PR 00791                                                                                        HUMACAO, PR 00791

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
96 ARIAS AGUEDA, EDGAR           05/25/18   Commonwealth of Puerto         17804                 $ 50,000.00 ARIAS AGUEDA, EDGAR      05/25/18   Commonwealth of Puerto    20680           $ 50,000.00
   A                                        Rico                                                             A                                   Rico
   PO BOX 1045                              17 BK 03283-LTS                                                  PO BOX 1045                         17 BK 03283-LTS
   ISABELA, PR 00662-1045                                                                                    ISABELA, PR 00662-1045

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
97 ARILL TORRES, IDA             06/28/18   Commonwealth of Puerto         119655             Undetermined* ARILL TORRES, IDA         07/06/18   Commonwealth of Puerto    160347       Undetermined*
   3 CALLE VALERIANO                        Rico                                                            3 CALLE VALERIANO                    Rico
   MUNOZ                                    17 BK 03283-LTS                                                 MUNOZ                                17 BK 03283-LTS
   SAN LORENZO, PR 00754                                                                                    SAN LORENZO, PR 00754

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
98 AROCHO SALTAR,                07/05/18   Commonwealth of Puerto         147648             Undetermined* AROCHO SALTAR,            07/05/18   Commonwealth of Puerto    156181       Undetermined*
   OSVALDO                                  Rico                                                            OSVALDO                              Rico
   B-1405 BO. ESPINAL                       17 BK 03283-LTS                                                 BO ESPINAL                           17 BK 03283-LTS
   SECTOR HOYO FRIO                                                                                         97 SECTOR HOYO FRIO
   AGUADA, PR 00602                                                                                         AGUADA, PR 00602

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 19 of 95
                                       Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                            Desc:
                                                   Exhibit Exhibit A (Schedule of Claim-English) Page 21 of 96

                                                                             Twenty-Third Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
99 ARREDONDO MATOS,               03/04/18   Commonwealth of Puerto           566                   $ 1,808.00 ARREDONDO MATOS,     03/12/18   Commonwealth of Puerto    1638             $ 1,808.00
   ANGELA                                    Rico                                                              ANGELA                          Rico
   URB FAIR VIEW                             17 BK 03283-LTS                                                   URB FAIR VIEW                   17 BK 03283-LTS
   1901 DIEGO MORGUEY                                                                                          1901 DIEGO MORGUEY
   SAN JUAN, PR 00926                                                                                          SAN JUAN, PR 00926

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
100 ARROYO CINTRON,               05/18/18   Commonwealth of Puerto         14033              Undetermined* ARROYO CINTRON,        05/18/18   Commonwealth of Puerto    16152        Undetermined*
    ROBERTO A                                Rico                                                            ROBERTO A                         Rico
    URB EL ALEMEIN                           17 BK 03283-LTS                                                 URB EL ALAMEIN                    17 BK 03283-LTS
    9 CALLE LEPANTO                                                                                          # 9 CALLE LEPANTO
    SAN JUAN, PR 00926                                                                                       SAN JUAN, PR 00926

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
101 ARROYO CORDERO,               04/16/18   Commonwealth of Puerto          5160              Undetermined* ARROYO CORDERO,        04/16/18   Commonwealth of Puerto    5437         Undetermined*
    BRENDALIZ                                Rico                                                            BRENDALIZ                         Rico
    URB VALLE HERMOSO                        17 BK 03283-LTS                                                 CIRCULO MAGICO S-21               17 BK 03283-LTS
    ABAJO                                                                                                    URB. VALLE HERMOSO
    S21 CIRCULO MAGICO                                                                                       HORMIGUEROS, PR
    HORMIGUEROS, PR                                                                                          00660
    00660

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
102 ARROYO FIGUEROA,              04/24/18   Commonwealth of Puerto          7962                $ 42,000.00* ARROYO FIGUEROA,      05/02/18   Commonwealth of Puerto    8915            $ 42,000.00
    LUCIANO                                  Rico                                                             LUCIANO                          Rico
    PO BOX 173                               17 BK 03283-LTS                                                  PO BOX 173                       17 BK 03283-LTS
    YABUCOA, PR 00767-                                                                                        YABUCOA, PR 00767-
    0173                                                                                                      0173

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
103 ARROYO LOPEZ,                 07/05/18   Commonwealth of Puerto         94906              Undetermined* ARROYO LOPEZ,          07/05/18   Commonwealth of Puerto    156484       Undetermined*
    MYRNA                                    Rico                                                            MYRNA                             Rico
    P.O. BOX 501                             17 BK 03283-LTS                                                 PO BOX 501                        17 BK 03283-LTS
    BOQUERON, PR 00623                                                                                       BOQUERON, PR 00623

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 20 of 95
                                       Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                           Desc:
                                                   Exhibit Exhibit A (Schedule of Claim-English) Page 22 of 96

                                                                             Twenty-Third Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                     DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME           FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
104 ARROYO LOPEZ,                 07/05/18   Commonwealth of Puerto         103689             Undetermined* ARROYO LOPEZ,         07/05/18   Commonwealth of Puerto    167591       Undetermined*
    MYRNA                                    Rico                                                            MYRNA                            Rico
    P.O. BOX 501                             17 BK 03283-LTS                                                 P.O. BOX 501                     17 BK 03283-LTS
    BOQUERON, PR 00622-                                                                                      BOQUERON, PR 00622-
    0501                                                                                                     0501

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
105 ARROYO LOPEZ,                 07/05/18   Commonwealth of Puerto         153507             Undetermined* ARROYO LOPEZ,         07/05/18   Commonwealth of Puerto    159230       Undetermined*
    MYRNA                                    Rico                                                            MYRNA                            Rico
    PO BOX 501                               17 BK 03283-LTS                                                 P.O. BOX 501                     17 BK 03283-LTS
    BOQUERON, PR 00622-                                                                                      BOQUERON, PR 00622-
    0501                                                                                                     0501

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
106 ARROYO MONTES,                07/05/18   Commonwealth of Puerto         129578             Undetermined* ARROYO MONTES,        10/01/18   Commonwealth of Puerto    167571       Undetermined*
    ELIZABETH                                Rico                                                            ELIZABETH                        Rico
    142 CALLE KRYSTAL                        17 BK 03283-LTS                                                 142 CALLE KRYSTAL                17 BK 03283-LTS
    ISABELA, PR 00662                                                                                        ISABELA, PR 00662

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
107 ARROYO SANTIAGO,              04/09/18   Commonwealth of Puerto          6147              Undetermined* ARROYO SANTIAGO,      04/09/18   Commonwealth of Puerto    6610         Undetermined*
    JEANNETTE                                Rico                                                            JEANNETTE                        Rico
    BO COTO QUEBRADA                         17 BK 03283-LTS                                                 HC 2 BOX 7539                    17 BK 03283-LTS
    SEC RUBERTE                                                                                              PENUELAS, PR 00624
    HC-02 BOX 7539
    PENUELAS, PR 00624

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
108 ARROYO, BRENDALIZ             04/16/18   Commonwealth of Puerto          5451              Undetermined* ARROYO, BRENDALIZ     04/16/18   Commonwealth of Puerto    7403         Undetermined*
    URB VALLE HERMOSO                        Rico                                                            URB VALLE HERMOSO                Rico
    ABAJO                                    17 BK 03283-LTS                                                 ABAJO                            17 BK 03283-LTS
    SZ 1 CIRCULO MAGICO                                                                                      SZ 1 CIRCULO MAGICO
    HORMIGUEROS, PR                                                                                          HORMIGUEROS, PR
    00660                                                                                                    00660

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                      Page 21 of 95
                                       Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                               Desc:
                                                   Exhibit Exhibit A (Schedule of Claim-English) Page 23 of 96

                                                                             Twenty-Third Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                    REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                         DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME              FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
109 ARROYO-MAYMI,                 06/28/18   Commonwealth of Puerto         148378             Undetermined* ARROYO-MAYMI,             07/03/18   Commonwealth of Puerto    165396       Undetermined*
    MARIA M.                                 Rico                                                            MARIA M.                             Rico
    1412 CALLE PLUTON                        17 BK 03283-LTS                                                 1412 CALLE PLUTON                    17 BK 03283-LTS
    URB. GOLDEN HILLS                                                                                        URB GOLDEN HILLS
    DORADO, PR 00646                                                                                         DORADO, PR 00646

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
110 ARZOLA CORTES,                06/06/18   Commonwealth of Puerto         61021              Undetermined* ARZOLA CORTES,            06/06/18   Commonwealth of Puerto    64458        Undetermined*
    LISANDRA                                 Rico                                                            LISANDRA                             Rico
    HC 43 BOX 11558                          17 BK 03283-LTS                                                 HC 43 BOX 11558                      17 BK 03283-LTS
    CAYEY, PR 00736                                                                                          CAYEY, PR 00736

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
111 ARZUAGA APONTE,               06/29/18   Commonwealth of Puerto         85176                 $ 12,391.91 ARZUAGA APONTE,          06/29/18   Commonwealth of Puerto    80171           $ 12,391.91
    DEBORAH                                  Rico                                                             DEBORAH                             Rico
    BOX 372                                  17 BK 03283-LTS                                                  P.O. BOX 372                        17 BK 03283-LTS
    BARRANQUITAS, PR                                                                                          BARRANQUITAS, PR
    00794                                                                                                     00794

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
112 ASENCIO REYES, DALIA          06/06/18   Commonwealth of Puerto         74968              Undetermined* ASENCIO REYES, DALIA      06/06/18   Commonwealth of Puerto    74643        Undetermined*
    I                                        Rico                                                            I                                    Rico
    URB VALLE HERMOSO                        17 BK 03283-LTS                                                 VALLE HERMOSO                        17 BK 03283-LTS
    SO8 CIPRES                                                                                               CIPRES SO-8
    HORMIGUEROS, PR                                                                                          HORMJIGUEROS, PR
    00660                                                                                                    00660

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
113 ASOCIACION DE                 05/22/18   Commonwealth of Puerto         18987               $ 1,800,184.65 ASOCIACION DE           05/23/18   Commonwealth of Puerto    29357        $ 2,108,592.00
    EMPLEADOS DEL                            Rico                                                              EMPLEADOS DEL                      Rico
    ESTADO LIBRE                             17 BK 03283-LTS                                                   ESTADO LIBRE                       17 BK 03283-LTS
    ASOCIADO DE PR                                                                                             ASOCIADO DE PR
    CHARLES A. CUPRILL                                                                                         CHARLES A. CUPRILL
    PSC LAW OFFICES                                                                                            PSC LAW OFFICES
    356 FORTALEZA ST. 2ND                                                                                      356 FORTALEZA ST. 2ND
    FLOOR                                                                                                      FLOOR
    SAN JUAN, PR 00901                                                                                         SAN JUAN, PR 00901

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 22 of 95
                                       Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                             Desc:
                                                   Exhibit Exhibit A (Schedule of Claim-English) Page 24 of 96

                                                                             Twenty-Third Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
114 ASOCIACION DE                 06/25/18   Commonwealth of Puerto         51394              $ 2,044,792.64* ASOCIACION DE         06/26/18   Commonwealth of Puerto    38870        $ 2,044,792.64*
    EMPLEADOS DEL                            Rico                                                              EMPLEADOS DEL                    Rico
    ESTADO LIBRE                             17 BK 03283-LTS                                                   ESTADO LIBRE                     17 BK 03283-LTS
    ASOCIADO DE PR                                                                                             ASOCIADO DE PR
    (AEELA)                                                                                                    (AEELA)
    CHARLES A. CUPRILL                                                                                         CHARLES A. CUPRILL
    P.S.C. LAW OFFICES                                                                                         P.S.C. LAW OFFICES
    356 CALLE FORTALEZA                                                                                        356 CALLE FORTALEZA
    2 FLOOR                                                                                                    2 FLOOR
    SAN JUAN, PR 00901                                                                                         SAN JUAN, PR 00901

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
115 ATLANTIC MEDICAL              05/26/18   Commonwealth of Puerto         30433            $ 13,545,954.88* ATLANTIC MEDICAL       05/27/18   Commonwealth of Puerto    27713       $ 13,545,954.88*
    CENTER, INC. (SALUD                      Rico                                                             CENTER, INC. (SALUD               Rico
    PRIMARIOS DE                             17 BK 03283-LTS                                                  PRIMARIOS DE                      17 BK 03283-LTS
    BARCELONETA, INC.)                                                                                        BARCELONETA, INC.)
    LEIDA ANNETTE                                                                                             LEIDA ANNETTE
    NAZARIO                                                                                                   NAZARIO
    199S CARR. #2 CRUCE                                                                                       1995 CARR. #2 CRUCE
    DAVILA                                                                                                    DAVILA
    BARCELONETA, PR                                                                                           BARCELONETA, PR
    00617                                                                                                     00617

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
116 AVILES COLON,                 06/29/18   Commonwealth of Puerto         75434              Undetermined* AVILES COLON,           06/29/18   Commonwealth of Puerto    88218        Undetermined*
    CARMEN N.                                Rico                                                            CARMEN N                           Rico
    PO BOX 321                               17 BK 03283-LTS                                                 PO BOX 321                         17 BK 03283-LTS
    OROCOVIS, PR 00720                                                                                       OROCOVIS, PR 00720

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
117 AVILES COLON,                 06/29/18   Commonwealth of Puerto         75556              Undetermined* AVILES COLON,           06/29/18   Commonwealth of Puerto    87155        Undetermined*
    CARMEN N                                 Rico                                                            CARMEN N                           Rico
    PO. BOX 321                              17 BK 03283-LTS                                                 PO BOX 321                         17 BK 03283-LTS
    OROCOVIS, PR 00720                                                                                       OROCOVIS, PR 00720

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 23 of 95
                                       Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                             Desc:
                                                   Exhibit Exhibit A (Schedule of Claim-English) Page 25 of 96

                                                                             Twenty-Third Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
118 AVILES COLON,                 06/29/18   Commonwealth of Puerto         82037              Undetermined* AVILES COLON,           06/29/18   Commonwealth of Puerto    86677        Undetermined*
    CARMEN N                                 Rico                                                            CARMEN N.                          Rico
    PO BOX 321                               17 BK 03283-LTS                                                 PO. BOX 321                        17 BK 03283-LTS
    OROCOVIS, PR 00720                                                                                       OROCOVIS, PR 00720

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
119 AVILES JORDAN, SUREY          06/27/18   Commonwealth of Puerto         67207              Undetermined* AVILES JORDAN, SUREY    06/27/18   Commonwealth of Puerto    104751       Undetermined*
    #641 ALMENDRO                            Rico                                                            #641 ALEMDRO                       Rico
    LOS COLOBOS PARK                         17 BK 03283-LTS                                                 LAS COLOBOS PARK                   17 BK 03283-LTS
    CAROLINA, PR 00987                                                                                       CAROLINA, PR 00987

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
120 AVILES MENDEZ,                07/05/18   Commonwealth of Puerto         110199             Undetermined* AVILES MENDEZ,          07/05/18   Commonwealth of Puerto    135975       Undetermined*
    ANTONIO                                  Rico                                                            ANTONIO                            Rico
    HC 02 BOX 12343                          17 BK 03283-LTS                                                 HC 02 BOX 12343                    17 BK 03283-LTS
    MOCA, PR 00676                                                                                           MOCA, PR 00676

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
121 AVILES MENDEZ,                07/05/18   Commonwealth of Puerto         114048             Undetermined* AVILES MENDEZ,          07/05/18   Commonwealth of Puerto    135975       Undetermined*
    ANTONIO                                  Rico                                                            ANTONIO                            Rico
    HC-02 BOX 12343                          17 BK 03283-LTS                                                 HC 02 BOX 12343                    17 BK 03283-LTS
    MOCA, PR 00676                                                                                           MOCA, PR 00676

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
122 AVILES ORTIZ, GERMAN          05/17/18   Commonwealth of Puerto         15769                 $ 24,000.00 AVILES ORTIZ, GERMAN   05/17/18   Commonwealth of Puerto    16131           $ 24,000.00
    HC 4 BOX 2155                            Rico                                                             HC 04 BOX 2155                    Rico
    BARRANQUITAS, PR                         17 BK 03283-LTS                                                  BARRANQUITAS, PR                  17 BK 03283-LTS
    00794                                                                                                     00794

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
123 AVILES SANCHEZ, JOSE          06/27/18   Commonwealth of Puerto         54217                $ 150,000.00 AVILES SANCHEZ, JOSE   06/29/18   Commonwealth of Puerto    123808        $ 150,000.00*
    RICARDO                                  Rico                                                             RICARDO                           Rico
    9818 HEATON CT.                          17 BK 03283-LTS                                                  9818 HEATON CT                    17 BK 03283-LTS
    ORLANDO, FL 32817                                                                                         ORLANDO, FL 32817

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 24 of 95
                                       Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                            Desc:
                                                   Exhibit Exhibit A (Schedule of Claim-English) Page 26 of 96

                                                                             Twenty-Third Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
124 AVILES TORRES, JOSE           06/27/18   Commonwealth of Puerto         56234               $ 150,000.00* AVILES TORRES, JOSE   06/29/18   Commonwealth of Puerto    115004        $ 150,000.00*
    DAVID                                    Rico                                                             DAVID                            Rico
    9818 HEATON CT.                          17 BK 03283-LTS                                                  9818 HEATON CT                   17 BK 03283-LTS
    ORLANDO, FL 32817                                                                                         ORLANDO, FL 32817

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
125 AVILES-TORRES,                06/27/18   Commonwealth of Puerto         49464               $ 150,000.00* AVILES-TORRES,        06/29/18   Commonwealth of Puerto    119623        $ 150,000.00*
    JOSHUA                                   Rico                                                             JOSHUA                           Rico
    9818 HEATON CT.                          17 BK 03283-LTS                                                  9818 HEATON CT.                  17 BK 03283-LTS
    ORLANDO, FL 32817                                                                                         ORLANDO, FL 32817

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
126 AYALA                         06/29/18   Commonwealth of Puerto         95007              Undetermined* AYALA                  06/29/18   Commonwealth of Puerto    97689        Undetermined*
    CARRASQUILLO,                            Rico                                                            CARRASQUILLO,                     Rico
    ISABEL                                   17 BK 03283-LTS                                                 ISABEL                            17 BK 03283-LTS
    ALT DE RIO GRANDE                                                                                        ALTS DE RIO GRANDE
    J 174 CALLE 14 I                                                                                         J174 CALLE 14-I
    RIO GRANDE, PR 00745                                                                                     RIO GRANDE, PR 00745

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
127 AYALA CRUZ, ZORAIDA           05/23/18   Commonwealth of Puerto         29247              Undetermined* AYALA CRUZ, ZORAIDA    05/23/18   Commonwealth of Puerto    30390        Undetermined*
    CALLE AVILA 796                          Rico                                                            VISTA MAR                         Rico
    VISTAMAR                                 17 BK 03283-LTS                                                 796 CALLE AVILA                   17 BK 03283-LTS
    CAROLINA, PR 00983                                                                                       CAROLINA, PR 00983

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
128 AYALA FUENTES, JABES          04/23/18   Commonwealth of Puerto          8051              Undetermined* AYALA FUENTES, JABES   04/18/18   Commonwealth of Puerto    7604         Undetermined*
    D                                        Rico                                                            D                                 Rico
    HC 01 BOX 9167                           17 BK 03283-LTS                                                 HC 01 BOX 9167                    17 BK 03283-LTS
    LOIZA, PR 00772                                                                                          LOIZA, PR 00772

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
129 AYALA MELENDEZ,               04/16/18   Commonwealth of Puerto          7384              Undetermined* AYALA MELENDEZ,        04/16/18   Commonwealth of Puerto    8432         Undetermined*
    RAMON                                    Rico                                                            RAMON                             Rico
    HC 02 BOX 23568                          17 BK 03283-LTS                                                 HC 02 BOX 23568                   17 BK 03283-LTS
    MAYAGUEZ, PR 00680                                                                                       MAYAGUEZ, PR 00680

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 25 of 95
                                       Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                            Desc:
                                                   Exhibit Exhibit A (Schedule of Claim-English) Page 27 of 96

                                                                             Twenty-Third Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
130 AYALA MORALES,                06/27/18   Commonwealth of Puerto         46162              Undetermined* AYALA MORALES,         06/28/18   Commonwealth of Puerto    167133       Undetermined*
    FELIX M.                                 Rico                                                            FELIX M.                          Rico
    PO BOX 673                               17 BK 03283-LTS                                                 PO BOX 673                        17 BK 03283-LTS
    MOCA, PR 00676                                                                                           MOCA, PR 00676

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
131 AYALA ORTIZ, IRMA I           06/20/18   Commonwealth of Puerto         70021                 $ 8,493.93* AYALA ORTIZ, IRMA I   06/20/18   Commonwealth of Puerto    94506           $ 8,493.93*
    URB VALLE TOLIMA                         Rico                                                             URB VALLE TOLIMA                 Rico
    D19 CALLE CARLOS                         17 BK 03283-LTS                                                  CARLOS OSORIO D19                17 BK 03283-LTS
    OSORIO                                                                                                    CAGUAS, PR 00725
    CAGUAS, PR 00725

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
132 AYALA RUIZ, MERY E.           05/25/18   Commonwealth of Puerto         31588              Undetermined* AYALA RUIZ, MERY E.    05/25/18   Commonwealth of Puerto    31621        Undetermined*
    VILLA OLIMPICA                           Rico                                                            VIL OLIMPICA 296                  Rico
    296 PASEO 9                              17 BK 03283-LTS                                                 PASEO 9                           17 BK 03283-LTS
    SAN JUAN, PR 00924                                                                                       SAN JUAN, PR 00924

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
133 BADILLO LOPEZ, ANES           07/05/18   Commonwealth of Puerto         134275             Undetermined* BADILLO LOPEZ, ANES    07/06/18   Commonwealth of Puerto    157941       Undetermined*
    WANDA                                    Rico                                                            W                                 Rico
    URB ISABEL LA                            17 BK 03283-LTS                                                 D 22 CALLE 8                      17 BK 03283-LTS
    CATOLICA D-22 CALLE                                                                                      URB ISABEL LA
    #8                                                                                                       CATOLICA
    AGUADA, PR 00602                                                                                         AGUADA, PR 00602

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
134 BAEZ ORTIZ, CARLINA           06/29/18   Commonwealth of Puerto         79794                $ 78,000.00* BAEZ ORTIZ, CARLINA   06/29/18   Commonwealth of Puerto    95168          $ 78,000.00*
    VENUS GARDENS                            Rico                                                             VENUS GARDENS                    Rico
    CALLE CAPRICORNIO                        17 BK 03283-LTS                                                  CALLE CAPRICORNIO                17 BK 03283-LTS
    727                                                                                                       727
    SAN JUAN, PR 00926                                                                                        SAN JUAN, PR 00926

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
135 BAEZ ROSARIO, MIGUEL          04/30/18   Commonwealth of Puerto          8651              Undetermined* BAEZ ROSARIO, MIGUEL   04/30/18   Commonwealth of Puerto    9807         Undetermined*
    CALLE 41 #158-C                          Rico                                                            PARCELAS FALU                     Rico
    PARCELAS FALU                            17 BK 03283-LTS                                                 158 C CALLE 41                    17 BK 03283-LTS
    SAN JUAN, PR 00924                                                                                       SAN JUAN, PR 00924

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.



              * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 26 of 95
                                       Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                              Desc:
                                                   Exhibit Exhibit A (Schedule of Claim-English) Page 28 of 96

                                                                             Twenty-Third Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
136 BAEZ ROSARIO, MIGUEL          04/30/18   Commonwealth of Puerto          9693              Undetermined* BAEZ ROSARIO, MIGUEL     04/30/18   Commonwealth of Puerto    9807         Undetermined*
    PARCELAS FALU                            Rico                                                            PARCELAS FALU                       Rico
    158 C CALLE 41                           17 BK 03283-LTS                                                 158 C CALLE 41                      17 BK 03283-LTS
    SAN JUAN, PR 00924                                                                                       SAN JUAN, PR 00924

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
137 BALBIN PADILLA,               05/29/18   Commonwealth of Puerto         31017              Undetermined* BALBIN PADILLA,          05/29/18   Commonwealth of Puerto    38507        Undetermined*
    CYNTHIA                                  Rico                                                            CYNTHIA                             Rico
    URB LOS ALMENDROS                        17 BK 03283-LTS                                                 URB LOS ALMENDROS                   17 BK 03283-LTS
    EB 5 CALLE TILO                                                                                          EB 5 CALLE TILO
    BAYAMON, PR 00961                                                                                        BAYAMON, PR 00961

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
138 BALBIN PADILLA,               05/29/18   Commonwealth of Puerto         34329              Undetermined* BALBIN PADILLA,          05/29/18   Commonwealth of Puerto    38507        Undetermined*
    CYNTHIA                                  Rico                                                            CYNTHIA                             Rico
    LOS ALMENDROS                            17 BK 03283-LTS                                                 URB LOS ALMENDROS                   17 BK 03283-LTS
    CALLE TILO EB 5                                                                                          EB 5 CALLE TILO
    BAYAMON, PR 00961                                                                                        BAYAMON, PR 00961

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
139 BALBIN PADILLA,               06/29/18   Commonwealth of Puerto         151901             Undetermined* BALBIN PADILLA,          07/03/18   Commonwealth of Puerto    154224       Undetermined*
    CYNTHIA                                  Rico                                                            CYNTHIA                             Rico
    EB 5 CALLE TILO                          17 BK 03283-LTS                                                 EB-5 CALLE TILO                     17 BK 03283-LTS
    URB. LOS ALMENDROS                                                                                       URB. LOS ALMENDROS
    BAYAMON, PR 00961                                                                                        BAYAMON, PR 00961

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
140 BALMACEDA, INÉS               06/29/18   Commonwealth of Puerto         64654                 $ 20,000.00 BALMACEDA, INÉS         06/29/18   Commonwealth of Puerto    77691           $ 20,000.00
    P.O. BOX 1354                            Rico                                                             P.O. BOX 1354                      Rico
    ISABELA, PR 00662                        17 BK 03283-LTS                                                  ISABELA, PR 00662                  17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
141 BANCHS LOPEZ, MINITA          07/03/18   Commonwealth of Puerto         143775                  $ 8,520.00 BANCHS LOPEZ, MINITA   06/29/18   Commonwealth of Puerto    74805            $ 8,520.00
    V                                        Rico                                                              V                                 Rico
    HC5 BOX 74109                            17 BK 03283-LTS                                                   HC5 BOX 74109                     17 BK 03283-LTS
    YAUCO, PR 00698                                                                                            YAUCO, PR 00698

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 27 of 95
                                      Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                           Desc:
                                                  Exhibit Exhibit A (Schedule of Claim-English) Page 29 of 96

                                                                            Twenty-Third Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                     DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT              NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
142 BARBOSA FRANCESCHI,          06/28/18   Commonwealth of Puerto         67604              Undetermined* BARBOSA FRANCESCHI,   07/06/18   Commonwealth of Puerto    159136       Undetermined*
    MARGARITA                               Rico                                                            MARGARITA                        Rico
    PO BOX 483                              17 BK 03283-LTS                                                 PO BOX 483                       17 BK 03283-LTS
    SALINAS, PR 00751                                                                                       SALINAS, PR 00751

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
143 BARLUCEA FIGUEROA,           06/05/18   Commonwealth of Puerto         46205              Undetermined* BARLUCEA FIGUEROA,    06/28/18   Commonwealth of Puerto    166089       Undetermined*
    ANETTE                                  Rico                                                            ANETTE                           Rico
    URB. COLINAS DEL                        17 BK 03283-LTS                                                 URB COLINAS DEL                  17 BK 03283-LTS
    GIGANTE A-10                                                                                            GIGANTE
    ADJUNTAS, PR 00601                                                                                      A-10
                                                                                                            ADJUNTAS, PR 00601

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
144 BARLUCEA FIGUEROA,           06/28/18   Commonwealth of Puerto         120087             Undetermined* BARLUCEA FIGUEROA,    06/28/18   Commonwealth of Puerto    166089       Undetermined*
    ANETTE                                  Rico                                                            ANETTE                           Rico
    URB. COLINAS DEL                        17 BK 03283-LTS                                                 URB COLINAS DEL                  17 BK 03283-LTS
    GIGANTE A-10                                                                                            GIGANTE
    ADJUNTAS, PR 00601                                                                                      A-10
                                                                                                            ADJUNTAS, PR 00601

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
145 BARLUCEA FIGUEROA,           06/28/18   Commonwealth of Puerto         163010             Undetermined* BARLUCEA FIGUEROA,    06/28/18   Commonwealth of Puerto    166089       Undetermined*
    ANETTE                                  Rico                                                            ANETTE                           Rico
    URB COLINAS DEL                         17 BK 03283-LTS                                                 URB COLINAS DEL                  17 BK 03283-LTS
    GIGANTE A-10                                                                                            GIGANTE
    ADJUNTAS, PR 00601                                                                                      A-10
                                                                                                            ADJUNTAS, PR 00601

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
146 BARRETO BARRETO,             07/24/18   Commonwealth of Puerto         100893             Undetermined* BARRETO BARRETO,      07/24/18   Commonwealth of Puerto    161585       Undetermined*
    CARMEN L.                               Rico                                                            CARMEN L.                        Rico
    HC-01 BOX 5140                          17 BK 03283-LTS                                                 HC-01 BOX 5140                   17 BK 03283-LTS
    MOCA, PR 00676                                                                                          MOCA, PR 00676

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                      Page 28 of 95
                                       Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                           Desc:
                                                   Exhibit Exhibit A (Schedule of Claim-English) Page 30 of 96

                                                                             Twenty-Third Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                     DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT               NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
147 BARRIENTO SANTANA,            06/27/18   Commonwealth of Puerto         38296              Undetermined* BARRIENTO SANTANA,    06/27/18   Commonwealth of Puerto    40873        Undetermined*
    ANA DELIA                                Rico                                                            ANA DELIA                        Rico
    HC 80 BOX 8420                           17 BK 03283-LTS                                                 HC 80 BOX 8420                   17 BK 03283-LTS
    DORADO, PR 00464                                                                                         DORADO, PR 00646

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
148 BARRIS ROSARIO,               07/02/18   Commonwealth of Puerto         75300              Undetermined* BARRIS ROSARIO,       07/02/18   Commonwealth of Puerto    152207       Undetermined*
    MARITZA                                  Rico                                                            MARITZA                          Rico
    U-5 CALLE #3                             17 BK 03283-LTS                                                 URB. DIPLO                       17 BK 03283-LTS
    NAGUABO, PR 00718                                                                                        U-5 CALLE 3
                                                                                                             NAGUABO, PR 00718

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
149 BARRIS ROSARIO,               07/02/18   Commonwealth of Puerto         135772             Undetermined* BARRIS ROSARIO,       07/02/18   Commonwealth of Puerto    152207       Undetermined*
    MARITZA                                  Rico                                                            MARITZA                          Rico
    URB._DIPLO                               17 BK 03283-LTS                                                 URB. DIPLO                       17 BK 03283-LTS
    CALLE 3 U-5                                                                                              U-5 CALLE 3
    NAGUABO, PR 00718-                                                                                       NAGUABO, PR 00718
    2300

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
150 BATIZ TORRES, CELIA           06/29/18   Commonwealth of Puerto         141546             Undetermined* BATIZ TORRES, CELIA   06/29/18   Commonwealth of Puerto    133384       Undetermined*
    M.                                       Rico                                                            M.                               Rico
    URB BELMONTE                             17 BK 03283-LTS                                                 300 ZAMORA URB.                  17 BK 03283-LTS
    300 CALLE ZAMORA                                                                                         BELMONTE
    MAYAGUEZ, PR 00680-                                                                                      MAYAGUEZ, PR 00680
    2267

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
151 BAUZA RAMOS, SUSAN            03/29/18   Commonwealth of Puerto          3088              Undetermined* BAUZA RAMOS, SUSAN    03/29/18   Commonwealth of Puerto    5394         Undetermined*
    P O BOX 566                              Rico                                                            BOX 566                          Rico
    PENUELAS, PR 00624                       17 BK 03283-LTS                                                 PENUELAS, PR 00624               17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
152 BAUZA RAMOS, SUSAN            03/29/18   Commonwealth of Puerto          5426              Undetermined* BAUZA RAMOS, SUSAN    04/02/18   Commonwealth of Puerto    5881         Undetermined*
    PO BOX 566                               Rico                                                            P O BOX 566                      Rico
    PENUELAS, PR 00624                       17 BK 03283-LTS                                                 PENUELAS, PR 00624               17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                      Page 29 of 95
                                       Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                                Desc:
                                                   Exhibit Exhibit A (Schedule of Claim-English) Page 31 of 96

                                                                             Twenty-Third Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                     REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                          DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME               FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
153 BAYON PAGAN,                  06/28/18   Commonwealth of Puerto         121081                $ 17,400.00 BAYON PAGAN,              06/28/18   Commonwealth of Puerto    163249          $ 17,400.00
    ELIZABETH                                Rico                                                             ELIZABETH                            Rico
    PO BOX 1067                              17 BK 03283-LTS                                                  P.O. BOX 1067                        17 BK 03283-LTS
    HORMIGUEROS, PR                                                                                           HORMIGUEROS, PR
    00660                                                                                                     00660

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
154 BAYON PAGAN,                  06/28/18   Commonwealth of Puerto         140312                  $ 8,400.00 BAYON PAGAN,             07/03/18   Commonwealth of Puerto    120989          $ 8,400.00*
    ELIZABETH                                Rico                                                              ELIZABETH                           Rico
    P.O. BOX 1067                            17 BK 03283-LTS                                                   P.O. BOX 1067                       17 BK 03283-LTS
    HORMIGUEROS, PR                                                                                            HORMIGUEROS, PR
    00660                                                                                                      00660

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
155 BELTRAN CINTRON,              06/29/18   Commonwealth of Puerto         105655             Undetermined* BELTRAN CINTRON,           06/29/18   Commonwealth of Puerto    146528       Undetermined*
    FRANCISCO                                Rico                                                            FRANCISCO                             Rico
    HC 04 BOX 7200                           17 BK 03283-LTS                                                 HC 04 BOX 7200                        17 BK 03283-LTS
    YABUCOA, PR 00767                                                                                        YABUCOA, PR 00767

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
156 BELTRAN MONTES,               06/29/18   Commonwealth of Puerto         74722                 $ 61,230.30 BELTRAN MONTES,           06/29/18   Commonwealth of Puerto    101176          $ 61,230.30
    ROSANELL                                 Rico                                                             ROSANELL                             Rico
    P.O. BOX 728                             17 BK 03283-LTS                                                  PO BOX 728                           17 BK 03283-LTS
    MANATI, PR 00674                                                                                          MANATI, PR 00674

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
157 BERBERENA MORRIS,             06/28/18   Commonwealth of Puerto         59522                $ 150,000.00 BERBERENA MORRIS,         06/28/18   Commonwealth of Puerto    60442          $ 150,000.00
    LILIBETH                                 Rico                                                             LILIBETH                             Rico
    ARNALDO ELIAS                            17 BK 03283-LTS                                                  PO BOX 191841                        17 BK 03283-LTS
    PO BOX 191841                                                                                             SAN JUAN, PR 00919-1841
    SAN JUAN, PR 00919-1841

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                           Page 30 of 95
                                       Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                           Desc:
                                                   Exhibit Exhibit A (Schedule of Claim-English) Page 32 of 96

                                                                             Twenty-Third Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                     DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT               NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
158 BERGOLLO LOPEZ,               05/22/18   Commonwealth of Puerto         23107                 $ 20,000.00 BERGOLLO LOPEZ,      05/22/18   Commonwealth of Puerto    25965           $ 20,000.00
    MARIBELLA                                Rico                                                             MARIBELLA                       Rico
    LIZA M. VELÁZQUEZ                        17 BK 03283-LTS                                                  LCDA. LIZA M.                   17 BK 03283-LTS
    PADILLA                                                                                                   VELÁZQUEZ PADILLA
    740 AVE. HOSTOS COND.                                                                                     740 AVE. HOSTOS
    MEDICAL CENTER                                                                                            COND. MEDICAL
    PLAZA OFICINA # 203                                                                                       CENTER PLAZA
    MAYAGÜEZ, PR 00682                                                                                        OFICINA # 203
                                                                                                              MAYAGÜEZ, PR 00682

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
159 BERLINGERI                    06/29/18   Commonwealth of Puerto         124420             Undetermined* BERLINGERI            06/29/18   Commonwealth of Puerto    134875       Undetermined*
    RODRIGUEZ, EGBERTO                       Rico                                                            RODRIGUEZ, EGBERTO               Rico
    P.O. BOX 866                             17 BK 03283-LTS                                                 P.O. BOX 866                     17 BK 03283-LTS
    COAMO, PR 00769                                                                                          COAMO, PR 00769

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
160 BERLINGERI                    06/29/18   Commonwealth of Puerto         139856             Undetermined* BERLINGERI            06/29/18   Commonwealth of Puerto    165490       Undetermined*
    RODRIGUEZ, EGBERTO                       Rico                                                            RODRIGUEZ, EGBERTO               Rico
    P.O. BOX 866                             17 BK 03283-LTS                                                 P.O. BOX 866                     17 BK 03283-LTS
    COAMO, PR 00769                                                                                          COAMO, PR 00769

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
161 BERRIOS CRESPO,               06/27/18   Commonwealth of Puerto         60711              Undetermined* BERRIOS CRESPO,       06/27/18   Commonwealth of Puerto    106186       Undetermined*
    VICTORIA                                 Rico                                                            VICTORIA                         Rico
    RR-01 BOX 2234                           17 BK 03283-LTS                                                 RR-01 BOX 2234                   17 BK 03283-LTS
    CIDRA, PR 00739                                                                                          CIDRA, PR 00739

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
162 BERRIOS CRESPO,               06/27/18   Commonwealth of Puerto         87448              Undetermined* BERRIOS CRESPO,       06/27/18   Commonwealth of Puerto    106186       Undetermined*
    VICTORIA                                 Rico                                                            VICTORIA                         Rico
    RR-01 BOX 2234                           17 BK 03283-LTS                                                 RR-01 BOX 2234                   17 BK 03283-LTS
    CIDRA, PR 00739                                                                                          CIDRA, PR 00739

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                      Page 31 of 95
                                       Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                              Desc:
                                                   Exhibit Exhibit A (Schedule of Claim-English) Page 33 of 96

                                                                             Twenty-Third Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME              FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
163 BERRIOS VEGA, JOSE G          07/05/18   Commonwealth of Puerto         155634             Undetermined* BERRIOS VEGA, JOSE G     07/05/18   Commonwealth of Puerto    157342       Undetermined*
    URB REXVILLE                             Rico                                                            AJ 21 CALLE 53                      Rico
    AG21 CALLE 53                            17 BK 03283-LTS                                                 URB. REXVILLE                       17 BK 03283-LTS
    BAYAMON, PR 00957                                                                                        BAYAMON, PR 00956

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
164 BETANCOURT GARCIA,            02/07/18   Commonwealth of Puerto           440                $ 105,953.44 BETANCOURT GARCIA,      02/07/18   Commonwealth of Puerto     444           $ 105,953.44
    RODERICK                                 Rico                                                             RODERICK                           Rico
    URB LIRIOS CALA II,                      17 BK 03283-LTS                                                  URB. LIRIOS CALA II                17 BK 03283-LTS
    V-479 CALLE SAN JORGE                                                                                     V-479 CALLE SAN JORGE
    JUNCOS, PR 00777                                                                                          JUNCOS, PR 00777

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
165 BLASINI RODRIGUEZ,            06/28/18   Commonwealth of Puerto         114945             Undetermined* BLASINI RODRIGUEZ,       06/28/18   Commonwealth of Puerto    149240       Undetermined*
    EMMA                                     Rico                                                            EMMA                                Rico
    URB SAN AUGUSTO                          17 BK 03283-LTS                                                 URB SAN AUGUSTO                     17 BK 03283-LTS
    F7 CALLE SANTONI                                                                                         F7 CALLE SANTONI
    GUAYANILLA, PR 00656-                                                                                    GUAYANILLA, PR 00656-
    1612                                                                                                     1612

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
166 BLASINI RODRIGUEZ,            06/28/18   Commonwealth of Puerto         119884             Undetermined* BLASINI RODRIGUEZ,       06/28/18   Commonwealth of Puerto    149240       Undetermined*
    EMMA                                     Rico                                                            EMMA                                Rico
    URB SAN AUGUSTO                          17 BK 03283-LTS                                                 URB SAN AUGUSTO                     17 BK 03283-LTS
    F7 CALLE SANTONI                                                                                         F7 CALLE SANTONI
    GUAYANILLA, PR 00656-                                                                                    GUAYANILLA, PR 00656-
    1612                                                                                                     1612

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
167 BLASINI RODRIGUEZ,            06/28/18   Commonwealth of Puerto         119991             Undetermined* BLASINI RODRIGUEZ,       06/28/18   Commonwealth of Puerto    149240       Undetermined*
    EMMA                                     Rico                                                            EMMA                                Rico
    URB SAN AUGUSTO                          17 BK 03283-LTS                                                 URB SAN AUGUSTO                     17 BK 03283-LTS
    F7 CALLE SANTONI                                                                                         F7 CALLE SANTONI
    GUAYANILLA, PR 00656-                                                                                    GUAYANILLA, PR 00656-
    1612                                                                                                     1612

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 32 of 95
                                       Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                            Desc:
                                                   Exhibit Exhibit A (Schedule of Claim-English) Page 34 of 96

                                                                             Twenty-Third Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
168 BOCACHICA VEGA,               05/29/18   Commonwealth of Puerto         39765              Undetermined* BOCACHICA VEGA,        05/29/18   Commonwealth of Puerto    40826        Undetermined*
    MYRZA E                                  Rico                                                            MYRZA E.                          Rico
    HC 1 BOX 7814                            17 BK 03283-LTS                                                 HC 1 BOX 7814                     17 BK 03283-LTS
    VILLALBA, PR 00766                                                                                       VILLALBA, PR 00766

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
169 BOCACHICA VEGA,               05/29/18   Commonwealth of Puerto         40618              Undetermined* BOCACHICA VEGA,        05/29/18   Commonwealth of Puerto    40826        Undetermined*
    MYRZA E                                  Rico                                                            MYRZA E.                          Rico
    HC 1 BOX 7814                            17 BK 03283-LTS                                                 HC 1 BOX 7814                     17 BK 03283-LTS
    VILLALBA, PR 00766                                                                                       VILLALBA, PR 00766

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
170 BOCACHICA VEGA,               05/29/18   Commonwealth of Puerto         40819              Undetermined* BOCACHICA VEGA,        05/29/18   Commonwealth of Puerto    40826        Undetermined*
    MYRZA E.                                 Rico                                                            MYRZA E.                          Rico
    BO VACAS - CARR 561                      17 BK 03283-LTS                                                 HC 1 BOX 7814                     17 BK 03283-LTS
    KM 4.0                                                                                                   VILLALBA, PR 00766
    HC01 BOX 7814
    VILLALBA, PR 00766

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
171 BOCANEGRA                     06/29/18   Commonwealth of Puerto         82199              Undetermined* BOCANEGRA              07/06/18   Commonwealth of Puerto    157395       Undetermined*
    GONZALEZ, MARISEL                        Rico                                                            GONZALEZ, MARISEL                 Rico
    PO BOX 3540                              17 BK 03283-LTS                                                 PO BOX 3540                       17 BK 03283-LTS
    BAYAMON, PR 00958                                                                                        BAYAMON, PR 00958

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
172 BONANO RIVERA,                05/18/18   Commonwealth of Puerto         12019              Undetermined* BONANO RIVERA,         05/18/18   Commonwealth of Puerto    16483        Undetermined*
    MARTHA                                   Rico                                                            MARTHA                            Rico
    HC 2 BOX 5252                            17 BK 03283-LTS                                                 HC 2 BOX 5252                     17 BK 03283-LTS
    LUQUILLO, PR 00773                                                                                       LUQUILLO, PR 00773

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
173 BONES LEBRON,                 06/29/18   Commonwealth of Puerto         69568               $ 161,000.00* BONES LEBRON,         07/06/18   Commonwealth of Puerto    131599        $ 161,000.00*
    AMELIA                                   Rico                                                             AMELIA                           Rico
    CALLE PALMERA #711                       17 BK 03283-LTS                                                  CALLE PALMERA #711               17 BK 03283-LTS
    URB. BRISAS DEL MAR                                                                                       URB. BRISAS DEL MAR
    BUZON 119                                                                                                 BUZON 119
    GUAYAMA, PR 00784                                                                                         GUAYAMA, PR 00784

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.



              * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 33 of 95
                                      Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                            Desc:
                                                  Exhibit Exhibit A (Schedule of Claim-English) Page 35 of 96

                                                                            Twenty-Third Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT               NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
174 BONET GUERRA, SONIA          05/24/18   Commonwealth of Puerto         26206              Undetermined* BONET GUERRA, SONIA    05/24/18   Commonwealth of Puerto    28493        Undetermined*
    I                                       Rico                                                            I                                 Rico
    URB JARDINES DE                         17 BK 03283-LTS                                                 URB. JARDINES DE                  17 BK 03283-LTS
    RINCON                                                                                                  RINCON
    D2 CALLE 2                                                                                              CALLE 2 D2
    RINCON, PR 00677                                                                                        RINCON, PR 00677

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
175 BONET GUERRA, SONIA          05/24/18   Commonwealth of Puerto         27822              Undetermined* BONET GUERRA, SONIA    05/24/18   Commonwealth of Puerto    28493        Undetermined*
    I                                       Rico                                                            I                                 Rico
    URB. JARDINES DE                        17 BK 03283-LTS                                                 URB. JARDINES DE                  17 BK 03283-LTS
    RINCON                                                                                                  RINCON
    CALLE 2 D2                                                                                              CALLE 2 D2
    RINCON, PR 00677                                                                                        RINCON, PR 00677

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
176 BONILLA ACEVEDO,             05/25/18   Commonwealth of Puerto         21193              Undetermined* BONILLA ACEVEDO,       05/25/18   Commonwealth of Puerto    44997        Undetermined*
    WILDANNY                                Rico                                                            WILDANNY                          Rico
    HC 1 BOX 7168                           17 BK 03283-LTS                                                 HC 1 BOX 7168                     17 BK 03283-LTS
    MOCA, PR 00676                                                                                          MOCA, PR 00676

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
177 BONILLA CRUZ, BENITO         05/14/18   Commonwealth of Puerto         14484              Undetermined* BONILLA CRUZ, BENITO   05/14/18   Commonwealth of Puerto    15140        Undetermined*
    9 CALLE SAN CARLOS                      Rico                                                            9 CALLE SAN CARLOS                Rico
    UTUADO, PR 00641                        17 BK 03283-LTS                                                 UTUADO, PR 00641                  17 BK 03283-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
178 BONILLA CRUZ, BENITO         05/14/18   Commonwealth of Puerto         14828              Undetermined* BONILLA CRUZ, BENITO   05/14/18   Commonwealth of Puerto    15140        Undetermined*
    9 CALLE SAN CARLOS                      Rico                                                            9 CALLE SAN CARLOS                Rico
    UTUADO, PR 00641                        17 BK 03283-LTS                                                 UTUADO, PR 00641                  17 BK 03283-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
179 BONILLA CRUZ, BENITO         05/14/18   Commonwealth of Puerto         15107              Undetermined* BONILLA CRUZ, BENITO   05/14/18   Commonwealth of Puerto    15140        Undetermined*
    CALLE SAN CARLOS 9                      Rico                                                            9 CALLE SAN CARLOS                Rico
    UTUADO, PR 00641                        17 BK 03283-LTS                                                 UTUADO, PR 00641                  17 BK 03283-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 34 of 95
                                       Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                              Desc:
                                                   Exhibit Exhibit A (Schedule of Claim-English) Page 36 of 96

                                                                             Twenty-Third Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME              FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
180 BONILLA ORTIZ,                06/29/18   Commonwealth of Puerto         136737             Undetermined* BONILLA ORTIZ,           06/29/18   Commonwealth of Puerto    151699       Undetermined*
    ORLANDO                                  Rico                                                            ORLANDO                             Rico
    PO BOX 220                               17 BK 03283-LTS                                                 BOX 220                             17 BK 03283-LTS
    COAMO, PR 00769                                                                                          COAMO, PR 00769

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
181 BONILLA VEGA,                 06/25/18   Commonwealth of Puerto         80698                 $ 19,800.00 BONILLA VEGA,           06/25/18   Commonwealth of Puerto    82404          $ 19,800.00*
    GENOVEVA                                 Rico                                                             GENOVEVA                           Rico
    B145 PEDRO D. ACOSTA                     17 BK 03283-LTS                                                  B 145 PEDRO D. ACOSTA              17 BK 03283-LTS
    URB. SANTA MARIA                                                                                          SABANA GRANDE, PR
    SABANA GRANDE, PR                                                                                         00637
    00637

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
182 BONILLA VEGA,                 06/25/18   Commonwealth of Puerto         81061                 $ 19,800.00 BONILLA VEGA,           06/25/18   Commonwealth of Puerto    82404          $ 19,800.00*
    GENOVEVA                                 Rico                                                             GENOVEVA                           Rico
    B145 PEDRO D. ACOSTA                     17 BK 03283-LTS                                                  B 145 PEDRO D. ACOSTA              17 BK 03283-LTS
    URB. SANTA MARIA                                                                                          SABANA GRANDE, PR
    SABANA GRANDE, PR                                                                                         00637
    00637

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
183 BONILLA VELEZ,                05/24/18   Commonwealth of Puerto         20407              Undetermined* BONILLA VELEZ,           05/24/18   Commonwealth of Puerto    28915        Undetermined*
    WIDNA A                                  Rico                                                            WIDNA A                             Rico
    CALLE E DE IRIZARRY                      17 BK 03283-LTS                                                 URB VILLA SULTANITA                 17 BK 03283-LTS
    NUM. 879 URB. VILLA                                                                                      CALLE 14 E DE
    SULTANITA                                                                                                IRIZARRY 879
    MAYAGUEZ, PR 00680                                                                                       MAYAGUEZ, PR 00680

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
184 BONILLA VELEZ, WILDA          05/29/18   Commonwealth of Puerto         39079              Undetermined* BONILLA VELEZ, WILDA     05/29/18   Commonwealth of Puerto    50869        Undetermined*
    M.                                       Rico                                                            M.                                  Rico
    BO LAVADERO I                            17 BK 03283-LTS                                                 121 CALLE VICTORIA                  17 BK 03283-LTS
    VICTORIA 121                                                                                             LAVADIRO F
    HORMIGUEROS, PR                                                                                          HORMIGUEROS, PR
    00660                                                                                                    00660

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 35 of 95
                                       Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                            Desc:
                                                   Exhibit Exhibit A (Schedule of Claim-English) Page 37 of 96

                                                                             Twenty-Third Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
185 BONILLA VELEZ, WILDA          05/29/18   Commonwealth of Puerto         39086              Undetermined* BONILLA VELEZ, WILDA   05/29/18   Commonwealth of Puerto    50869        Undetermined*
    M.                                       Rico                                                            M.                                Rico
    BO. LAVADERO I                           17 BK 03283-LTS                                                 121 CALLE VICTORIA                17 BK 03283-LTS
    121 CALLE VICTORIA                                                                                       LAVADIRO F
    HORMIGUEROS, PR                                                                                          HORMIGUEROS, PR
    00660                                                                                                    00660

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
186 BORGES PEREZ, ARYAM           05/25/18   Commonwealth of Puerto         26500              Undetermined* BORGES PEREZ, ARYAM    05/25/18   Commonwealth of Puerto    33327        Undetermined*
    HC 5 BOX 93447                           Rico                                                            HC 5 BOX 93447                    Rico
    ARECIBO, PR 00612                        17 BK 03283-LTS                                                 ARECIBO, PR 00612                 17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
187 BORGES PEREZ, ARYAM           05/25/18   Commonwealth of Puerto         30652              Undetermined* BORGES PEREZ, ARYAM    05/25/18   Commonwealth of Puerto    33327        Undetermined*
    HC 5 BOX 93447                           Rico                                                            HC 5 BOX 93447                    Rico
    ARECIBO, PR 00612                        17 BK 03283-LTS                                                 ARECIBO, PR 00612                 17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
188 BORRERO LUCIANO,              06/29/18   Commonwealth of Puerto         142439             Undetermined* BORRERO LUCIANO,       06/29/18   Commonwealth of Puerto    146253       Undetermined*
    JOSE MIGUEL                              Rico                                                            JOSE MIGUEL                       Rico
    452 MONTO SOL                            17 BK 03283-LTS                                                 452 MONTE SOL                     17 BK 03283-LTS
    JUANA DIAZ, PR 00795                                                                                     JUANA DIAZ, PR 00795

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
189 BORRERO LUCIANO,              06/29/18   Commonwealth of Puerto         143292             Undetermined* BORRERO LUCIANO,       06/29/18   Commonwealth of Puerto    146253       Undetermined*
    JOSE MIGUEL                              Rico                                                            JOSE MIGUEL                       Rico
    452 MONTE SOL                            17 BK 03283-LTS                                                 452 MONTE SOL                     17 BK 03283-LTS
    JUANA DIAZ, PR 00795                                                                                     JUANA DIAZ, PR 00795

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
190 BOSQUES QUINTANA,             06/29/18   Commonwealth of Puerto         69842                 $ 30,000.00 BOSQUES QUINTANA,     07/06/18   Commonwealth of Puerto    137119          $ 30,000.00
    MAYRA                                    Rico                                                             MAYRA                            Rico
    PO BOX 4549                              17 BK 03283-LTS                                                  PO BOX 4549                      17 BK 03283-LTS
    AGUADILLA, PR 00605                                                                                       AGUADILLA, PR 00605

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 36 of 95
                                       Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                              Desc:
                                                   Exhibit Exhibit A (Schedule of Claim-English) Page 38 of 96

                                                                             Twenty-Third Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
191 BOSQUES VILLALONGO,           07/13/18   Commonwealth of Puerto         141814             Undetermined* BOSQUES VILLALONGO,      07/13/18   Commonwealth of Puerto    159354       Undetermined*
    WILMARIE                                 Rico                                                            WILMARIE                            Rico
    7901 W. PARIS ST.                        17 BK 03283-LTS                                                 7901 W. PARIS ST.                   17 BK 03283-LTS
    TAMPA, FL 33615                                                                                          TAMPA, FL 33615

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
192 BOSQUES VILLALONGO,           07/13/18   Commonwealth of Puerto         161385             Undetermined* BOSQUES VILLALONGO,      07/13/18   Commonwealth of Puerto    157270       Undetermined*
    WILMARIE                                 Rico                                                            WILMARIE                            Rico
    7901 W. PARIS ST.                        17 BK 03283-LTS                                                 7901 W. PARIS ST.                   17 BK 03283-LTS
    TAMPA, FL 33615                                                                                          TAMPA, FL 33615

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
193 BRACERO SOTO, JOSE            06/28/18   Commonwealth of Puerto         70791              Undetermined* BRACERO SOTO, JOSE       06/28/18   Commonwealth of Puerto    72185        Undetermined*
    BOX 203                                  Rico                                                            PO BOX 203                          Rico
    GUANICA, PR 00653-0203                   17 BK 03283-LTS                                                 GUANICA, PR 00653-0203              17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
194 BRAÑA LIZARDI,                04/04/18   Commonwealth of Puerto          3827                $ 15,750.00* BRAÑA LIZARDI,          04/05/18   Commonwealth of Puerto    4332           $ 15,750.00*
    JAVIER A.                                Rico                                                             JAVIER A.                          Rico
    LYMARIS PEREZ                            17 BK 03283-LTS                                                  LYMARIS PEREZ                      17 BK 03283-LTS
    RODRIGUEZ                                                                                                 RODRIGUEZ
    PO BOX 195287                                                                                             PO BOX 195287
    SAN JUAN, PR 00919                                                                                        SAN JUAN, PR 00919

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
195 BRAVO QUILES, NOELIA          06/26/18   Commonwealth of Puerto         50567               $ 150,000.00* BRAVO QUILES, NOELIA    06/27/18   Commonwealth of Puerto    38244         $ 150,000.00*
    PO BOX 6124                              Rico                                                             PO BOX 6124                        Rico
    MAYAGUEZ, PR 00681                       17 BK 03283-LTS                                                  MAYAGUEZ, PR 00681                 17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
196 BRUNET VALENTIN,              06/22/18   Commonwealth of Puerto         34276              Undetermined* BRUNET VALENTIN,         06/22/18   Commonwealth of Puerto    35715        Undetermined*
    DOLORES                                  Rico                                                            DOLORES                             Rico
    CALLE ZUZUARREGUI                        17 BK 03283-LTS                                                 CALLE ZUZUARREGUI                   17 BK 03283-LTS
    #10                                                                                                      #10
    MARICAO, PR 00606                                                                                        MARICAO, PR 00606

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 37 of 95
                                       Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                           Desc:
                                                   Exhibit Exhibit A (Schedule of Claim-English) Page 39 of 96

                                                                             Twenty-Third Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                     DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME           FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
197 BURGOS CARABALLO,             06/19/18   Commonwealth of Puerto         76095              Undetermined* BURGOS CARABOLLO,     06/19/18   Commonwealth of Puerto    87781        Undetermined*
    MIRTA                                    Rico                                                            MIRTA                            Rico
    HC05 BOX 7446                            17 BK 03283-LTS                                                 HC 5 BOX 7446                    17 BK 03283-LTS
    YAUCO, PR 00698                                                                                          YAUCO, PR 00698

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
198 BURGOS COLLAZO,               05/22/18   Commonwealth of Puerto         20167              Undetermined* BURGOS COLLAZO,       05/22/18   Commonwealth of Puerto    21970        Undetermined*
    ISMAEL                                   Rico                                                            ISMAEL                           Rico
    PO BOX 623                               17 BK 03283-LTS                                                 PO BOX 623                       17 BK 03283-LTS
    VILLALBA, PR 00766                                                                                       VILLALBA, PR 00766

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
199 BURGOS FERMAINT,              05/29/18   Commonwealth of Puerto         33411              Undetermined* BURGOS FERMAINT,      06/28/18   Commonwealth of Puerto    138782       Undetermined*
    NITZA G                                  Rico                                                            NITZA G                          Rico
    URB PARQUE ECUESTRE                      17 BK 03283-LTS                                                 PARQ ECUESTRE                    17 BK 03283-LTS
    CALLE IMPERIAL                                                                                           S12 CALLE IMPERIAL
    BLOQUE S12                                                                                               CAROLINA, PR 00987-
    CAROLINA, PR 00987                                                                                       8550

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
200 BURGOS FERMAINT,              06/28/18   Commonwealth of Puerto         121678             Undetermined* BURGOS FERMAINT,      06/28/18   Commonwealth of Puerto    138782       Undetermined*
    NITZA G                                  Rico                                                            NITZA G                          Rico
    PARQ ECUESTRE                            17 BK 03283-LTS                                                 PARQ ECUESTRE                    17 BK 03283-LTS
    S12 CALLE IMPERIAL                                                                                       S12 CALLE IMPERIAL
    CAROLINA, PR 00987-                                                                                      CAROLINA, PR 00987-
    8550                                                                                                     8550

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
201 BURGOS MORALES,               05/22/18   Commonwealth of Puerto         24767              Undetermined* BURGOS MORALES,       05/22/18   Commonwealth of Puerto    31214        Undetermined*
    MADELINE                                 Rico                                                            MADELINE                         Rico
    VILLA DE CANDELERO                       17 BK 03283-LTS                                                 VILLAS DEL                       17 BK 03283-LTS
    61                                                                                                       CANDELERO
    C/GOLONDRINA                                                                                             61 CALLE GOLONDRINA
    HUMACAO, PR 00791-                                                                                       HUMACAO, PR 00791-
    9628                                                                                                     9628

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                      Page 38 of 95
                                       Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                            Desc:
                                                   Exhibit Exhibit A (Schedule of Claim-English) Page 40 of 96

                                                                             Twenty-Third Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
202 BURGOS MORALES,               05/22/18   Commonwealth of Puerto         31061              Undetermined* BURGOS MORALES,        05/22/18   Commonwealth of Puerto    31214        Undetermined*
    MADELINE                                 Rico                                                            MADELINE                          Rico
    VILLAS DEL                               17 BK 03283-LTS                                                 VILLAS DEL                        17 BK 03283-LTS
    CANDELERO                                                                                                CANDELERO
    61 CALLE GOLONDRINA                                                                                      61 CALLE GOLONDRINA
    HUMACAO, PR 00791-                                                                                       HUMACAO, PR 00791-
    9628                                                                                                     9628

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
203 BURGOS MORALES,               05/22/18   Commonwealth of Puerto         33399              Undetermined* BURGOS MORALES,        05/22/18   Commonwealth of Puerto    31214        Undetermined*
    MADELINE                                 Rico                                                            MADELINE                          Rico
    VILLAS DE CANDELERO                      17 BK 03283-LTS                                                 VILLAS DEL                        17 BK 03283-LTS
    61 CALLE GOLONDRINA                                                                                      CANDELERO
    HUMACAO, PR 00791-                                                                                       61 CALLE GOLONDRINA
    9628                                                                                                     HUMACAO, PR 00791-
                                                                                                             9628

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
204 BURGOS REYES, PEDRO           06/28/18   Commonwealth of Puerto         120782             Undetermined* BURGOS REYES, PEDRO    06/28/18   Commonwealth of Puerto    126080       Undetermined*
    O.                                       Rico                                                            O.                                Rico
    HC 01 BOX 4854                           17 BK 03283-LTS                                                 HC 01 BOX 4854                    17 BK 03283-LTS
    JUANA DIAZ, PR 00795                                                                                     JUANA DIAZ, PR 00795

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
205 BURGOS ROSADO,                06/27/18   Commonwealth of Puerto         56165                 $ 40,000.00 BURGOS ROSADO,        07/03/18   Commonwealth of Puerto    132000          $ 40,000.00
    RAMON L.                                 Rico                                                             RAMON L.                         Rico
    PO BOX 2366                              17 BK 03283-LTS                                                  PO BOX 2366                      17 BK 03283-LTS
    CANOVANAS, PR 00729                                                                                       CANOVANAS, PR 00729

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
206 C E & L FIRE                  05/07/18   Commonwealth of Puerto         11847              Undetermined* C E & L FIRE           05/08/18   Commonwealth of Puerto    11882        Undetermined*
    EXTINGUISHERS                            Rico                                                            EXTINGUISHERS                     Rico
    PO BOX 3092                              17 BK 03283-LTS                                                 PO BOX 3092                       17 BK 03283-LTS
    BAYAMON, PR 00960                                                                                        BAYAMON, PR 00960

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 39 of 95
                                      Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                         Desc:
                                                  Exhibit Exhibit A (Schedule of Claim-English) Page 41 of 96

                                                                            Twenty-Third Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                              REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                   DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT               NAME          FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
207 C E & L FIRE                 05/07/18   Commonwealth of Puerto         11877              Undetermined* C E & L FIRE        05/08/18   Commonwealth of Puerto    11882        Undetermined*
    EXTINGUISHERS                           Rico                                                            EXTINGUISHERS                  Rico
    PO BOX 3092                             17 BK 03283-LTS                                                 PO BOX 3092                    17 BK 03283-LTS
    BAYAMON, PR 00960                                                                                       BAYAMON, PR 00960

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
208 C E & L FIRE                 05/07/18   Commonwealth of Puerto         11889              Undetermined* C E & L FIRE        05/08/18   Commonwealth of Puerto    11882        Undetermined*
    EXTINGUISHERS                           Rico                                                            EXTINGUISHERS                  Rico
    PO BOX 3092                             17 BK 03283-LTS                                                 PO BOX 3092                    17 BK 03283-LTS
    BAYAMON, PR 00960                                                                                       BAYAMON, PR 00960

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
209 C E & L FIRE                 05/07/18   Commonwealth of Puerto         11890              Undetermined* C E & L FIRE        05/08/18   Commonwealth of Puerto    11882        Undetermined*
    EXTINGUISHERS                           Rico                                                            EXTINGUISHERS                  Rico
    PO BOX 3092                             17 BK 03283-LTS                                                 PO BOX 3092                    17 BK 03283-LTS
    BAYAMON, PR 00960                                                                                       BAYAMON, PR 00960

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
210 C E & L FIRE                 05/07/18   Commonwealth of Puerto         12273              Undetermined* C E & L FIRE        05/08/18   Commonwealth of Puerto    11882        Undetermined*
    EXTINGUISHERS                           Rico                                                            EXTINGUISHERS                  Rico
    PO BOX 3092                             17 BK 03283-LTS                                                 PO BOX 3092                    17 BK 03283-LTS
    BAYAMON, PR 00960                                                                                       BAYAMON, PR 00960

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
211 C E & L FIRE                 05/07/18   Commonwealth of Puerto         12278              Undetermined* C E & L FIRE        05/08/18   Commonwealth of Puerto    11882        Undetermined*
    EXTINGUISHERS                           Rico                                                            EXTINGUISHERS                  Rico
    PO BOX 3092                             17 BK 03283-LTS                                                 PO BOX 3092                    17 BK 03283-LTS
    BAYAMON, PR 00960                                                                                       BAYAMON, PR 00960

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
212 CABAN GONZALEZ,              06/28/18   Commonwealth of Puerto         125420             Undetermined* CABAN GONZALEZ,     07/02/18   Commonwealth of Puerto    110646       Undetermined*
    ELBA LUISA                              Rico                                                            ELBA LUISA                     Rico
    109 VILMA BAREA                         17 BK 03283-LTS                                                 109 VILMA BAREA                17 BK 03283-LTS
    MOCA, PR 00676                                                                                          MOCA, PR 00676

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                    Page 40 of 95
                                       Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                             Desc:
                                                   Exhibit Exhibit A (Schedule of Claim-English) Page 42 of 96

                                                                             Twenty-Third Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
213 CABAN JIMENEZ,                06/25/18   Commonwealth of Puerto         88906              Undetermined* CABAN JIMENEZ,          06/28/18   Commonwealth of Puerto    69473        Undetermined*
    MARIA M                                  Rico                                                            MARIA M                            Rico
    MIRADOR BAIROA                           17 BK 03283-LTS                                                 MIRADOR BAIROA                     17 BK 03283-LTS
    CALLE 30 BLOQUE 2T 50                                                                                    CALLE 30 BLOQUE 2T 50
    CAGUAS, PR 00725                                                                                         CAGUAS, PR 00725

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
214 CABAN SOTO, DELIA             06/29/18   Commonwealth of Puerto         72052              Undetermined* CABAN SOTO, DELIA       06/29/18   Commonwealth of Puerto    78191        Undetermined*
    320 CALLE DELFIN                         Rico                                                            320 CALLE DELFIN                   Rico
    ISABELA, PR 00662                        17 BK 03283-LTS                                                 ISABELA                            17 BK 03283-LTS
                                                                                                             ISABELA, PR 00662

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
215 CABAN TORRES, NILSA           05/29/18   Commonwealth of Puerto         27143              Undetermined* CABAN TORRES, NILSA     05/29/18   Commonwealth of Puerto    37427        Undetermined*
    M.                                       Rico                                                            M.                                 Rico
    URB. JARDINES DE                         17 BK 03283-LTS                                                 A-23 CALLE 5                       17 BK 03283-LTS
    SANTO DOMINGO                                                                                            URB. JARD SANTO
    CALLE 5 A-23                                                                                             DOMINGO
    JUANA DIAZ, PR 00795                                                                                     JUANA DIAZ, PR 00795

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
216 CABRERA CORDERO,              06/28/18   Commonwealth of Puerto         69544              Undetermined* CABRERA CORDERO,        07/05/18   Commonwealth of Puerto    157505       Undetermined*
    VIVIAN                                   Rico                                                            VIVIAN                             Rico
    PO BOX 1070                              17 BK 03283-LTS                                                 PO BOX 1070                        17 BK 03283-LTS
    HATILLO, PR 00659                                                                                        HATILLO, PR 00659

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
217 CABRERA LOPEZ,                07/30/18   Commonwealth of Puerto         161759               $ 39,415.92* CABRERA LOPEZ,         07/30/18   Commonwealth of Puerto    161769         $ 39,415.92*
    LENNYS Z                                 Rico                                                             LENNYS Z                          Rico
    P.O. BOX 255                             17 BK 03283-LTS                                                  PO BOX 255                        17 BK 03283-LTS
    ISABELA, PR 00662                                                                                         ISABELA, PR 00662

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 41 of 95
                                      Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                               Desc:
                                                  Exhibit Exhibit A (Schedule of Claim-English) Page 43 of 96

                                                                            Twenty-Third Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                    REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                         DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME               FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
218 CABRERA MINGUELA,            05/23/18   Commonwealth of Puerto         19634                 $ 26,889.34 CABRERA MINGUELA,        05/23/18   Commonwealth of Puerto    34530           $ 26,889.34
    JUAN C.                                 Rico                                                             JUAN C.                             Rico
    512 CALLE PABONA                        17 BK 03283-LTS                                                  512 CALLE PABONA                    17 BK 03283-LTS
    URB. VERDUN II                                                                                           URB. VERDUN II
    HORMIGUEROS, PR                                                                                          HORMIGUEROS, PR
    00660                                                                                                    00660

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
219 CAICOYA ORTIZ,               06/22/18   Commonwealth of Puerto         47514              Undetermined* CAICOYA ORTIZ,            06/29/18   Commonwealth of Puerto    99485        Undetermined*
    LOURDES INES                            Rico                                                            LOURDES INES                         Rico
    #3311 CALLE TOSCANIA                    17 BK 03283-LTS                                                 URB VILLA DEL                        17 BK 03283-LTS
    PONCE, PR 00716                                                                                         CARMEN
                                                                                                            #3311 CALLE TOSCANIA
                                                                                                            PONCE, PR 00716

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
220 CALDERO FIGUEROA,            05/18/18   Commonwealth of Puerto         16525              Undetermined* CALDERO FIGUEROA,         05/18/18   Commonwealth of Puerto    16535        Undetermined*
    LUZ B                                   Rico                                                            LUZ B                                Rico
    HC 01 BOX 5848                          17 BK 03283-LTS                                                 BO. PAJAROS                          17 BK 03283-LTS
    TOA BAJA, PR 00949                                                                                      CANDELARIA
                                                                                                            HC-01 BOX 5848
                                                                                                            TOA BAJA, PR 00951-0000

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
221 CALDERON MARRERO,            06/28/18   Commonwealth of Puerto         69053                 $ 50,000.00 CALDERON MARRERO,        06/29/18   Commonwealth of Puerto    129643          $ 50,000.00
    NATIVIDAD                               Rico                                                             NATIVIDAD                           Rico
    BARRIO CANTERA                          17 BK 03283-LTS                                                  BARRIO CANTERA                      17 BK 03283-LTS
    SECTOR REPARTO                                                                                           SECTOR REPARTO
    GARCIA #15                                                                                               GARCIA #15
    MANATI, PR 00674                                                                                         MANATI, PR 00674

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
222 CALERO TIRADO,               06/29/18   Commonwealth of Puerto         79383              Undetermined* CALERO TIRADO,            06/29/18   Commonwealth of Puerto    80506        Undetermined*
    ERMELINDA                               Rico                                                            ERMELINDA                            Rico
    ESTANCIAS TALAVERA                      17 BK 03283-LTS                                                 ESTANCIAS TALAVERA                   17 BK 03283-LTS
    1 CALLE TUCÁN                                                                                           1 CALLE TUCÁN
    ISABELA, PR 00662                                                                                       ISABELA, PR 00662

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 42 of 95
                                       Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                           Desc:
                                                   Exhibit Exhibit A (Schedule of Claim-English) Page 44 of 96

                                                                             Twenty-Third Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                     DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME           FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
223 CALVO SANCHEZ,                06/28/18   Commonwealth of Puerto         64504              Undetermined* CALVO SANCHEZ,        06/28/18   Commonwealth of Puerto    72061        Undetermined*
    MICHELLE                                 Rico                                                            MICHELLE                         Rico
    PARCELAS NIAGARAS                        17 BK 03283-LTS                                                 PARCELAS NIAGARAS                17 BK 03283-LTS
    25 B ALTOS                                                                                               25 B ALTOS
    COAMO, PR 00769                                                                                          COAMO, PR 00769

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
224 CAMACHO ANDUJAR,              05/18/18   Commonwealth of Puerto         33565              Undetermined* CAMACHO ANDUJAR,      05/18/18   Commonwealth of Puerto    38479        Undetermined*
    CARMEN T                                 Rico                                                            CARMEN T                         Rico
    HC 1 BOX 3162                            17 BK 03283-LTS                                                 HC 1 BOX 3162                    17 BK 03283-LTS
    BOQUERON, PR 00622-                                                                                      BOQUERON, PR 00622
    9715

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
225 CAMACHO ANDUJAR,              05/18/18   Commonwealth of Puerto         33566              Undetermined* CAMACHO ANDUJAR,      05/18/18   Commonwealth of Puerto    38479        Undetermined*
    CARMEN T                                 Rico                                                            CARMEN T                         Rico
    HC 1 BOX 3162                            17 BK 03283-LTS                                                 HC 1 BOX 3162                    17 BK 03283-LTS
    BOQUERON, PR 00622                                                                                       BOQUERON, PR 00622

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
226 CAMACHO ANDUJAR,              05/18/18   Commonwealth of Puerto         36557              Undetermined* CAMACHO ANDUJAR,      05/18/18   Commonwealth of Puerto    38479        Undetermined*
    CARMEN T                                 Rico                                                            CARMEN T                         Rico
    HC 1 BOX 3162                            17 BK 03283-LTS                                                 HC 1 BOX 3162                    17 BK 03283-LTS
    BOQUERON, PR 00622                                                                                       BOQUERON, PR 00622

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
227 CAMACHO ANDUJAR,              05/18/18   Commonwealth of Puerto         34207              Undetermined* CAMACHO ANDUJAR,      05/18/18   Commonwealth of Puerto    49942        Undetermined*
    CARMEN T.                                Rico                                                            CARMEN T.                        Rico
    HC 1 BOX 3162                            17 BK 03283-LTS                                                 HC 1 BOX 3162                    17 BK 03283-LTS
    BOQUERON, PR 00622                                                                                       BOQUERON, PR 00622-
                                                                                                             9715

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
228 CAMACHO ANDUJAR,              05/18/18   Commonwealth of Puerto         35284              Undetermined* CAMACHO ANDUJAR,      05/18/18   Commonwealth of Puerto    49942        Undetermined*
    CARMEN T.                                Rico                                                            CARMEN T.                        Rico
    HC 1 BOX 3162                            17 BK 03283-LTS                                                 HC 1 BOX 3162                    17 BK 03283-LTS
    BOQUERON, PR 00622                                                                                       BOQUERON, PR 00622-
                                                                                                             9715

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.



              * Indicates claim contains unliquidated and/or undetermined amounts                                                                      Page 43 of 95
                                       Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                             Desc:
                                                   Exhibit Exhibit A (Schedule of Claim-English) Page 45 of 96

                                                                             Twenty-Third Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
229 CAMACHO ANDUJAR,              05/18/18   Commonwealth of Puerto         36532              Undetermined* CAMACHO ANDUJAR,        05/18/18   Commonwealth of Puerto    49942        Undetermined*
    CARMEN T.                                Rico                                                            CARMEN T.                          Rico
    HC 1 BOX 3162                            17 BK 03283-LTS                                                 HC 1 BOX 3162                      17 BK 03283-LTS
    BOQUERON, PR 00622                                                                                       BOQUERON, PR 00622-
                                                                                                             9715

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
230 CAMACHO                       06/29/18   Commonwealth of Puerto         132774             Undetermined* CAMACHO                 06/29/18   Commonwealth of Puerto    148566       Undetermined*
    HERNANDEZ, CARMEN                        Rico                                                            HERNANDEZ, CARMEN                  Rico
    S                                        17 BK 03283-LTS                                                 S                                  17 BK 03283-LTS
    7A CALLE 2                                                                                               7A CALLE 2
    URB SAN ANTONIO                                                                                          URB. SAN ANTONIO
    AGUAS BUENAS, PR                                                                                         AGUAS BUENAS, PR
    00703                                                                                                    00703

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
231 CAMACHO LOZADA,               06/27/18   Commonwealth of Puerto         52990              Undetermined* CAMACHO LOZADA,         07/03/18   Commonwealth of Puerto    101703       Undetermined*
    ANA E.                                   Rico                                                            ANA E.                             Rico
    HC80 BOX 8276                            17 BK 03283-LTS                                                 HC 80 BOX 8276                     17 BK 03283-LTS
    DORADO, PR 00646-8276                                                                                    DORADO, PR 00646-8276

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
232 CAMACHO LOZADA,               06/28/18   Commonwealth of Puerto         57933              Undetermined* CAMACHO LOZADA,         07/03/18   Commonwealth of Puerto    131450       Undetermined*
    PETRA                                    Rico                                                            PETRA                              Rico
    PO BOX 1327                              17 BK 03283-LTS                                                 PO BOX 1327                        17 BK 03283-LTS
    VEGA ALTA, PR 00692                                                                                      VEGA ALTA, PR 00692-
                                                                                                             1327

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
233 CAMACHO QUINONES,             06/22/18   Commonwealth of Puerto         46559              Undetermined* CAMACHO QUINONES,       06/25/18   Commonwealth of Puerto    85164        Undetermined*
    CLARIBEL                                 Rico                                                            CLARIBEL                           Rico
    HC 02 BOX 639                            17 BK 03283-LTS                                                 HC 02 BOX 639                      17 BK 03283-LTS
    YAUCO, PR 00698                                                                                          YAUCO, PR 00698

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 44 of 95
                                       Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                                Desc:
                                                   Exhibit Exhibit A (Schedule of Claim-English) Page 46 of 96

                                                                             Twenty-Third Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                     REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                          DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME               FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
234 CAMACHO RAMOS,                06/29/18   Commonwealth of Puerto         129726             Undetermined* CAMACHO RAMOS,             06/29/18   Commonwealth of Puerto    133707       Undetermined*
    MARLENE                                  Rico                                                            MARLENE                               Rico
    PO BOX 572                               17 BK 03283-LTS                                                 PO BOX 572                            17 BK 03283-LTS
    CIDRA, PR 00739                                                                                          CIDRA, PR 00739

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
235 CAMACHO RODRIGUEZ,            06/28/18   Commonwealth of Puerto         121472             Undetermined* CAMACHO RODRIGUEZ,         06/28/18   Commonwealth of Puerto    126358       Undetermined*
    FERDINAND                                Rico                                                            FERDINAND                             Rico
    HC 5 BOX 7645                            17 BK 03283-LTS                                                 HC 5 BOX 7645                         17 BK 03283-LTS
    YAUCO, PR 00698                                                                                          YAUCO, PR 00698

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
236 CAMPS OLMEDO, JULIO           05/24/18   Commonwealth of Puerto         19747              Undetermined* CAMPS OLMEDO, JULIO        05/24/18   Commonwealth of Puerto    19904        Undetermined*
    URB LOS MAESTROS E6                      Rico                                                            URB. LOS MAESTROS                     Rico
    CALLE F                                  17 BK 03283-LTS                                                 E-6                                   17 BK 03283-LTS
    HUMACAO, PR 00791                                                                                        CALLE F
                                                                                                             HUMACAO, PR 00791

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
237 CANALES SOCIA,                06/28/18   Commonwealth of Puerto         147684             Undetermined* CANALES SOCIA,             06/29/18   Commonwealth of Puerto    143690       Undetermined*
    ISABEL P.                                Rico                                                            ISABEL P.                             Rico
    CALLE CAROLINA #1709                     17 BK 03283-LTS                                                 CALLE CAROLINA #1709                  17 BK 03283-LTS
    SANT, PR 00912                                                                                           SANTURCE, PR 00912

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
238 CANCEL DONES,                 06/10/18   Commonwealth of Puerto         35102               $ 150,000.00* CANCEL DONES,             06/10/18   Commonwealth of Puerto    35143         $ 150,000.00*
    LIZETTE                                  Rico                                                             LIZETTE                              Rico
    ARNALDO H. ELIAS                         17 BK 03283-LTS                                                  ARNALDO H. ELIAS                     17 BK 03283-LTS
    PO BOX 191841                                                                                             PO BOX 191841
    SAN JUAN, PR 00919-1841                                                                                   SAN JUAN, PR 00919-1841

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
239 CANCEL TORRES, ANA E          05/07/18   Commonwealth of Puerto         10672              Undetermined* CANCEL TORRES, ANA E       05/07/18   Commonwealth of Puerto    11114        Undetermined*
    URB ALEMANY                              Rico                                                            URB. ALEMANY                          Rico
    72 CALLE ALEMANY                         17 BK 03283-LTS                                                 CALLE ALEMANY 72                      17 BK 03283-LTS
    MAYAGUEZ, PR 00680                                                                                       MAYAGUEZ, PR 00680

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                           Page 45 of 95
                                      Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                           Desc:
                                                  Exhibit Exhibit A (Schedule of Claim-English) Page 47 of 96

                                                                            Twenty-Third Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                     DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT               NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
240 CARABALLO BAEZ,              06/26/18   Commonwealth of Puerto         51559              Undetermined* CARABALLO BAEZ,       06/28/18   Commonwealth of Puerto    123576       Undetermined*
    ROSA                                    Rico                                                            ROSA                             Rico
    BO. PALOMAS CALLE A                     17 BK 03283-LTS                                                 BO PALOMAS CALLE A               17 BK 03283-LTS
    NUMERO 2                                                                                                NUMERO 2
    YAUCO, PR 00698                                                                                         YAUCO, PR 00698

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
241 CARABALLO CASTILLO,          06/25/18   Commonwealth of Puerto         40706              Undetermined* CARABALLO CASTILLO,   06/25/18   Commonwealth of Puerto    47364        Undetermined*
    ANGELA                                  Rico                                                            ANGELA                           Rico
    HC 5 BOX 7299                           17 BK 03283-LTS                                                 HC 5 BOX 7299                    17 BK 03283-LTS
    YAUCO, PR 00698                                                                                         YAUCO, PR 00698

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
242 CARABALLO CEPEDA,            06/19/18   Commonwealth of Puerto         74738                $ 50,000.00* CARABALLO CEPEDA,    06/28/18   Commonwealth of Puerto    67183          $ 50,000.00*
    WANAGET                                 Rico                                                             WANAGET                         Rico
    AIDA I. FIGUEROA                        17 BK 03283-LTS                                                  LCDA. AIDA I.                   17 BK 03283-LTS
    RODRÍGUEZ                                                                                                RODRIGUEZ
    49-51 AVE MAIN URB                                                                                       49-51 AVE MAIN URB
    STA ROSA                                                                                                 STA ROSA
    BAYAMON, PR 00961                                                                                        BAYAMON, PR 00959-
                                                                                                             6655

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
243 CARABALLO DE JESUS,          07/05/18   Commonwealth of Puerto         155326             Undetermined* CARABALLO DE JESUS,   07/05/18   Commonwealth of Puerto    155980       Undetermined*
    FELICITA                                Rico                                                            FELICITA                         Rico
    URB HACIENDA                            17 BK 03283-LTS                                                 URB LA HACIENDA                  17 BK 03283-LTS
    AM20 CALLE 53                                                                                           AM 20 CALLE 53
    GUAYAMA, PR 00784                                                                                       GUAYAMA, PR 00784

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
244 CARABALLO DE JESUS,          07/05/18   Commonwealth of Puerto         155417             Undetermined* CARABALLO DE JESUS,   07/05/18   Commonwealth of Puerto    155980       Undetermined*
    FELICITA                                Rico                                                            FELICITA                         Rico
    URB LA HACIENDA                         17 BK 03283-LTS                                                 URB LA HACIENDA                  17 BK 03283-LTS
    CALLE 53 AM 20                                                                                          AM 20 CALLE 53
    GUAYAMA, PR 00784                                                                                       GUAYAMA, PR 00784

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                      Page 46 of 95
                                       Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                             Desc:
                                                   Exhibit Exhibit A (Schedule of Claim-English) Page 48 of 96

                                                                             Twenty-Third Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
245 CARABALLO GUZMAN,             05/08/18   Commonwealth of Puerto         13381              Undetermined* CARABALLO GUZMAN,       05/08/18   Commonwealth of Puerto    13914        Undetermined*
    HECTOR A                                 Rico                                                            HECTOR A                           Rico
    URB ALTURAS                              17 BK 03283-LTS                                                 B 43 URB ALTURAS                   17 BK 03283-LTS
    SABANERAS                                                                                                SABANARAS
    B 43                                                                                                     SABANA GRANDE, PR
    SABANA GRANDE, PR                                                                                        00637
    00637

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
246 CARABALLO LUCIANO,            06/29/18   Commonwealth of Puerto         136497             Undetermined* CARABALLO LUCIANO,      06/29/18   Commonwealth of Puerto    165970       Undetermined*
    MARISOL                                  Rico                                                            MARISOL                            Rico
    HC-01 BOX 10831                          17 BK 03283-LTS                                                 HC 01 BOX 10831                    17 BK 03283-LTS
    GUAYANILLA, PR 00656-                                                                                    GUAYANILLA, PR 00656-
    9527                                                                                                     9527

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
247 CARABALLO                     06/26/18   Commonwealth of Puerto         52368                $ 150,000.00 CARABALLO              06/27/18   Commonwealth of Puerto    42388         $ 150,000.00*
    MARTINEZ, CARLOS                         Rico                                                             MARTINEZ, CARLOS                  Rico
    PO BOX 1727                              17 BK 03283-LTS                                                  PO BOX 1727                       17 BK 03283-LTS
    LAJAS, PR 00667                                                                                           LAJAS, PR 00667

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
248 CARABALLO RIVERA,             06/28/18   Commonwealth of Puerto         61796              Undetermined* CARABALLO RIVERA,       06/28/18   Commonwealth of Puerto    61815        Undetermined*
    LUCILA                                   Rico                                                            LUCILA                             Rico
    ALTURAS DEL CAFETAL                      17 BK 03283-LTS                                                 ALTURAS DEL CAFETAL                17 BK 03283-LTS
    8-18 CALLE CAMELIA                                                                                       B-18 CALLE CAMELIA
    YAUCO, PR 00698                                                                                          YAUCO, PR 00698

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
249 CARDONA ALVAREZ,              04/09/18   Commonwealth of Puerto          6542                 $ 52,006.88 CARDONA ALVAREZ,       04/18/18   Commonwealth of Puerto    5623            $ 52,006.88
    NANCY                                    Rico                                                             NANCY                             Rico
    URB PASEO DE LA                          17 BK 03283-LTS                                                  PO BOX 1044                       17 BK 03283-LTS
    CEIBA                                                                                                     JUNCOS, PR 00777
    338 CALLE ARCE
    JUNCOS, PR 00777

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 47 of 95
                                       Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                                Desc:
                                                   Exhibit Exhibit A (Schedule of Claim-English) Page 49 of 96

                                                                             Twenty-Third Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                     REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                          DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME               FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
250 CARDONA MERCADO,              06/01/18   Commonwealth of Puerto         34031                 $ 36,000.00 CARDONA MERCADO,          06/01/18   Commonwealth of Puerto    34685          $ 36,000.00
    MILSA                                    Rico                                                             MILSA                                Rico
    URB VISTAS DEL                           17 BK 03283-LTS                                                  VISTA DEL ATLANTICO                  17 BK 03283-LTS
    ATLANTICO                                                                                                 123 CALLE DELFIN
    123 DELFIN                                                                                                ARECIBO, PR 00612
    ARECIBO, PR 00612

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
251 CARDONA MORALES,              04/09/18   Commonwealth of Puerto          6902                $ 21,000.00* CARDONA MORALES,          04/09/18   Commonwealth of Puerto    7445           $ 21,000.00
    MYRTA                                    Rico                                                             MYRTA                                Rico
    HC 3 BOX 8668                            17 BK 03283-LTS                                                  HC 03 BOX 9307                       17 BK 03283-LTS
    ACEITUNA                                                                                                  MOCA, PR 06676
    MOCA, PR 00676

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
252 CARDONA RAMOS, LUIS           05/25/18   Commonwealth of Puerto         26517                 $ 14,233.76 CARDONA RAMOS, LUIS       05/30/18   Commonwealth of Puerto    31351          $ 14,233.76
    A                                        Rico                                                             A                                    Rico
    LIRIO DEL MAR                            17 BK 03283-LTS                                                  LIRIO DEL MAR                        17 BK 03283-LTS
    TORRES, ESQ.                                                                                              TORRES, ESQ.
    PO BOX 3552                                                                                               PO BOX 3552
    MAYAGUEZ, PR 00681                                                                                        MAYAGUEZ, PR 00681

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
253 CARIBBEAN ASSET               05/24/18   Commonwealth of Puerto         17527                 $ 45,395.30 CARIBBEAN ASSET           05/24/18   Commonwealth of Puerto    27906          $ 45,395.30
    MANAGEMENT &                             Rico                                                             MANAGEMENT &                         Rico
    FUNDING INTIMA, INC.                     17 BK 03283-LTS                                                  FUNDING INTIMA, INC.                 17 BK 03283-LTS
    ANGEL L ACEVEDO                                                                                           ANGEL L. ACEVEDO
    ESQ.                                                                                                      ESQ.
    URB PASEO ALTO                                                                                            URB PASEO ALTO
    68 CALLE 2                                                                                                68 CALLE 2
    SAN JUAN, PR 00926-5918                                                                                   SAN JUAN, PR 00926-5918

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
254 CARLO REYES, CARLOS           06/29/18   Commonwealth of Puerto         132362                $ 80,000.00 CARLO REYES, CARLOS       06/29/18   Commonwealth of Puerto    152621         $ 80,000.00
    LUIS                                     Rico                                                             LUIS                                 Rico
    G-9 CALLE 11                             17 BK 03283-LTS                                                  G-9 CALLE 11                         17 BK 03283-LTS
    SAN JUAN, PR 00926                                                                                        SAN JUAN, PR 00926

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                           Page 48 of 95
                                       Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                            Desc:
                                                   Exhibit Exhibit A (Schedule of Claim-English) Page 50 of 96

                                                                             Twenty-Third Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
255 CARLOS M FLORES CE &          05/07/18   Commonwealth of Puerto         12400              Undetermined* CARLOS M FLORES CE &   05/07/18   Commonwealth of Puerto    12462        Undetermined*
    L FIRE EXTINGUISHERS                     Rico                                                            L FIRE EXTINGUISHERS              Rico
    PO BOX 3092                              17 BK 03283-LTS                                                 PO BOX 3092                       17 BK 03283-LTS
    BAYAMON, PR 00960                                                                                        BAYAMON, PR 00960

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
256 CARMONA                       05/23/18   Commonwealth of Puerto         31256                 $ 8,520.00* CARMONA               05/23/18   Commonwealth of Puerto    31650            $ 8,520.00
    HERNANDEZ, IVELISSE                      Rico                                                             HERNANDEZ, IVELISSE              Rico
    LAS DELICIAS                             17 BK 03283-LTS                                                  LAS DELICIAS                     17 BK 03283-LTS
    3626 CALLE LOLA                                                                                           3626 CALLE LOLA
    RODRIGUEZ DE TIO                                                                                          RODRIGUEZ DE TIO
    PONCE, PR 00728                                                                                           PONCE, PR 00728

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
257 CARMONA JIMENEZ,              02/07/18   Commonwealth of Puerto           469                 $ 2,932.25* CARMONA JIMENEZ,      02/07/18   Commonwealth of Puerto     485             $ 2,932.25
    JOHANNA M.                               Rico                                                             JOHANNA M.                       Rico
    154 CALLE MICHELLE,                      17 BK 03283-LTS                                                  154 CALLE MICHELLE,              17 BK 03283-LTS
    VEGA SERENA                                                                                               VEGA SERENA
    VEGA BAJA, PR 00693                                                                                       VEGA BAJA, PR 00693

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
258 CARO SANCHEZ, ALDA            07/03/18   Commonwealth of Puerto         154467                $ 22,000.00 CARO SANCHEZ, ALDA    07/03/18   Commonwealth of Puerto    154482          $ 22,000.00
    B.                                       Rico                                                             B.                               Rico
    URB. LOS                                 17 BK 03283-LTS                                                  URB. LOS                         17 BK 03283-LTS
    FLAMBOYANES #36                                                                                           FLAMBOYANES #36
    AGUADA, PR 00602                                                                                          AGUADA, PR 00602

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
259 CARRASCO MONTIJO,             06/29/18   Commonwealth of Puerto         139323             Undetermined* CARRASCO MONTIJO,      06/29/18   Commonwealth of Puerto    150149       Undetermined*
    LUIS S.                                  Rico                                                            LUIS S.                           Rico
    DINUVA U-32                              17 BK 03283-LTS                                                 URB. VISTA BELLA                  17 BK 03283-LTS
    VISTA BELLA                                                                                              CALLE DINUVA U-32
    BAYAMON, PR 00956                                                                                        BAYAMÓN, PR 00956

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 49 of 95
                                      Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                           Desc:
                                                  Exhibit Exhibit A (Schedule of Claim-English) Page 51 of 96

                                                                            Twenty-Third Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                     DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT               NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
260 CARRASCO MONTIJO,            06/29/18   Commonwealth of Puerto         148207             Undetermined* CARRASCO MONTIJO,     06/29/18   Commonwealth of Puerto    150149       Undetermined*
    LUIS S.                                 Rico                                                            LUIS S.                          Rico
    CALLE DINUVIA U-32                      17 BK 03283-LTS                                                 URB. VISTA BELLA                 17 BK 03283-LTS
    URB. VISTA BELLA                                                                                        CALLE DINUVA U-32
    BAYAMON, PR 00956                                                                                       BAYAMÓN, PR 00956

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
261 CARRASQUILLO                 05/23/18   Commonwealth of Puerto         19168              Undetermined* CARRASQUILLO          05/23/18   Commonwealth of Puerto    19289        Undetermined*
    AGOSTO, LISSETTE                        Rico                                                            AGOSTO, LISSETTE                 Rico
    PO BOX 1931                             17 BK 03283-LTS                                                 BOX 1931                         17 BK 03283-LTS
    JUNCOS, PR 00777                                                                                        JUNCOS, PR 00777

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
262 CARRASQUILLO                 05/23/18   Commonwealth of Puerto         19251              Undetermined* CARRASQUILLO          05/23/18   Commonwealth of Puerto    19289        Undetermined*
    AGOSTO, LISSETTE                        Rico                                                            AGOSTO, LISSETTE                 Rico
    PO BOX 1931                             17 BK 03283-LTS                                                 BOX 1931                         17 BK 03283-LTS
    JUNCOS, PR 00777                                                                                        JUNCOS, PR 00777

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
263 CARRASQUILLO                 05/23/18   Commonwealth of Puerto         19255              Undetermined* CARRASQUILLO          05/23/18   Commonwealth of Puerto    19289        Undetermined*
    AGOSTO, LISSETTE                        Rico                                                            AGOSTO, LISSETTE                 Rico
    URB. VILLA GRACIELA                     17 BK 03283-LTS                                                 BOX 1931                         17 BK 03283-LTS
    A-4                                                                                                     JUNCOS, PR 00777
    CALLE CEFERINO
    FERNÁNDEZ
    JUNCOS, PR 00777

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
264 CARRASQUILLO                 05/21/18   Commonwealth of Puerto         34499              Undetermined* CARRASQUILLO          05/21/18   Commonwealth of Puerto    36043        Undetermined*
    BETANCOURT, MARY D.                     Rico                                                            BETANCOURT, MARY D.              Rico
    CALLE FLOR DE DIEGO                     17 BK 03283-LTS                                                 CALLE FLOR DE DIEGO              17 BK 03283-LTS
    186 URB. RIVER                                                                                          186
    GARDEN 186 FLOR DE                                                                                      URB. RIVER GARDENS
    DIEGO                                                                                                   CANOVANAS, PR 00729
    CANOVANAS, PR 00729

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                      Page 50 of 95
                                      Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                           Desc:
                                                  Exhibit Exhibit A (Schedule of Claim-English) Page 52 of 96

                                                                            Twenty-Third Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                     DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT              NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
265 CARRASQUILLO                 06/28/18   Commonwealth of Puerto         58102              Undetermined* CARRASQUILLO          06/29/18   Commonwealth of Puerto    144803       Undetermined*
    HERNANDEZ, NANCY                        Rico                                                            HERNANDEZ, NANCY                 Rico
    PO BOX 578                              17 BK 03283-LTS                                                 PO BOX 578                       17 BK 03283-LTS
    GURABO, PR 00778                                                                                        GURABO, PR 00778

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
266 CARRASQUILLO                 06/28/18   Commonwealth of Puerto         59860              Undetermined* CARRASQUILLO          06/29/18   Commonwealth of Puerto    110430       Undetermined*
    HERNANDEZ, NANCY                        Rico                                                            HERNANDEZ, NANCY                 Rico
    PO BOX 578                              17 BK 03283-LTS                                                 PO BOX 578                       17 BK 03283-LTS
    GURABO, PR 00778                                                                                        GURABO, PR 00778

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
267 CARRASQUILLO                 06/28/18   Commonwealth of Puerto         64517              Undetermined* CARRASQUILLO          06/29/18   Commonwealth of Puerto    128449       Undetermined*
    HERNANDEZ, NANCY                        Rico                                                            HERNANDEZ, NANCY                 Rico
    P O BOX 578                             17 BK 03283-LTS                                                 PO BOX 578                       17 BK 03283-LTS
    GURABO, PR 00778                                                                                        GURABO, PR 00778

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
268 CARRASQUILLO                 06/28/18   Commonwealth of Puerto         64090              Undetermined* CARRASQUILLO          06/29/18   Commonwealth of Puerto    142726       Undetermined*
    HERNANDEZ, WANDA I                      Rico                                                            HERNANDEZ, WANDA I               Rico
    PO BOX 578                              17 BK 03283-LTS                                                 PO BOX 578                       17 BK 03283-LTS
    GURABO, PR 00778                                                                                        GURABO, PR 00778

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
269 CARRASQUILLO                 06/27/18   Commonwealth of Puerto         55564              Undetermined* CARRASQUILLO          06/29/18   Commonwealth of Puerto    149780       Undetermined*
    HERNANDEZ, WANDA I.                     Rico                                                            HERNANDEZ, WANDA I.              Rico
    P.O. BOX 578                            17 BK 03283-LTS                                                 PO BOX 578                       17 BK 03283-LTS
    GURABO, PR 00778                                                                                        GURABO, PR 00778

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
270 CARRASQUILLO                 06/06/18   Commonwealth of Puerto         60866              Undetermined* CARRASQUILLO          06/06/18   Commonwealth of Puerto    162755       Undetermined*
    LABOY, MARIA I.                         Rico                                                            LABOY, MARIA I.                  Rico
    URB. VILLA LISCO                        17 BK 03283-LTS                                                 URB. VILLA HUMACAO               17 BK 03283-LTS
    CALLE 5H - 13                                                                                           CALLE 5 H-13
    HUMACAO, PR 00791                                                                                       HUMACAO, PR 00791

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                      Page 51 of 95
                                       Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                             Desc:
                                                   Exhibit Exhibit A (Schedule of Claim-English) Page 53 of 96

                                                                             Twenty-Third Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
271 CARRASQUILLO                  05/24/18   Commonwealth of Puerto         34504              Undetermined* CARRASQUILLO            05/24/18   Commonwealth of Puerto    35173        Undetermined*
    PACHECO, WILGBERTO                       Rico                                                            PACHECO, WILGBERTO                 Rico
    P O BOX 857                              17 BK 03283-LTS                                                 P O BOX 857                        17 BK 03283-LTS
    ADJUNTAS, PR 00601                                                                                       ADJUNTAS, PR 00601

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
272 CARRASQUILLO,                 06/28/18   Commonwealth of Puerto         62424              Undetermined* CARRASQUILLO,           06/28/18   Commonwealth of Puerto    62434        Undetermined*
    EMILIO                                   Rico                                                            EMILIO                             Rico
    1550 GAY RD. APT. 432                    17 BK 03283-LTS                                                 1550 GAY RD APT 432                17 BK 03283-LTS
    WINTER PARK, FL 32789                                                                                    WINTER PARK, FL 32789

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
273 CARRERO RIVERA,               06/06/18   Commonwealth of Puerto         61114              Undetermined* CARRERO RIVERA,         06/06/18   Commonwealth of Puerto    81334        Undetermined*
    ESTHER M                                 Rico                                                            ESTHER M                           Rico
    PO BOX 683                               17 BK 03283-LTS                                                 PO BOX 683                         17 BK 03283-LTS
    RINCON, PR 00677-0683                                                                                    RINCON, PR 00677-0683

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
274 CARRERO RIVERA,               06/06/18   Commonwealth of Puerto         81326              Undetermined* CARRERO RIVERA,         06/06/18   Commonwealth of Puerto    81334        Undetermined*
    ESTHER M                                 Rico                                                            ESTHER M                           Rico
    PO BOX 683                               17 BK 03283-LTS                                                 PO BOX 683                         17 BK 03283-LTS
    RINCON, PR 00677-0683                                                                                    RINCON, PR 00677-0683

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
275 CARTAGENA LEON,               05/30/18   Commonwealth of Puerto         27878                 $ 10,000.00 CARTAGENA LEON,        06/12/18   Commonwealth of Puerto    80673           $ 10,000.00
    BRENDA                                   Rico                                                             BRENDA                            Rico
    APT 2618                                 17 BK 03283-LTS                                                  APT 2618                          17 BK 03283-LTS
    COAMO, PR 00765                                                                                           COAMO, PR 00765

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
276 CASASUS RIOS, SYLVIA          05/28/18   Commonwealth of Puerto         26007              Undetermined* CASASUS RIOS, SYLVIA    06/07/18   Commonwealth of Puerto    83098        Undetermined*
    R                                        Rico                                                            R                                  Rico
    URB MONTE RIO                            17 BK 03283-LTS                                                 URB MONTE RIO                      17 BK 03283-LTS
    14 CALLE CARITE                                                                                          14 CALLE CARITE
    CABO ROJO, PR 00623                                                                                      CABO ROJO, PR 00623

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 52 of 95
                                       Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                            Desc:
                                                   Exhibit Exhibit A (Schedule of Claim-English) Page 54 of 96

                                                                             Twenty-Third Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                  NAME          FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
277 CASIANO BERRIOS,              05/22/18   Commonwealth of Puerto         28215                 $ 9,000.00* CASIANO BERRIOS,      05/22/18   Commonwealth of Puerto    31184           $ 9,000.00*
    JOSE A                                   Rico                                                             JOSE A                           Rico
    PO BOX 765                               17 BK 03283-LTS                                                  PO BOX 65                        17 BK 03283-LTS
    VILLALBA, PR 00766                                                                                        VILLALBA, PR 00766

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
278 CASIANO BERRIOS,              05/22/18   Commonwealth of Puerto         30983                   $ 9,000.00 CASIANO BERRIOS,     05/22/18   Commonwealth of Puerto    31184           $ 9,000.00*
    JOSE A                                   Rico                                                              JOSE A                          Rico
    PO BOX 765                               17 BK 03283-LTS                                                   PO BOX 65                       17 BK 03283-LTS
    VILLALBA, PR 00766                                                                                         VILLALBA, PR 00766

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
279 CASIANO IRIZARRY,             06/28/18   Commonwealth of Puerto         64316              Undetermined* CASIANO IRIZARRY,      07/03/18   Commonwealth of Puerto    108556       Undetermined*
    ANGEL J.                                 Rico                                                            ANGEL J.                          Rico
    PO BOX 959                               17 BK 03283-LTS                                                 P.O. BOX 959                      17 BK 03283-LTS
    LAJAS, PR 00667                                                                                          LAJAS, PR 00667

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
280 CASIANO PEREZ,                06/26/18   Commonwealth of Puerto         96217              Undetermined* CASIANO PEREZ,         06/26/18   Commonwealth of Puerto    98332        Undetermined*
    BLANCA I                                 Rico                                                            BLANCA I                          Rico
    PO BOX 1751                              17 BK 03283-LTS                                                 PO BOX 1751                       17 BK 03283-LTS
    YAUCO, PR 00698                                                                                          YAUCO, PR 00698

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
281 CASILLAS BARRETO,             05/29/18   Commonwealth of Puerto         32162              Undetermined* CASILLAS BARRETO,      05/29/18   Commonwealth of Puerto    41978        Undetermined*
    KATHLEEN                                 Rico                                                            KATHLEEN                          Rico
    URB LAS VEGAS                            17 BK 03283-LTS                                                 POR DERECHO PROPIO                17 BK 03283-LTS
    AA16 CALLE 8                                                                                             CALLE 8 AA 16
    CATANO, PR 00963                                                                                         URB. LAS VEGAS
                                                                                                             CATANO, PR 00963

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
282 CASTILLO CASILLAS,            06/05/18   Commonwealth of Puerto         19494              Undetermined* CASTILLO CASILLAS,     06/05/18   Commonwealth of Puerto    19504        Undetermined*
    CYNTHIA                                  Rico                                                            CYNTHIA                           Rico
    HC 01 BOX 5920                           17 BK 03283-LTS                                                 HC 01 BOX 5920                    17 BK 03283-LTS
    JUNCOS, PR 00777                                                                                         JUNCOS, PR 00777

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 53 of 95
                                       Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                           Desc:
                                                   Exhibit Exhibit A (Schedule of Claim-English) Page 55 of 96

                                                                             Twenty-Third Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                     DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME           FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
283 CASTILLO IBANEZ,              03/19/18   Commonwealth of Puerto          3385              Undetermined* CASTILLO IBANEZ,      03/20/18   Commonwealth of Puerto    3814         Undetermined*
    PEDRO                                    Rico                                                            PEDRO                            Rico
    URB JARDINES DE TOA                      17 BK 03283-LTS                                                 URB JARDINES DE TOA              17 BK 03283-LTS
    ALTA                                                                                                     ALTA
    165 CALLE 1                                                                                              165 CALLE 1
    TOA ALTA, PR 00953                                                                                       TOA ALTA, PR 00953

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
284 CASTILLO SANTIAGO,            05/25/18   Commonwealth of Puerto         33473              Undetermined* CASTILLO SANTIAGO,    05/25/18   Commonwealth of Puerto    41429        Undetermined*
    MARIA                                    Rico                                                            MARIA                            Rico
    HC 01 BOX 7655                           17 BK 03283-LTS                                                 HC 1 BOX 7655                    17 BK 03283-LTS
    CABO ROJO, PR 00623                                                                                      CABO ROJO, PR 00623

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
285 CASTILLO SANTONI,             05/02/18   Commonwealth of Puerto          9189              Undetermined* CASTILLO SANTONI,     05/02/18   Commonwealth of Puerto    10063        Undetermined*
    ALEXANDRA                                Rico                                                            ALEXANDRA                        Rico
    P O BOX 1174                             17 BK 03283-LTS                                                 URB BUENA VENTURA                17 BK 03283-LTS
    MAYAGUEZ, PR 00681-                                                                                      3016 CALLE LIRIO
    1174                                                                                                     MAYAGUEZ, PR 00680

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
286 CASTRO GONZALEZ,              05/21/18   Commonwealth of Puerto         18081              Undetermined* CASTRO GONZALEZ,      05/29/18   Commonwealth of Puerto    30087        Undetermined*
    EVELYN                                   Rico                                                            EVELYN                           Rico
    BO CAIMITAL                              17 BK 03283-LTS                                                 HC 04 BOX 46507                  17 BK 03283-LTS
    HC 04 BOX 46507                                                                                          AGUADILLA, PR 00603
    AGUADILLA, PR 00603

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
287 CASTRO TIRADO, ELBA           06/28/18   Commonwealth of Puerto         61251              Undetermined* CASTRO TIRADO, ELBA   06/28/18   Commonwealth of Puerto    70949        Undetermined*
    N.                                       Rico                                                            N.                               Rico
    HC-4 BOX 8493                            17 BK 03283-LTS                                                 HC-4 BOX 8493                    17 BK 03283-LTS
    CANÓVANAS, PR 00729                                                                                      CANÓVANAS, PR 00729

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                      Page 54 of 95
                                       Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                             Desc:
                                                   Exhibit Exhibit A (Schedule of Claim-English) Page 56 of 96

                                                                             Twenty-Third Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
288 CASUL RIVERA, CESAR           05/24/18   Commonwealth of Puerto         21999              Undetermined* CASUL RIVERA, CESAR     05/24/18   Commonwealth of Puerto    39251        Undetermined*
    SAN LORENZO VALLEY                       Rico                                                            URB. SAN LORENZO                   Rico
    104 CALLE ROBLE                          17 BK 03283-LTS                                                 VALLE                              17 BK 03283-LTS
    SAN LORENZO, PR 00754                                                                                    104 ROBLE ST.
                                                                                                             SAN LORENZO, PR 00754

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
289 CASUL RIVERA, CESAR           05/24/18   Commonwealth of Puerto         22001              Undetermined* CASUL RIVERA, CESAR     05/24/18   Commonwealth of Puerto    39251        Undetermined*
    URB. SAN LORENZO                         Rico                                                            URB. SAN LORENZO                   Rico
    VALLEY                                   17 BK 03283-LTS                                                 VALLE                              17 BK 03283-LTS
    104 ROBLE ST.                                                                                            104 ROBLE ST.
    SAN LORENZO, PR 00754                                                                                    SAN LORENZO, PR 00754

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
290 CEDENO MALDONADO,             06/28/18   Commonwealth of Puerto         146054             Undetermined* CEDENO MALDONADO,       06/28/18   Commonwealth of Puerto    150642       Undetermined*
    JOSE                                     Rico                                                            JOSE                               Rico
    PO BOX 298                               17 BK 03283-LTS                                                 PO BOX 298                         17 BK 03283-LTS
    PENUELAS, PR 00624-                                                                                      PENUELAS, PR 00624-
    0298                                                                                                     0298

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
291 CENTENO, ISMAEL               06/28/18   Commonwealth of Puerto         58447                $ 150,000.00 CENTENO, ISMAEL        06/28/18   Commonwealth of Puerto    60420           $ 150,000.00
    HC-02 BOX 26420                          Rico                                                             HC-02 BOX 26420                   Rico
    CABO ROJO, PR 00623                      17 BK 03283-LTS                                                  CABO ROJO, PR 00623               17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
292 CENTRO DE SERVICIOS           05/26/18   Commonwealth of Puerto         34303              $ 20,199,760.36 CENTRO DE SERVICIOS   05/27/18   Commonwealth of Puerto    26207       $ 20,199,760.36*
    PRIMARIOS DE SALUD                       Rico                                                              PRIMARIOS DE SALUD               Rico
    DE PATILLAS, INC.                        17 BK 03283-LTS                                                   DE PATILLAS, INC.                17 BK 03283-LTS
    MILDRED MOREL                                                                                              ATTN: MILDRED MOREL
    99 RIEFKHOL STREET                                                                                         99 RIEFKHAL STREET
    PATILLAS, PR 00723                                                                                         PATILLAS, PR 00723

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 55 of 95
                                       Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                            Desc:
                                                   Exhibit Exhibit A (Schedule of Claim-English) Page 57 of 96

                                                                             Twenty-Third Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT               NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
293 CEPEDA WANAGET,               06/26/18   Commonwealth of Puerto         94370                $ 10,000.00* CEPEDA WANAGET,       06/26/18   Commonwealth of Puerto    106964         $ 10,000.00*
    CARABALLO                                Rico                                                             CARABALLO                        Rico
    DIEGO LEDEE BAZAAN                       17 BK 03283-LTS                                                  DIEGO LEDEE BAZAAN               17 BK 03283-LTS
    PO BOX 891                                                                                                PO BOX 891
    GUAYAMA, PR 00785                                                                                         GUAYAMA, PR 00785

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
294 CHAPARRO GALLOZA,             06/27/18   Commonwealth of Puerto         57336                 $ 2,000.00* CHAPARRO GALLOZA,     06/27/18   Commonwealth of Puerto    107286          $ 2,000.00*
    MARIA INES                               Rico                                                             MARIA INES                       Rico
    10 CALLE ESPERANZA                       17 BK 03283-LTS                                                  10 CALLE ESPERANZA               17 BK 03283-LTS
    AGUADA, PR 00602                                                                                          AGUADA, PR 00602

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
295 CHEVERE SANTOS, JOEL          05/25/18   Commonwealth of Puerto         30922              Undetermined* CHEVERE SANTOS, JOEL   05/25/18   Commonwealth of Puerto    38695        Undetermined*
    515 CALLE ORQUIDEA                       Rico                                                            515 CALLE ORQUIDEA                Rico
    MOCA, PR 00676                           17 BK 03283-LTS                                                 MOCA, PR 00676                    17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
296 CHEVERE SANTOS, JOEL          05/25/18   Commonwealth of Puerto         31611              Undetermined* CHEVERE SANTOS, JOEL   05/25/18   Commonwealth of Puerto    38695        Undetermined*
    URB MOCA GARDENS                         Rico                                                            515 CALLE ORQUIDEA                Rico
    515 CALLE ORQUIDEA                       17 BK 03283-LTS                                                 MOCA, PR 00676                    17 BK 03283-LTS
    MOCA, PR 00676

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
297 CHEVRES DIAZ,                 05/21/18   Commonwealth of Puerto         20030              Undetermined* CHEVRES DIAZ,          05/21/18   Commonwealth of Puerto    20320        Undetermined*
    LARIMAR                                  Rico                                                            LARIMAR                           Rico
    PO BOX 164                               17 BK 03283-LTS                                                 URB. HACIENDA EL                  17 BK 03283-LTS
    NARANJITO, PR 00719                                                                                      PILAR
                                                                                                             CALLE REINA MORA #
                                                                                                             1002
                                                                                                             TOA ALTA, PR 00953

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 56 of 95
                                       Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                              Desc:
                                                   Exhibit Exhibit A (Schedule of Claim-English) Page 58 of 96

                                                                             Twenty-Third Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME              FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
298 CHINEA PINEDA, MARIA          06/26/18   Commonwealth of Puerto         37113              Undetermined* CHINEA PINEDA, MARIA     06/29/18   Commonwealth of Puerto    137587       Undetermined*
    M                                        Rico                                                            M                                   Rico
    URB. DOS PINOS TOWN                      17 BK 03283-LTS                                                 URB. DOS PINOS TOWN                 17 BK 03283-LTS
    HOUSES CALLE 2                                                                                           HOUSE CALLE 2 C14
    C14                                                                                                      SAN JUAN, PR 00923
    SAN JUAN, PR 00923

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
299 CHINEA PINEDA, MARIA          06/27/18   Commonwealth of Puerto         43532              Undetermined* CHINEA PINEDA, MARIA     06/28/18   Commonwealth of Puerto    162950       Undetermined*
    M                                        Rico                                                            M                                   Rico
    URB DOS PINOS TOWN                       17 BK 03283-LTS                                                 URB DOS PINOS TOWN                  17 BK 03283-LTS
    HOUSES CALLE 2 C14                                                                                       HOUSES
    SAN JUAN, PR 00923                                                                                       CALLE 2 C14
                                                                                                             SAN JUAN, PR 00923

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
300 CHINEA PINEDA, MARIA          06/27/18   Commonwealth of Puerto         55260                $ 180,000.00 CHINEA PINEDA, MARIA    06/29/18   Commonwealth of Puerto    146735         $ 180,000.00
    M                                        Rico                                                             M                                  Rico
    URB DOS PINOS TOWN                       17 BK 03283-LTS                                                  URB DOS PINOS TOWN                 17 BK 03283-LTS
    HOUSES CALLE 2 C14                                                                                        HOUSES CALLE 2
    SAN JUAN, PR 00923                                                                                        C14
                                                                                                              SAN JUAN, PR 00923

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
301 CHINEA PINEDA, MARIA          06/27/18   Commonwealth of Puerto         55530                   $ 4,800.00 CHINEA PINEDA, MARIA   06/28/18   Commonwealth of Puerto    164060           $ 4,800.00
    M                                        Rico                                                              M                                 Rico
    URB. DOS PINOS TOWN                      17 BK 03283-LTS                                                   URB DOS PINOS TOWN                17 BK 03283-LTS
    HOUSES CALLE 2 C14                                                                                         HOUSES
    SAN JUAN, PR 00923                                                                                         CALLE 2 C14
                                                                                                               SAN JUAN, PR 00923

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
302 CHRISTIAN RIVERA              05/28/18   Commonwealth of Puerto         21880                $ 15,000.00* SOCIEDAD LEGAL DE       05/28/18   Commonwealth of Puerto    25703          $ 15,000.00*
    NEGRON C/O LCDO.                         Rico                                                             GANANCIALES RIVERA-                Rico
    DENNIS J. CRUZ PÉREZ                     17 BK 03283-LTS                                                  NEGRON C/O LCDO.                   17 BK 03283-LTS
    P. O. BOX 10720                                                                                           DENNIS J. CRUZ PEREZ
    PONCE, PR 00732                                                                                           PO BOX 10720
                                                                                                              PONCE, PR 00732

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 57 of 95
                                       Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                               Desc:
                                                   Exhibit Exhibit A (Schedule of Claim-English) Page 59 of 96

                                                                             Twenty-Third Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                    REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                         DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                  NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
303 CIALES PRIMARY                05/26/18   Commonwealth of Puerto         36042              $ 7,139,396.19* CIALES PRIMARY          05/28/18   Commonwealth of Puerto    27469        $ 7,139,396.19*
    HEALTH CARE                              Rico                                                              HEALTH CARE                        Rico
    SERVICES,                                17 BK 03283-LTS                                                   SERVICES,                          17 BK 03283-LTS
    INC./PRYMED,INC.                                                                                           INC./PRYMED,INC.
    GLADYS RIVERA                                                                                              GLADYS RIVERA
    PO BOX 1427                                                                                                PO BOX 1427
    CIALES, PR 00638-1427                                                                                      CIALES, PR 00638-1427

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
304 CINTRON BUI,                  06/20/18   Commonwealth of Puerto         74994                 $ 9,999.12* CINTRON BUI,             06/20/18   Commonwealth of Puerto    75747            $ 9,999.12*
    MARGARITA                                Rico                                                             MARGARITA                           Rico
    URB CANA                                 17 BK 03283-LTS                                                  URB CANA                            17 BK 03283-LTS
    QQ12 CALLE 6                                                                                              QQ12 CALLE 6
    BAYAMON, PR 00957                                                                                         BAYAMON, PR 00957

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
305 CINTRON GONZALEZ,             05/22/18   Commonwealth of Puerto         41343              Undetermined* CINTRON GONZALEZ,         05/22/18   Commonwealth of Puerto    58081        Undetermined*
    WANDA                                    Rico                                                            WANDA                                Rico
    HC 2 BOX 8524                            17 BK 03283-LTS                                                 HC-02 BOX 8524                       17 BK 03283-LTS
    JUANA DIAZ, PR 00795-                                                                                    JUANA DIAZ, PR 00795
    9642

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
306 CINTRON MARTINEZ,             06/29/18   Commonwealth of Puerto         136753             Undetermined* CINTRON MARTINEZ,         06/29/18   Commonwealth of Puerto    141556       Undetermined*
    CYNTHIA                                  Rico                                                            CYNTHIA                              Rico
    EXT SANTA ELENA                          17 BK 03283-LTS                                                 T-15 CALLE JAGUEY                    17 BK 03283-LTS
    T15 CALLE JAGUEY                                                                                         URB. SANTA ELENA
    GUAYANILLA, PR 00656                                                                                     GUAYANILLA, PR 00656

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
307 CINTRON MARTINEZ,             06/29/18   Commonwealth of Puerto         136953             Undetermined* CINTRON MARTINEZ,         06/29/18   Commonwealth of Puerto    141556       Undetermined*
    CYNTHIA                                  Rico                                                            CYNTHIA                              Rico
    EXT SANTA ELENA                          17 BK 03283-LTS                                                 T-15 CALLE JAGUEY                    17 BK 03283-LTS
    T15 CALLE JAGUEY                                                                                         URB. SANTA ELENA
    GUAYANILLA, PR 00656                                                                                     GUAYANILLA, PR 00656

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 58 of 95
                                       Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                              Desc:
                                                   Exhibit Exhibit A (Schedule of Claim-English) Page 60 of 96

                                                                             Twenty-Third Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
308 CINTRON MARTINEZ,             06/29/18   Commonwealth of Puerto         141187             Undetermined* CINTRON MARTINEZ,        06/29/18   Commonwealth of Puerto    141556       Undetermined*
    CYNTHIA                                  Rico                                                            CYNTHIA                             Rico
    T-15 CALLE JAGUEY                        17 BK 03283-LTS                                                 T-15 CALLE JAGUEY                   17 BK 03283-LTS
    SANTA ELENA                                                                                              URB. SANTA ELENA
    GUAYANILLA, PR 00656                                                                                     GUAYANILLA, PR 00656

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
309 CINTRON MEDINA,               05/25/18   Commonwealth of Puerto         35882                $ 14,000.00* CINTRON MEDINA,         05/25/18   Commonwealth of Puerto    38193          $ 14,000.00*
    NEIDY                                    Rico                                                             NEIDY                              Rico
    PO BOX 876                               17 BK 03283-LTS                                                  PO BOX 876                         17 BK 03283-LTS
    YABUCOA, PR 00767                                                                                         YABUCOA, PR 00767

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
310 CINTRON MONTALVO,             07/03/18   Commonwealth of Puerto         114065                $ 15,000.00 CINTRON MONTALVO,       07/03/18   Commonwealth of Puerto    144127          $ 15,000.00
    MIRIAM                                   Rico                                                             MIRIAM                             Rico
    HC-4, BOX 12921                          17 BK 03283-LTS                                                  HC-4, BOX 12921                    17 BK 03283-LTS
    SAN GERMAN, PR 00683                                                                                      SAN GERMAN, PR 00683

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
311 CINTRON MONTALVO,             07/03/18   Commonwealth of Puerto         116761                  $ 4,800.00 CINTRON MONTALVO,      07/03/18   Commonwealth of Puerto    140117           $ 4,800.00
    MIRIAM                                   Rico                                                              MIRIAM                            Rico
    HC 04 BOX 12921                          17 BK 03283-LTS                                                   HC 4 BOX 12921                    17 BK 03283-LTS
    SAN GERMAN, PR 00683                                                                                       SAN GERMAN, PR 00683

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
312 CINTRON MORALES,              05/03/18   Commonwealth of Puerto          9437                 $ 23,043.50 CINTRON MORALES,        05/03/18   Commonwealth of Puerto    10011           $ 23,043.50
    JOSE                                     Rico                                                             JOSE                               Rico
    MILAGROS ACEVEDO                         17 BK 03283-LTS                                                  MILAGROS ACEVEDO                   17 BK 03283-LTS
    COLON                                                                                                     COLON
    COND COLINA REAL                                                                                          COND COLINA REAL
    2000 AVE F RINCON BOX                                                                                     2000 AVE F RINCON BOX
    1405                                                                                                      1405
    SAN JUAN, PR 00926                                                                                        SAN JUAN, PR 00926

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 59 of 95
                                       Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                             Desc:
                                                   Exhibit Exhibit A (Schedule of Claim-English) Page 61 of 96

                                                                             Twenty-Third Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
313 CINTRÓN TORRES,               06/28/18   Commonwealth of Puerto         61226              Undetermined* CINTRÓN TORRES,         06/28/18   Commonwealth of Puerto    63635        Undetermined*
    TERESITA                                 Rico                                                            TERESITA                           Rico
    URBANIZACIÓN VILLA                       17 BK 03283-LTS                                                 URBANIZACION VILLA                 17 BK 03283-LTS
    DEL SOL                                                                                                  DEL SOL
    CALLE BARTOLOME C                                                                                        CALLE DR. BARTOLOME
    14                                                                                                       C-13
    JUANA DIAZ, PR 00795                                                                                     JUANA DIAZ, PR 00795

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
314 CLARKE VIVES, EGBERT          05/17/18   Commonwealth of Puerto         11623              Undetermined* CLARKE VIVES, EGBERT    05/17/18   Commonwealth of Puerto    13378        Undetermined*
    CALLE ESPERANZA                          Rico                                                            2136 CALLE ESPERANZA               Rico
    #2136                                    17 BK 03283-LTS                                                 PONCE, PR 00717                    17 BK 03283-LTS
    PONCE, PR 00717

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
315 CLAUDIO MARTINEZ,             06/29/18   Commonwealth of Puerto         78061              Undetermined* CLAUDIO MARTINEZ,       06/29/18   Commonwealth of Puerto    78795        Undetermined*
    MINERVA                                  Rico                                                            MINERVA                            Rico
    HC-3 BOX 40582                           17 BK 03283-LTS                                                 HC-3 BOX 40582                     17 BK 03283-LTS
    CAGUAS, PR 00725 9736                                                                                    CAGUAS, PR 00725-9736

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
316 CLEMENTE ANDINO,              07/06/18   Commonwealth of Puerto         142834             Undetermined* CLEMENTE ANDINO,        07/06/18   Commonwealth of Puerto    158690       Undetermined*
    CLARA I                                  Rico                                                            CLARA I                            Rico
    PARQUE ECUESTRE                          17 BK 03283-LTS                                                 C CANARIO # D18                    17 BK 03283-LTS
    D18 CALLE CANARIO                                                                                        ALTOS
    CAROLINA, PR 00987                                                                                       PARQUE ECUESTRE
                                                                                                             CAROLINA, PR 00987

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
317 CLEMENTE DELGADO,             05/29/18   Commonwealth of Puerto         33861              Undetermined* CLEMENTE DELGADO,       05/29/18   Commonwealth of Puerto    39559        Undetermined*
    IVAN                                     Rico                                                            IVAN                               Rico
    90 URB PEDREGALES                        17 BK 03283-LTS                                                 URB PEDREGALES                     17 BK 03283-LTS
    CALLE ONIX                                                                                               90 CALLE ONIX
    RIO GRANDE, PR 00745                                                                                     RIO GRANDE, PR 00745

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 60 of 95
                                       Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                            Desc:
                                                   Exhibit Exhibit A (Schedule of Claim-English) Page 62 of 96

                                                                             Twenty-Third Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT               NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
318 COLBERG FLORES,               06/25/18   Commonwealth of Puerto         88943              Undetermined* COLBERG FLORES,        06/25/18   Commonwealth of Puerto    89889        Undetermined*
    SANTA M.                                 Rico                                                            SANTA M.                          Rico
    165 CALLE MANANTIAL                      17 BK 03283-LTS                                                 165 CALLE MANANTIAL               17 BK 03283-LTS
    CABO ROJO, PR 00623-                                                                                     CABO ROJO, PR 00623-
    3718                                                                                                     3718

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
319 COLLAZO DUPREY,               06/29/18   Commonwealth of Puerto         108043             Undetermined* COLLAZO DUPREY,        06/29/18   Commonwealth of Puerto    141210       Undetermined*
    LEOCADIA                                 Rico                                                            LEOCADIA                          Rico
    BOX 73                                   17 BK 03283-LTS                                                 BOX 73                            17 BK 03283-LTS
    RINCON, PR 00677                                                                                         RINCON, PR 00677

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
320 COLLAZO OCASIO,               06/27/18   Commonwealth of Puerto         51494              Undetermined* COLLAZO OCASIO,        06/29/18   Commonwealth of Puerto    146228       Undetermined*
    ERANIO DE J.                             Rico                                                            ERANIO DE J.                      Rico
    P.O. BOX 1370                            17 BK 03283-LTS                                                 P.O. BOX 1370                     17 BK 03283-LTS
    CIALES, PR 00638                                                                                         CIALES, PR 00638

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
321 COLLAZO OCASIO,               06/27/18   Commonwealth of Puerto         56946              Undetermined* COLLAZO OCASIO,        06/29/18   Commonwealth of Puerto    142588       Undetermined*
    ERANIO DE J.                             Rico                                                            ERANIO DE J.                      Rico
    P O BOX 1370                             17 BK 03283-LTS                                                 P.O. BOX 1370                     17 BK 03283-LTS
    BO FRONTON                                                                                               CIALES, PR 00638
    CIALES, PR 00638

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
322 COLLAZO PEDRAZA,              05/28/18   Commonwealth of Puerto         25362              Undetermined* COLLAZO PEDRAZA,       05/29/18   Commonwealth of Puerto    19101         $ 150,000.00*
    MYRNA IRIS                               Rico                                                            MYRNA IRIS                        Rico
    923 W OAK RIDGE RD                       17 BK 03283-LTS                                                 923 W OAK RIDGE RD                17 BK 03283-LTS
    APTO B                                                                                                   APTO B
    ORLANDO, FL 32809                                                                                        ORLANDO, FL 32809

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 61 of 95
                                       Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                              Desc:
                                                   Exhibit Exhibit A (Schedule of Claim-English) Page 63 of 96

                                                                             Twenty-Third Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
323 COLLAZO QUINONES,             05/18/18   Commonwealth of Puerto         35065               $ 2,200,000.00 COLLAZO QUINONES,      05/18/18   Commonwealth of Puerto    167679       $ 2,200,000.00
    JORGE RAFAEL                             Rico                                                              JORGE RAFAEL                      Rico
    EDUARDO                                  17 BK 03283-LTS                                                   EDUARDO                           17 BK 03283-LTS
    LCDO. SALVADOR                                                                                             SALVADOR MARQUEZ
    MARQUEZ COLON                                                                                              COLON
    485 TITO CASTRO AVE.                                                                                       485 TITO CASTRO AVE.
    SUITE 102                                                                                                  SUITE 102
    PONCE, PR 00716                                                                                            PONCE, PR 00716-0209

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
324 COLLAZO SANTIAGO,             06/25/18   Commonwealth of Puerto         90396              Undetermined* COLLAZO SANTIAGO,        06/28/18   Commonwealth of Puerto    166938       Undetermined*
    ZULMA                                    Rico                                                            ZULMA                               Rico
    HC-02 BOX 7939                           17 BK 03283-LTS                                                 HC-02 BOX BO.                       17 BK 03283-LTS
    JAYUYA, PR 00664                                                                                         COLLORES
                                                                                                             JAYUYA, PR 00664

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
325 COLLAZO TORRES,               06/27/18   Commonwealth of Puerto         106408             Undetermined* COLLAZO TORRES,          06/27/18   Commonwealth of Puerto    129023       Undetermined*
    WANDA L.                                 Rico                                                            WANDA L.                            Rico
    VALLE DE ANDALUCIA                       17 BK 03283-LTS                                                 VALLE DE ANDALUCIA                  17 BK 03283-LTS
    CALLE HUELVA 3008                                                                                        CALLE HUELVA 3008
    PONCE, PR 00728                                                                                          PONCE, PR 00728

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
326 COLON ALVARADO,               06/25/18   Commonwealth of Puerto         81702              Undetermined* COLON ALVARADO,          06/25/18   Commonwealth of Puerto    85802        Undetermined*
    CARMEN I                                 Rico                                                            CARMEN I                            Rico
    HC-02 BOX 4741                           17 BK 03283-LTS                                                 HAYALES                             17 BK 03283-LTS
    COAMO, PR 00769-9610                                                                                     HC02BOX4741
                                                                                                             COAMO, PR 00769-9610

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
327 COLON ALVARADO,               06/29/18   Commonwealth of Puerto         145171             Undetermined* COLON ALVARADO,          06/29/18   Commonwealth of Puerto    151893       Undetermined*
    CARMEN I.                                Rico                                                            CARMEN I.                           Rico
    HC-02 BOX 4741                           17 BK 03283-LTS                                                 HC-02 BOX 4741                      17 BK 03283-LTS
    COAMO, PR 00769-9610                                                                                     COAMO, PR 00769-9610

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 62 of 95
                                       Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                                 Desc:
                                                   Exhibit Exhibit A (Schedule of Claim-English) Page 64 of 96

                                                                             Twenty-Third Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                      REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                           DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                  NAME               FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
328 COLON ALVARADO,               06/29/18   Commonwealth of Puerto         92170              Undetermined* COLON ALVARADO,             06/29/18   Commonwealth of Puerto    163268       Undetermined*
    FERNANDO L.                              Rico                                                            FERNANDO L.                            Rico
    SEGUNDO BERNIER                          17 BK 03283-LTS                                                 SEGUNDO BERNIER                        17 BK 03283-LTS
    NUM. 9                                                                                                   NUM. 9
    COAMO, PR 00769                                                                                          COAMO, PR 00769

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
329 COLON ALVAREZ,                06/27/18   Commonwealth of Puerto         37311                   $ 1,969.57 COLON ALVAREZ,            06/29/18   Commonwealth of Puerto    82317           $ 1,969.57*
    JESSICA                                  Rico                                                              JESSICA                              Rico
    LCDO JOSE L RAMIREZ                      17 BK 03283-LTS                                                   PO BOX 190251                        17 BK 03283-LTS
    DE LEON                                                                                                    SAN JUAN, PR 00919-0251
    PO BOX 190251
    SAN JUAN, PR 00919-0251

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
330 COLON ANDUJAR,                05/17/18   Commonwealth of Puerto         19308              Undetermined* COLON ANDUJAR,              05/17/18   Commonwealth of Puerto    20851        Undetermined*
    ISMAEL                                   Rico                                                            ISMAEL                                 Rico
    HC-03 BOX 12706                          17 BK 03283-LTS                                                 HC 03 BOX 12706                        17 BK 03283-LTS
    JUANA DIAZ, PR 00795-                                                                                    JUANA DIAZ, PR 00795-
    9509                                                                                                     9509

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
331 COLON APONTE,                 06/28/18   Commonwealth of Puerto         60746                 $ 42,901.35 COLON APONTE,              06/28/18   Commonwealth of Puerto    60924           $ 42,901.35
    JOSELYN                                  Rico                                                             JOSELYN                               Rico
    HC 03 BOX 11701                          17 BK 03283-LTS                                                  HC 03 BOX 11701                       17 BK 03283-LTS
    JUANA DIAZ, PR 00795                                                                                      JUANA DIAZ, PR 00795

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
332 COLON APONTE, MARIA           06/28/18   Commonwealth of Puerto         71879              Undetermined* COLON APONTE, MARIA         06/28/18   Commonwealth of Puerto    72769        Undetermined*
    M                                        Rico                                                            M                                      Rico
    BO PALO MILAGROS                         17 BK 03283-LTS                                                 HC 3 BOX 7581                          17 BK 03283-LTS
    HC 3 BOX 7581                                                                                            BARRANQUITAS, PR
    BARRANQUITAS, PR                                                                                         00794
    00794

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                            Page 63 of 95
                                       Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                              Desc:
                                                   Exhibit Exhibit A (Schedule of Claim-English) Page 65 of 96

                                                                             Twenty-Third Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                  NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
333 COLON AVELLANET,              05/08/18   Commonwealth of Puerto         13090              Undetermined* COLON AVELLANET,         05/08/18   Commonwealth of Puerto    39571        Undetermined*
    KAREN                                    Rico                                                            KAREN                               Rico
    URB ALTURAS                              17 BK 03283-LTS                                                 URB ALTURAS                         17 BK 03283-LTS
    SABANERAS B43                                                                                            SABANERAS B43
    SABANA GRANDE, PR                                                                                        SABANA GRANDE, PR
    00637                                                                                                    00637

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
334 COLON COLON,                  05/29/18   Commonwealth of Puerto         27900                       $ 0.00 COLON COLON,           05/29/18   Commonwealth of Puerto    163836       Undetermined*
    BETZAIDA J.                              Rico                                                              BETZAIDA                          Rico
    9249 COM SERRANO                         17 BK 03283-LTS                                                   9249 COMUNIDAD                    17 BK 03283-LTS
    JUANA DIAZ, PR 00795                                                                                       SERRANO
                                                                                                               JUANA DIAZ, PR 00795

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
335 COLON COLON, IRIS N           06/27/18   Commonwealth of Puerto         54635                 $ 75,000.00 COLON COLON, IRIS N     06/27/18   Commonwealth of Puerto    55591           $ 75,000.00
    CALLE 2 K-9                              Rico                                                             CALLE 2 K-9                        Rico
    URBANIZACIÓN                             17 BK 03283-LTS                                                  URBANIZACIÓN                       17 BK 03283-LTS
    MONTERREY                                                                                                 MONTERREY
    COROZAL, PR 00783                                                                                         COROZAL, PR 00783

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
336 COLON COLON, VICTOR           06/28/18   Commonwealth of Puerto         165703             Undetermined* COLON COLON, VICTOR      06/28/18   Commonwealth of Puerto    165711       Undetermined*
    L                                        Rico                                                            L                                   Rico
    A-21 URB.JARDINES DE                     17 BK 03283-LTS                                                 A-21 URB. JARDINES DE               17 BK 03283-LTS
    SAN BLAS                                                                                                 SAN BLAS
    COAMO, PR 00769                                                                                          COAMO, PR 00769

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
337 COLON CORTIJO, MARIA          04/19/18   Commonwealth of Puerto          5898              Undetermined* COLON CORTIJO, MARIA     04/24/18   Commonwealth of Puerto    8046         Undetermined*
    105 C/A HICACO                           Rico                                                            105 C/A HICACO                      Rico
    GUAYAMA, PR 00784                        17 BK 03283-LTS                                                 GUAYAMA, PR 00784                   17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 64 of 95
                                       Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                          Desc:
                                                   Exhibit Exhibit A (Schedule of Claim-English) Page 66 of 96

                                                                             Twenty-Third Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                               REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                    DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT               NAME           FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
338 COLON DIAZ, CARMEN            06/06/18   Commonwealth of Puerto         49166              Undetermined* COLON DIAZ, CARMEN   06/06/18   Commonwealth of Puerto    49295        Undetermined*
    Y.                                       Rico                                                            Y.                              Rico
    URB. VALLES DE                           17 BK 03283-LTS                                                 URB VALLE DE                    17 BK 03283-LTS
    YABUCO                                                                                                   YABUCOA
    705 CALLE JAZMIN                                                                                         705 C/ JAZMIN
    YABUCOA, PR 00767                                                                                        YABUCOA, PR 00767

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
339 COLON DIAZ, ELAINE            05/22/18   Commonwealth of Puerto         28127              Undetermined* COLON DIAZ, ELAINE   05/22/18   Commonwealth of Puerto    38752        Undetermined*
    URB JARDIN DEL                           Rico                                                            HC 08 BOX 39                    Rico
    CARIBE                                   17 BK 03283-LTS                                                 PONCE, PR 00728                 17 BK 03283-LTS
    C/37 KK 3
    PONCE, PR 00728

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
340 COLON DIAZ, ELAINE J          05/22/18   Commonwealth of Puerto         21995              Undetermined* COLON DIAZ, ELAINE   05/22/18   Commonwealth of Puerto    38752        Undetermined*
    URB JARD DEL CARIBE                      Rico                                                            HC 08 BOX 39                    Rico
    KK 3 CALLE 37                            17 BK 03283-LTS                                                 PONCE, PR 00728                 17 BK 03283-LTS
    PONCE, PR 00728

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
341 COLON DIAZ, ELAINE J          05/22/18   Commonwealth of Puerto         29314              Undetermined* COLON DIAZ, ELAINE   05/22/18   Commonwealth of Puerto    38752        Undetermined*
    CALLE 37 KK3                             Rico                                                            HC 08 BOX 39                    Rico
    URB JARDINES DEL                         17 BK 03283-LTS                                                 PONCE, PR 00728                 17 BK 03283-LTS
    CARIBE
    PONCE, PR 00728

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
342 COLON DIAZ, ELAINE J          05/22/18   Commonwealth of Puerto         31161              Undetermined* COLON DIAZ, ELAINE   05/22/18   Commonwealth of Puerto    38752        Undetermined*
    URB JARD DEL CARIBE                      Rico                                                            HC 08 BOX 39                    Rico
    KK 3 CALLE 37                            17 BK 03283-LTS                                                 PONCE, PR 00728                 17 BK 03283-LTS
    PONCE, PR 00728

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                     Page 65 of 95
                                       Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                               Desc:
                                                   Exhibit Exhibit A (Schedule of Claim-English) Page 67 of 96

                                                                             Twenty-Third Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                    REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                         DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME              FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
343 COLON DIAZ, RAFAEL            04/26/18   Commonwealth of Puerto          7462                   $ 1,655.35 COLON DIAZ, RAFAEL      04/26/18   Commonwealth of Puerto    7496             $ 1,655.35
    MILAGROS ACEVEDO                         Rico                                                              MILAGROS ACEVEDO                   Rico
    COLON                                    17 BK 03283-LTS                                                   COLON                              17 BK 03283-LTS
    COND COLINA REAL                                                                                           COND COLINA REAL
    2000 AVE F RINCON BOX                                                                                      2000 AVE F RINCON BOX
    1405                                                                                                       1405
    SAN JUAN, PR 00926                                                                                         SAN JUAN, PR 00926

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
344 COLON LAUREANO,               06/29/18   Commonwealth of Puerto         134402             Undetermined* COLON LAUREANO,           06/29/18   Commonwealth of Puerto    138921       Undetermined*
    KARIANE                                  Rico                                                            KARIANE                              Rico
    JARDINES DE CAYEY 1                      17 BK 03283-LTS                                                 JARDINES DE CAYEY 1                  17 BK 03283-LTS
    CALLE 15 I-19                                                                                            CALLE 15 I-19
    CAYEY, PR 00736                                                                                          CAYEY, PR 00736

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
345 COLON MADERA,                 06/28/18   Commonwealth of Puerto         74042              Undetermined* COLON MADERA,             07/06/18   Commonwealth of Puerto    150580       Undetermined*
    ANGELA L                                 Rico                                                            ANGELA L                             Rico
    1643 W OAKRIDGE RD                       17 BK 03283-LTS                                                 1643 E OAKRIDGE RD                   17 BK 03283-LTS
    APT C                                                                                                    APT C
    ORLANDO, FL 32809                                                                                        ORLANDO, FL 32809

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
346 COLON MALAVE,                 06/26/18   Commonwealth of Puerto         71453              Undetermined* COLON MALAVE,             06/29/18   Commonwealth of Puerto    118054       Undetermined*
    WILFREDO                                 Rico                                                            WILFREDO                             Rico
    APARTADO 723                             17 BK 03283-LTS                                                 APARTADO 723                         17 BK 03283-LTS
    BARRANQUITAS, PR                                                                                         BARRANQUITAS, PR
    00794                                                                                                    00794

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
347 COLON MALAVE,                 06/28/18   Commonwealth of Puerto         140202             Undetermined* COLON MALAVE,             06/29/18   Commonwealth of Puerto    118054       Undetermined*
    WILFREDO                                 Rico                                                            WILFREDO                             Rico
    APARTADO 723                             17 BK 03283-LTS                                                 APARTADO 723                         17 BK 03283-LTS
    BARRANQUITAS, PR                                                                                         BARRANQUITAS, PR
    00794                                                                                                    00794

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 66 of 95
                                       Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                              Desc:
                                                   Exhibit Exhibit A (Schedule of Claim-English) Page 68 of 96

                                                                             Twenty-Third Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME              FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
348 COLON MALDONADO,              06/27/18   Commonwealth of Puerto         54183              Undetermined* COLON MALDONADO,         06/28/18   Commonwealth of Puerto    120276       Undetermined*
    DENISSI                                  Rico                                                            DENISSI                             Rico
    HC 37 BOX 3539                           17 BK 03283-LTS                                                 HC 37 BOX 3539                      17 BK 03283-LTS
    GUANICA, PR 00653                                                                                        GUANICA, PR 00653

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
349 COLON MALDONADO,              06/28/18   Commonwealth of Puerto         57662              Undetermined* COLON MALDONADO,         06/28/18   Commonwealth of Puerto    120276       Undetermined*
    DENISSI                                  Rico                                                            DENISSI                             Rico
    HC 37 BOX 3539                           17 BK 03283-LTS                                                 HC 37 BOX 3539                      17 BK 03283-LTS
    GUANICA, PR 00653                                                                                        GUANICA, PR 00653

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
350 COLON MEDINA, ELBA I.         06/28/18   Commonwealth of Puerto         70120              Undetermined* COLON MEDINA, ELBA I.    06/28/18   Commonwealth of Puerto    73983        Undetermined*
    513 URBANIZACION LAS                     Rico                                                            513 URBANIZACION LAS                Rico
    LLANADAS                                 17 BK 03283-LTS                                                 LIANADAS                            17 BK 03283-LTS
    BARCELONETA, PR                                                                                          BARCELONETA, PR
    00617                                                                                                    00617

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
351 COLON MELENDEZ,               06/27/18   Commonwealth of Puerto         57195              Undetermined* COLON MELENDEZ,          06/28/18   Commonwealth of Puerto    148743       Undetermined*
    MARIANELA                                Rico                                                            MARIANELA                           Rico
    P.O. BOX 885                             17 BK 03283-LTS                                                 PO BOX 885                          17 BK 03283-LTS
    COAMO, PR 00769                                                                                          COAMO, PR 00769

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
352 COLON MONGE, RUBEN            06/28/18   Commonwealth of Puerto         107571             Undetermined* COLON MONGE, RUBEN       06/28/18   Commonwealth of Puerto    123436       Undetermined*
    E-9 CALLE CIPRES                         Rico                                                            E-9 CALLE CIPRES, URB.              Rico
    URB. VILLA TURBO                         17 BK 03283-LTS                                                 VILLA TURABO                        17 BK 03283-LTS
    CAGUAS, PR 00725                                                                                         CAGUAS, PR 00725

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
353 COLON MONGE, RUBEN            06/28/18   Commonwealth of Puerto         112873             Undetermined* COLON MONGE, RUBEN       06/28/18   Commonwealth of Puerto    123436       Undetermined*
    URB. VILLA TURABO                        Rico                                                            E-9 CALLE CIPRES, URB.              Rico
    E-9 CALLE CIPRES                         17 BK 03283-LTS                                                 VILLA TURABO                        17 BK 03283-LTS
    CAGUAS, PR 00725                                                                                         CAGUAS, PR 00725

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 67 of 95
                                       Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                               Desc:
                                                   Exhibit Exhibit A (Schedule of Claim-English) Page 69 of 96

                                                                             Twenty-Third Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                    REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                         DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME              FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
354 COLON MONGE, RUBEN            06/28/18   Commonwealth of Puerto         119472             Undetermined* COLON MONGE, RUBEN        06/28/18   Commonwealth of Puerto    123436       Undetermined*
    URB. VILLA TURABO                        Rico                                                            E-9 CALLE CIPRES, URB.               Rico
    E-9 CALLE CIPRES                         17 BK 03283-LTS                                                 VILLA TURABO                         17 BK 03283-LTS
    CAGUAS, PR 00725                                                                                         CAGUAS, PR 00725

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
355 COLON ORTIZ, FRANCES          05/29/18   Commonwealth of Puerto         23613              Undetermined* COLON ORTIZ, FRANCES      05/29/18   Commonwealth of Puerto    26243        Undetermined*
    HC#2 BOX 10326                           Rico                                                            HC 2 BOX 10326                       Rico
    JUNCOS, PR 00777                         17 BK 03283-LTS                                                 JUNCOS, PR 00777                     17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
356 COLON ORTIZ,                  05/04/18   Commonwealth of Puerto         11773                 $ 34,239.44 COLON ORTIZ,             05/04/18   Commonwealth of Puerto    12367          $ 34,239.44*
    VANESSA                                  Rico                                                             VANESSA                             Rico
    RR #2 BOX 7707                           17 BK 03283-LTS                                                  RR #2 BOX 7707                      17 BK 03283-LTS
    SAN JUAN, PR 00926                                                                                        SAN JUAN, PR 00926

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
357 COLON RIVERA, ANA M           04/26/18   Commonwealth of Puerto          7475                   $ 3,034.53 COLON RIVERA, ANA M     05/22/18   Commonwealth of Puerto    16419            $ 3,034.53
    MILAGROS ACEVEDO                         Rico                                                              MILAGROS ACEVEDO                   Rico
    COLON                                    17 BK 03283-LTS                                                   COLON                              17 BK 03283-LTS
    COND COLINA REAL                                                                                           COND COLINA REAL
    2000 AVE F RINCON BOX                                                                                      2000 AVE F RINCON BOX
    1405                                                                                                       1405
    SAN JUAN, PR 00926                                                                                         SAN JUAN, PR 00926

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
358 COLON RODRIGUEZ,              05/21/18   Commonwealth of Puerto         60582              Undetermined* COLON RODRIGUEZ,          05/21/18   Commonwealth of Puerto    85562        Undetermined*
    OLGA S.                                  Rico                                                            OLGA S.                              Rico
    APARTADO 439                             17 BK 03283-LTS                                                 APARTADO 439                         17 BK 03283-LTS
    AGUIRRE                                                                                                  AGUIRRE
    AGUIRRE, PR 00704                                                                                        AGUIRRE, PR 00704

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
359 COLON SANCHEZ,                05/25/18   Commonwealth of Puerto         34888              Undetermined* COLON SANCHEZ,            05/25/18   Commonwealth of Puerto    36294        Undetermined*
    LIZETTE                                  Rico                                                            LIZETTE                              Rico
    EXT VALLE ALTO                           17 BK 03283-LTS                                                 EXT. VALLE ALTO                      17 BK 03283-LTS
    2210 CALLE SABANA                                                                                        2210 CALLE SABANA
    PONCE, PR 00730-4142                                                                                     PONCE, PR 00730-4142

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.



              * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 68 of 95
                                       Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                           Desc:
                                                   Exhibit Exhibit A (Schedule of Claim-English) Page 70 of 96

                                                                             Twenty-Third Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                     DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT               NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
360 COLON SANTIAGO,               06/25/18   Commonwealth of Puerto         80684              Undetermined* COLON SANTIAGO,       06/25/18   Commonwealth of Puerto    89892        Undetermined*
    MARIBEL                                  Rico                                                            MARIBEL                          Rico
    URB JARDINES DE                          17 BK 03283-LTS                                                 URB JDNS DE JAYUYA               17 BK 03283-LTS
    JAYUYA                                                                                                   263 CALLE MAGA
    263 CALLE MEGA                                                                                           JAYUYA, PR 00664
    JAYUYA, PR 00664-1620

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
361 COLON SANTIAGO,               06/25/18   Commonwealth of Puerto         86286              Undetermined* COLON SANTIAGO,       06/25/18   Commonwealth of Puerto    89892        Undetermined*
    MARIBEL                                  Rico                                                            MARIBEL                          Rico
    URB JARDINES DE                          17 BK 03283-LTS                                                 URB JDNS DE JAYUYA               17 BK 03283-LTS
    JAYUYA                                                                                                   263 CALLE MAGA
    263 CALLE MAGA                                                                                           JAYUYA, PR 00664
    JAYUYA, PR 00664

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
362 COLON SERRANO, ELSA           06/29/18   Commonwealth of Puerto         83175              Undetermined* COLON SERRANO, ELSA   07/06/18   Commonwealth of Puerto    158202       Undetermined*
    M.                                       Rico                                                            M.                               Rico
    URBANIZACION VILLA                       17 BK 03283-LTS                                                 URBANIZACION VILLA               17 BK 03283-LTS
    SERRENA                                                                                                  SERRENA
    CALLE CANARIO D 3                                                                                        CALLE CANARIO D 3
    ARECIBO, PR 00612                                                                                        ARECIBO, PR 00612

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
363 COLON TORRES,                 05/24/18   Commonwealth of Puerto         22685              Undetermined* COLON TORRES,         05/24/18   Commonwealth of Puerto    23573        Undetermined*
    JESSICA                                  Rico                                                            JESSICA                          Rico
    URB VILLAS DE CANEY                      17 BK 03283-LTS                                                 VILLAS DE CANEY                  17 BK 03283-LTS
    C9 CALLE GUAYAMA                                                                                         CALLE GUAYAMA C-9
    TRUJILLO ALTO, PR                                                                                        TRUJILLO ALTO, PR
    00976                                                                                                    00976

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
364 COLON VELAZQUEZ,              05/17/18   Commonwealth of Puerto         11976              Undetermined* COLON VELAZQUEZ,      05/17/18   Commonwealth of Puerto    13601        Undetermined*
    ADA M                                    Rico                                                            ADA M                            Rico
    HC 08 BOX 346                            17 BK 03283-LTS                                                 HC 08 BOX 346                    17 BK 03283-LTS
    PONCE, PR 00731                                                                                          PONCE, PR 00731

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                      Page 69 of 95
                                      Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                            Desc:
                                                  Exhibit Exhibit A (Schedule of Claim-English) Page 71 of 96

                                                                            Twenty-Third Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
365 COLON VELAZQUEZ,             05/17/18   Commonwealth of Puerto         13594              Undetermined* COLON VELAZQUEZ,       05/17/18   Commonwealth of Puerto    13601        Undetermined*
    ADA M                                   Rico                                                            ADA M                             Rico
    HC 08 BOX 346                           17 BK 03283-LTS                                                 HC 08 BOX 346                     17 BK 03283-LTS
    PONCE, PR 00731                                                                                         PONCE, PR 00731

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
366 COMMSCOPE                    05/17/18   Commonwealth of Puerto         16209                 $ 22,120.00 COMMSCOPE             05/25/18   Commonwealth of Puerto    21392           $ 22,120.00
    TECHNOLOGIES LLC                        Rico                                                             TECHNOLOGIES LLC                 Rico
    DAVID M. SCHILLI                        17 BK 03283-LTS                                                  ROBINSON, BRADSHAW               17 BK 03283-LTS
    ROBINSON, BRADSHAW                                                                                       & HINSON, P.A.
    & HINSON, PA.                                                                                            DAVID M. SCHILLI
    101 N. TRYON STREET                                                                                      101 N. TRYON STREET
    SUITE 1900                                                                                               SUITE 1900
    CHARLOTTE, NC 28246                                                                                      CHARLOTTE, NC 28246

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
367 CONCEPCION ISERN,            06/28/18   Commonwealth of Puerto         144265             Undetermined* CONCEPCION ISERN,      06/28/18   Commonwealth of Puerto    68003        Undetermined*
    CARMEN ENEIDA                           Rico                                                            CARMEN ENEIDA                     Rico
    BO HIQUILLAR SAN                        17 BK 03283-LTS                                                 BO. HIGUILLAR SAN                 17 BK 03283-LTS
    ANTONIO # 22B                                                                                           ANTONIO 22B
    DORADO, PR 00646                                                                                        DORADO, PR 00646

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
368 CONCEPCION PADILLA,          06/27/18   Commonwealth of Puerto         53240                 $ 30,000.00 CONCEPCION PADILLA,   07/03/18   Commonwealth of Puerto    126540          $ 30,000.00
    MIZRAIM                                 Rico                                                             MIZRAIM                          Rico
    PO BOX 1695                             17 BK 03283-LTS                                                  PO BOX 1695                      17 BK 03283-LTS
    LUQUILLO, PR 00773                                                                                       LUQUILLO, PR 00773

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
369 CONCEPCION                   05/25/18   Commonwealth of Puerto         23174                 $ 18,351.70 CONCEPCION            05/30/18   Commonwealth of Puerto    35244          $ 18,351.70*
    RODRIGUEZ, MILTON                       Rico                                                             RODRIGUEZ, MILTON                Rico
    PO BOX 3552                             17 BK 03283-LTS                                                  LIRIO DEL MAR                    17 BK 03283-LTS
    MAYAGUEZ, PR 00681                                                                                       TORRES, ESQ.
                                                                                                             PO BOX 3552
                                                                                                             MAYAGUEZ, PR 00681

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 70 of 95
                                       Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                            Desc:
                                                   Exhibit Exhibit A (Schedule of Claim-English) Page 72 of 96

                                                                             Twenty-Third Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
370 CONCHA MORALES,               05/29/18   Commonwealth of Puerto         31723              Undetermined* CONCHA MORALES,        06/05/18   Commonwealth of Puerto    47212        Undetermined*
    SANDRO                                   Rico                                                            SANDRO                            Rico
    URB ALTA VISTA                           17 BK 03283-LTS                                                 URB ALTA VISTA                    17 BK 03283-LTS
    Q 17 CALLE 19                                                                                            Q 17 CALLE 19
    PONCE, PR 00716                                                                                          PONCE, PR 00716

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
371 CONCHA MORALES,               05/29/18   Commonwealth of Puerto         32251              Undetermined* CONCHA MORALES,        06/05/18   Commonwealth of Puerto    47212        Undetermined*
    SANDRO                                   Rico                                                            SANDRO                            Rico
    Q 17 CALLE 19                            17 BK 03283-LTS                                                 URB ALTA VISTA                    17 BK 03283-LTS
    PONCE, PR 00716                                                                                          Q 17 CALLE 19
                                                                                                             PONCE, PR 00716

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
372 CONCHA MORALES,               06/05/18   Commonwealth of Puerto         46649              Undetermined* CONCHA MORALES,        06/05/18   Commonwealth of Puerto    47212        Undetermined*
    SANDRO                                   Rico                                                            SANDRO                            Rico
    URB ALTA VISTA                           17 BK 03283-LTS                                                 URB ALTA VISTA                    17 BK 03283-LTS
    Q 17 CALLE 19                                                                                            Q 17 CALLE 19
    PONCE, PR 00716                                                                                          PONCE, PR 00716

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
373 CONESA MUNOZ,                 06/29/18   Commonwealth of Puerto         124508             Undetermined* CONESA MUNOZ,          06/29/18   Commonwealth of Puerto    133709       Undetermined*
    ALICIA                                   Rico                                                            ALICIA                            Rico
    1213 CALLE FRANCISO V                    17 BK 03283-LTS                                                 1213 CALLE FRANCISCO              17 BK 03283-LTS
    LAS DELICIAS                                                                                             V
    PONCE, PR 00728                                                                                          LAS DELICIAS
                                                                                                             PONCE, PR 00728

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
374 CONSEJO DE RECREO             03/14/18   Commonwealth of Puerto          3113                   $ 5,481.00 CONSEJO RECREO       03/21/18   Commonwealth of Puerto    3646             $ 5,481.00
    DEPORTIVO Y                              Rico                                                              DEPORTIVO Y                     Rico
    EDUCATIVO P.R.                           17 BK 03283-LTS                                                   EDUCATIVO P.R.                  17 BK 03283-LTS
    URB VILLA HUMACAO                                                                                          URB. VILLA HUMACAO
    CALLE 6 H33                                                                                                CALLE 6 H 33
    HUMACAO, PR 00791                                                                                          HUMACAO, PR 00791

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 71 of 95
                                       Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                              Desc:
                                                   Exhibit Exhibit A (Schedule of Claim-English) Page 73 of 96

                                                                             Twenty-Third Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
375 CONSEJO RECREO                03/21/18   Commonwealth of Puerto          1795                   $ 3,211.74 CONSEJO RECREO         03/14/18   Commonwealth of Puerto    2795             $ 3,211.74
    DEPORTIVO Y                              Rico                                                              DEPORTIVO Y                       Rico
    EDUCATIVO P.R.                           17 BK 03283-LTS                                                   EDUCATIVO PR                      17 BK 03283-LTS
    URB VILLA HUMACAO                                                                                          URB VILLA HUMACAO
    CALLE 6 H 33                                                                                               CALLE 6 H33
    HUMACAO, PR 00791                                                                                          HUMACAO, PR 00791

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
376 CONSTANTINO DE                06/28/18   Commonwealth of Puerto         119790             Undetermined* CONSTANTINO DE           06/28/18   Commonwealth of Puerto    131230       Undetermined*
    ALOMAR, MIGDALIA                         Rico                                                            ALOMAR, MIGDALIA                    Rico
    HC-02 BOX 8430                           17 BK 03283-LTS                                                 HC-02 BOX 8430                      17 BK 03283-LTS
    JUANA DIAZ, PR 00795-                                                                                    JUANA DIAZ, PR 00795-
    9608                                                                                                     9608

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
377 CONTRERAS DIAZ,               06/27/18   Commonwealth of Puerto         45634              Undetermined* CONTRERAS DIAZ,          06/29/18   Commonwealth of Puerto    113923       Undetermined*
    CARMEN S.                                Rico                                                            CARMEN S.                           Rico
    URB LOS ALGARROBOS                       17 BK 03283-LTS                                                 URB. LOS ALGARROBOS                 17 BK 03283-LTS
    CALLE A H-2                                                                                              CALLE A H-2
    GUAYAMA, PR 00784                                                                                        GUAYAMA, PR 00784

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
378 COOPERATIVA DE                05/23/18   Commonwealth of Puerto         21939                   $ 5,082.67 COOPERATIVA DE         05/23/18   Commonwealth of Puerto    23639            $ 5,082.67
    SEGUROS MULTIPLES                        Rico                                                              SEGUROS MULTIPLES                 Rico
    DE PUERTO RICO                           17 BK 03283-LTS                                                   DE PUERTO RICO                    17 BK 03283-LTS
    HECTOR E. VALDES                                                                                           HECTOR E. VALDES
    ORTIZ, ESQ.                                                                                                ORTIZ, ESQ.
    8461 LAKE WORTH                                                                                            8461 LAKE WORTH
    ROAD SUITE 420                                                                                             ROAD SUITE 420
    LAKE WORTH, FL 33467                                                                                       LAKE WORTH, FL 33467

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 72 of 95
                                       Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                              Desc:
                                                   Exhibit Exhibit A (Schedule of Claim-English) Page 74 of 96

                                                                             Twenty-Third Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
379 COOPERATIVA DE                05/25/18   Commonwealth of Puerto         22675                   $ 500.00* COOPERATIVA DE          05/25/18   Commonwealth of Puerto    23418           $ 500.00*
    SEGUROS MULTIPLES                        Rico                                                             SEGUROS MULTIPLES                  Rico
    DE PUERTO RICO                           17 BK 03283-LTS                                                  DE PUERTO RICO                     17 BK 03283-LTS
    HECTOR E. VALDES                                                                                          HECTOR E. VALDES
    ORTIZ, ESQ.                                                                                               ORTIZ, ESQ.
    8461 LAKE WORTH                                                                                           8461 LAKE WORTH
    ROAD SUITE 420                                                                                            ROAD SUITE 420
    LAKE WORTH, FL 33467                                                                                      LAKE WORTH, FL 33467

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
380 COOPERATIVA DE                05/23/18   Commonwealth of Puerto         23627                 $ 11,185.95 COOPERATIVA DE          05/23/18   Commonwealth of Puerto    23635          $ 11,185.95
    SEGUROS MULTIPLES                        Rico                                                             SEGUROS MULTIPLES                  Rico
    DE PUERTO RICO                           17 BK 03283-LTS                                                  DE PUERTO RICO                     17 BK 03283-LTS
    HECTOR E. VALDES                                                                                          HECTOR E. VALDES
    ORTIZ, ESQ.                                                                                               ORTIZ, ESQ.
    8461 LAKE WORTH                                                                                           8461 LAKE WORTH
    ROAD SUITE 420                                                                                            ROAD SUITE 420
    LAKE WORTH, FL 33467                                                                                      LAKE WORTH, FL 33467

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
381 COOPERATIVA DE                05/25/18   Commonwealth of Puerto         24169                   $ 7,058.49 COOPERATIVA DE         05/25/18   Commonwealth of Puerto    24312           $ 7,058.49
    SEGUROS MULTIPLES                        Rico                                                              SEGUROS MULTIPLES                 Rico
    DE PUERTO RICO                           17 BK 03283-LTS                                                   DE PUERTO RICO                    17 BK 03283-LTS
    HECTOR E. VALDES                                                                                           HECTOR E. VALDES
    ORTIZ, ESQ.                                                                                                ORTIZ, ESQ.
    8461 LAKE WORTH                                                                                            8461 LAKE WORTH
    ROAD SUITE 420                                                                                             ROAD
    LAKE WORTH, FL 33467                                                                                       SUITE 420
                                                                                                               LAKE WORTH, FL 33467

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
382 COOPERATIVA DE                05/18/18   Commonwealth of Puerto         24272                   $ 4,045.48 COOPERATIVA DE         05/23/18   Commonwealth of Puerto    21148          $ 4,045.48*
    SEGUROS MULTIPLES                        Rico                                                              SEGUROS MULTIPLES                 Rico
    DE PUERTO RICO                           17 BK 03283-LTS                                                   DE PUERTO RICO                    17 BK 03283-LTS
    HECTOR E. VALDES                                                                                           HECTOR E. VALDES
    ORTIZ, ESQ.                                                                                                ORTIZ, ESQ.
    8461 LAKE WORTH                                                                                            8461 LAKE WORTH
    ROAD SUITE 420                                                                                             ROAD SUITE 420
    LAKE WORTH, FL 33467                                                                                       LAKE WORTH, FL 33467

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 73 of 95
                                       Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                                Desc:
                                                   Exhibit Exhibit A (Schedule of Claim-English) Page 75 of 96

                                                                             Twenty-Third Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                     REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                          DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                   NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
383 COOPERATIVA DE                05/25/18   Commonwealth of Puerto         24385                       $ 504.98 COOPERATIVA DE         06/27/18   Commonwealth of Puerto    88557           $ 504.98*
    SEGUROS MULTIPLES                        Rico                                                                SEGUROS MULTIPLES                 Rico
    DE PUERTO RICO                           17 BK 03283-LTS                                                     DE PUERTO RICO                    17 BK 03283-LTS
    HECTOR E. VALDES                                                                                             HECTOR E. VALDES
    ORTIZ, ESQ.                                                                                                  ORTIZ, ESQ.
    8461 LAKE WORTH                                                                                              8461 LAKE WORTH
    ROAD SUITE 420                                                                                               ROAD, SUITE 420
    LAKE WORTH, FL 33467                                                                                         LAKE WORTH, FL 33467

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
384 COOPERATIVA DE                05/25/18   Commonwealth of Puerto         24397                 $ 15,100.07 COOPERATIVA DE            06/27/18   Commonwealth of Puerto    82950         $ 15,100.07*
    SEGUROS MULTIPLES                        Rico                                                             SEGUROS MULTIPLES                    Rico
    DE PUERTO RICO                           17 BK 03283-LTS                                                  DE PUERTO RICO                       17 BK 03283-LTS
    HECTOR E. VALDES                                                                                          HECTOR E. VALDES
    ORTIZ, ESQ.                                                                                               ORTIZ, ESQ.
    8461 LAKE WORTH                                                                                           8461 LAKE WORTH
    ROAD SUITE 420                                                                                            ROAD SUITE 420
    LAKE WORTH, FL 33467                                                                                      LAKE WORTH, FL 33467

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
385 COOPERATIVA DE                05/25/18   Commonwealth of Puerto         25007                $ 15,000.00* COOPERATIVA DE            05/25/18   Commonwealth of Puerto    25184         $ 15,000.00*
    SEGUROS MULTIPLES                        Rico                                                             SEGUROS MULTIPLES                    Rico
    DE PUERTO RICO                           17 BK 03283-LTS                                                  DE PUERTO RICO                       17 BK 03283-LTS
    HECTOR E. VALDES                                                                                          HECTOR E. VALDES
    ORTIZ, ESQ.                                                                                               ORTIZ, ESQ.
    8461 LAKE WORTH                                                                                           8461 LAKE WORTH
    ROAD, SUITE 420                                                                                           ROAD SUITE 420
    LAKE WORTH, FL 33467                                                                                      LAKE WORTH, FL 33467

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
386 COOPERATIVA DE                05/25/18   Commonwealth of Puerto         25763                $ 18,000.00* COOPERATIVA DE            05/25/18   Commonwealth of Puerto    25765         $ 18,000.00*
    SEGUROS MULTIPLES                        Rico                                                             SEGUROS MULTIPLES                    Rico
    DE PUERTO RICO                           17 BK 03283-LTS                                                  DE PUERTO RICO                       17 BK 03283-LTS
    HECTOR E. VALDES                                                                                          HECTOR E. VALDES
    ORTIZ, ESQ.                                                                                               ORTIZ, ESQ.
    8461 LAKE WORTH                                                                                           8461 LAKE WORTH
    ROAD SUITE 420                                                                                            ROAD SUITE 420
    LAKE WORTH, FL 33467                                                                                      LAKE WORTH, FL 33467

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                           Page 74 of 95
                                       Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                           Desc:
                                                   Exhibit Exhibit A (Schedule of Claim-English) Page 76 of 96

                                                                             Twenty-Third Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                     DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME           FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
387 CORA RAMOS, MARIA M           05/04/18   Commonwealth of Puerto         10409              Undetermined* CORA RAMOS, MARIA M   05/07/18   Commonwealth of Puerto    10862        Undetermined*
    PO BOX 1071                              Rico                                                            PO BOX 1071                      Rico
    NAGUABO, PR 00718                        17 BK 03283-LTS                                                 NAGUABO, PR 00718                17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
388 CORA RAMOS, MARIA M           05/07/18   Commonwealth of Puerto         10817              Undetermined* CORA RAMOS, MARIA M   05/07/18   Commonwealth of Puerto    10862        Undetermined*
    PO BOX 1071                              Rico                                                            PO BOX 1071                      Rico
    NAGUABO, PR 00718                        17 BK 03283-LTS                                                 NAGUABO, PR 00718                17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
389 CORALES RAMOS,                06/07/18   Commonwealth of Puerto         49447              Undetermined* CORALES RAMOS,        06/07/18   Commonwealth of Puerto    104473       Undetermined*
    EVELYN A                                 Rico                                                            EVELYN A                         Rico
    PO BOX 798                               17 BK 03283-LTS                                                 PO BOX 798                       17 BK 03283-LTS
    URB. SAN MIGUEL                                                                                          CABO ROJO, PR 00623
    CABO ROJO, PR 00623

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
390 CORCHADO AGOSTINI,            05/09/18   Commonwealth of Puerto         12649              Undetermined* CORCHADO AGOSTINI,    05/09/18   Commonwealth of Puerto    12790        Undetermined*
    SUZENNE                                  Rico                                                            SUZENNE                          Rico
    6-7 2DA SECC C/30                        17 BK 03283-LTS                                                 6-7 2DA SECC C/30                17 BK 03283-LTS
    CAROLINA, PR 00985                                                                                       VILLA CAROLINA
                                                                                                             CAROLINA, PR 00985

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
391 CORCHADO AGOSTINI,            05/09/18   Commonwealth of Puerto         12700              Undetermined* CORCHADO AGOSTINI,    05/09/18   Commonwealth of Puerto    12790        Undetermined*
    SUZENNE                                  Rico                                                            SUZENNE                          Rico
    URB. VILLA CAROLINA                      17 BK 03283-LTS                                                 6-7 2DA SECC C/30                17 BK 03283-LTS
    CALLE 30 BLOQ. 6 #7                                                                                      VILLA CAROLINA
    CAROLINA, PR 00985                                                                                       CAROLINA, PR 00985

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
392 CORCHADO CRUZ,                05/25/18   Commonwealth of Puerto         34047              Undetermined* CORCHADO CRUZ,        05/25/18   Commonwealth of Puerto    34063        Undetermined*
    MILAGROS                                 Rico                                                            MILAGROS                         Rico
    URB MEDINA                               17 BK 03283-LTS                                                 MA 15 CALLE 14                   17 BK 03283-LTS
    CALLE 14 A 15                                                                                            URB. MEDINA
    ISABELA, PR 00662                                                                                        ISABELA, PR 00662

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                      Page 75 of 95
                                       Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                            Desc:
                                                   Exhibit Exhibit A (Schedule of Claim-English) Page 77 of 96

                                                                             Twenty-Third Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
393 CORDERO BARRETO,              07/06/18   Commonwealth of Puerto         138614             Undetermined* CORDERO BARRETO,       07/06/18   Commonwealth of Puerto    156756       Undetermined*
    DALILA                                   Rico                                                            DALILA                            Rico
    PO BOX 1429                              17 BK 03283-LTS                                                 PO BOX 1429                       17 BK 03283-LTS
    CABO ROJO, PR 00623                                                                                      CABO ROJO, PR 00623

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
394 CORDERO CARTAGENA,            06/29/18   Commonwealth of Puerto         128609             Undetermined* CORDERO CARTAGENA,     06/29/18   Commonwealth of Puerto    164644       Undetermined*
    MINERVA                                  Rico                                                            MINERVA                           Rico
    HC 04 BOX 7200                           17 BK 03283-LTS                                                 HC 04 BOX 7200                    17 BK 03283-LTS
    YABUCOA, PR 00767                                                                                        YABUCOA, PR 00767

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
395 CORDERO LOPEZ, ELSIE          07/06/18   Commonwealth of Puerto         146900             Undetermined* CORDERO LOPEZ, ELSIE   07/06/18   Commonwealth of Puerto    159708       Undetermined*
    HC-04 BOX 17054                          Rico                                                            HC 04 BOX 17054                   Rico
    LARES, PR 00669                          17 BK 03283-LTS                                                 LARES, PR 00669                   17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
396 CORDERO MENDEZ,               05/25/18   Commonwealth of Puerto         20923              Undetermined* CORDERO MENDEZ,        05/25/18   Commonwealth of Puerto    38699        Undetermined*
    GISELA J                                 Rico                                                            GISELA J                          Rico
    URB MOCA GARDENS                         17 BK 03283-LTS                                                 515 CALLE ORQUIDEA                17 BK 03283-LTS
    515 CORQUIDEA                                                                                            URB. MOCA GARDENS
    MOCA, PR 00676                                                                                           MOCA, PR 00676

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
397 CORDERO MENDEZ,               05/25/18   Commonwealth of Puerto         28048              Undetermined* CORDERO MENDEZ,        05/25/18   Commonwealth of Puerto    38699        Undetermined*
    GISELA J                                 Rico                                                            GISELA J                          Rico
    URB MOCA GARDENS                         17 BK 03283-LTS                                                 515 CALLE ORQUIDEA                17 BK 03283-LTS
    515 CORQUIDEA                                                                                            URB. MOCA GARDENS
    MOCA, PR 00676                                                                                           MOCA, PR 00676

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
398 CORDERO MENDEZ,               05/25/18   Commonwealth of Puerto         31747              Undetermined* CORDERO MENDEZ,        05/25/18   Commonwealth of Puerto    38699        Undetermined*
    GISELA J                                 Rico                                                            GISELA J                          Rico
    URB MOCA GARDENS                         17 BK 03283-LTS                                                 515 CALLE ORQUIDEA                17 BK 03283-LTS
    515 CALLE ORQUIDEA                                                                                       URB. MOCA GARDENS
    MOCA, PR 00676                                                                                           MOCA, PR 00676

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 76 of 95
                                       Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                            Desc:
                                                   Exhibit Exhibit A (Schedule of Claim-English) Page 78 of 96

                                                                             Twenty-Third Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT               NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
399 CORDERO MENDEZ,               05/25/18   Commonwealth of Puerto         31791              Undetermined* CORDERO MENDEZ,        05/25/18   Commonwealth of Puerto    38699        Undetermined*
    GISELA J                                 Rico                                                            GISELA J                          Rico
    515 C/ORQUIDEA                           17 BK 03283-LTS                                                 515 CALLE ORQUIDEA                17 BK 03283-LTS
    MOCA, PR 00676                                                                                           URB. MOCA GARDENS
                                                                                                             MOCA, PR 00676

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
400 CORDERO NIEVES,               05/29/18   Commonwealth of Puerto         35832              Undetermined* CORDERO NIEVES,        05/29/18   Commonwealth of Puerto    40629        Undetermined*
    MARITZA                                  Rico                                                            MARITZA                           Rico
    15 BETANCES                              17 BK 03283-LTS                                                 P.O. BOX 1022                     17 BK 03283-LTS
    CAMUY, PR 00627                                                                                          CAMUY, PR 00627

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
401 CORDERO NIEVES,               05/29/18   Commonwealth of Puerto         30434              Undetermined* CORDERO NIEVES,        05/29/18   Commonwealth of Puerto    37455        Undetermined*
    MARITZA G                                Rico                                                            MARITZA G                         Rico
    15 BETANCES                              17 BK 03283-LTS                                                 15 BETANCES                       17 BK 03283-LTS
    CAMUY, PR 00627                                                                                          CAMUY, PR 00627

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
402 CORDERO RIVERA,               05/15/18   Commonwealth of Puerto         25411              Undetermined* CORDERO RIVERA,        05/15/18   Commonwealth of Puerto    25723        Undetermined*
    ALMA R                                   Rico                                                            ALMA R                            Rico
    URB. HILLCREST                           17 BK 03283-LTS                                                 URB HILLCREST                     17 BK 03283-LTS
    VILLAGE                                                                                                  VILLAGE
    1007 CALLE PASEO DEL                                                                                     1007 CALLE PASEO DEL
    VALLE                                                                                                    VALLE
    PONCE, PR 00716                                                                                          PONCE, PR 00716

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
403 CORDERO RODRIGUEZ,            06/29/18   Commonwealth of Puerto         55026              Undetermined* CORDERO RODRIGUEZ,     07/06/18   Commonwealth of Puerto    159969       Undetermined*
    ANGEL                                    Rico                                                            ANGEL                             Rico
    PO BOX 182                               17 BK 03283-LTS                                                 PO BOX 182                        17 BK 03283-LTS
    MOCA, PR 00676                                                                                           MOCA, PR 00676

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
404 CORDERO SANTOS,               06/29/18   Commonwealth of Puerto         86954              Undetermined* CORDERO SANTOS,        07/09/18   Commonwealth of Puerto    161062       Undetermined*
    SONIA I.                                 Rico                                                            SONIA I.                          Rico
    PO BOX 182                               17 BK 03283-LTS                                                 P.O. BOX 182                      17 BK 03283-LTS
    MOCA, PR 00676                                                                                           MOCA, PR 00676

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.



              * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 77 of 95
                                      Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                              Desc:
                                                  Exhibit Exhibit A (Schedule of Claim-English) Page 79 of 96

                                                                            Twenty-Third Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
405 CORDERO VARGAS,              07/06/18   Commonwealth of Puerto         113275             Undetermined* CORDERO VARGAS,          07/06/18   Commonwealth of Puerto    146764       Undetermined*
    WILFREDO                                Rico                                                            WILFREDO                            Rico
    2766 CALLE 8                            17 BK 03283-LTS                                                 2766 - CALLE 8 COM.                 17 BK 03283-LTS
    COM. STELLA                                                                                             STELLA
    RINCON, PR 00677                                                                                        RINCON, PR 00677

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
406 CORDERO VARGAS,              07/06/18   Commonwealth of Puerto         120484             Undetermined* CORDERO VARGAS,          07/06/18   Commonwealth of Puerto    146764       Undetermined*
    WILFREDO                                Rico                                                            WILFREDO                            Rico
    2766 CALLE 8-COM                        17 BK 03283-LTS                                                 2766 - CALLE 8 COM.                 17 BK 03283-LTS
    STELLA                                                                                                  STELLA
    RINCON, PR 00677                                                                                        RINCON, PR 00677

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
407 CORPORACION DE               05/24/18   Commonwealth of Puerto         24101              $ 4,961,398.00* CORPORACION DE         05/24/18   Commonwealth of Puerto    30144        $ 4,961,398.00*
    SERVICIOS INTEGRALES                    Rico                                                              SERVICIOS INTEGRALES              Rico
    DE SALUD DEL AREA                       17 BK 03283-LTS                                                   DE SALUD DEL AREA                 17 BK 03283-LTS
    DE BARRANQUITAS,                                                                                          DE BARRANQUITAS,
    COMERIO,COROZAL,                                                                                          COMERIO,COROZAL,
    NARANJITO Y                                                                                               NARANJITO Y
    OROCOVIS, INC.                                                                                            OROCOVIS, INC.
    LIC. AURELIO GRACIA                                                                                       AURELIO GRACIA
    MORALES                                                                                                   MORALES
    HC-72                                                                                                     LIC. AURELIO GRACIA
    BOX 3694                                                                                                  MORALES HC-72 BOX
    NARANJITO, PR 00719                                                                                       3694
                                                                                                              NARANJITO, PR 00719

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
408 CORPORACION DE               05/26/18   Commonwealth of Puerto         30461            $ 13,231,531.40* CORPORACION DE          05/28/18   Commonwealth of Puerto    41718       $ 13,231,531.40*
    SERVICIOS MEDICOS DE                    Rico                                                             SERVICIOS MEDICOS DE               Rico
    HATILLO                                 17 BK 03283-LTS                                                  HATILLO                            17 BK 03283-LTS
    ARMANDO LAGARETTA                                                                                        PO BOX 907
    (IPA 19)                                                                                                 HATILLO, PR 00659
    PO BOX 907
    HATILLO, PR 00659

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 78 of 95
                                       Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                             Desc:
                                                   Exhibit Exhibit A (Schedule of Claim-English) Page 80 of 96

                                                                             Twenty-Third Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
409 CORREA BERMUDEZ,              06/28/18   Commonwealth of Puerto         61446              Undetermined* CORREA BERMUDEZ,        07/03/18   Commonwealth of Puerto    105957       Undetermined*
    FERNANDO                                 Rico                                                            FERNANDO                           Rico
    URB. EXT. SAN JOSE                       17 BK 03283-LTS                                                 URB. EXT. SAN JOSE                 17 BK 03283-LTS
    III GG-4 CALLE 12                                                                                        III GG-4 CALLE 12
    BUZON 717                                                                                                BUZON 717
    SABANA GRANDE, PR                                                                                        SABANA GRANDE, PR
    00637                                                                                                    00637

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
410 CORREA GONZALEZ,              06/28/18   Commonwealth of Puerto         118047             Undetermined* CORREA GONZALEZ,        06/28/18   Commonwealth of Puerto    162906       Undetermined*
    BRUNILDA                                 Rico                                                            BRUNILDA                           Rico
    Y-A1-14 URB JARDINES                     17 BK 03283-LTS                                                 Y-A1-14                            17 BK 03283-LTS
    DE ARROYO                                                                                                URB. JARDINES DE
    ARROYO, PR 00714-2104                                                                                    ARROYO
                                                                                                             ARROYO, PR 00714-2104

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
411 CORREA RIVERA,                06/29/18   Commonwealth of Puerto         132158             Undetermined* CORREA RIVERA,          06/29/18   Commonwealth of Puerto    151339       Undetermined*
    NORMA                                    Rico                                                            NORMA                              Rico
    BO. SIERRA BAJA                          17 BK 03283-LTS                                                 BO. SIERRA BAJA                    17 BK 03283-LTS
    HC 01 BOX 6032                                                                                           HC 01 BOX 6032
    GUAYANILLA, PR 00656                                                                                     GUAYANILLA, PR 00656

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
412 CORTES HERNANDEZ,             06/28/18   Commonwealth of Puerto         60058              Undetermined* CORTES HERNANDEZ,       06/28/18   Commonwealth of Puerto    64989        Undetermined*
    SALVADOR                                 Rico                                                            SALVADOR                           Rico
    URB VISTA DEL MORRO                      17 BK 03283-LTS                                                 URB VISTA DEL MORRO                17 BK 03283-LTS
    B10 CALLE                                                                                                B10 CALLE
    GUARAGUAO                                                                                                GUARAGUAO
    CATANO, PR 00962                                                                                         CATANO, PR 00963

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
413 CORTES HERNANDEZ,             06/28/18   Commonwealth of Puerto         64892              Undetermined* CORTES HERNANDEZ,       06/28/18   Commonwealth of Puerto    64989        Undetermined*
    SALVADOR                                 Rico                                                            SALVADOR                           Rico
    URB VISTA DEL MORRO                      17 BK 03283-LTS                                                 URB VISTA DEL MORRO                17 BK 03283-LTS
    B10 CALLE                                                                                                B10 CALLE
    GUARAGUAO                                                                                                GUARAGUAO
    CATANO, PR 00962                                                                                         CATANO, PR 00963

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 79 of 95
                                       Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                             Desc:
                                                   Exhibit Exhibit A (Schedule of Claim-English) Page 81 of 96

                                                                             Twenty-Third Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT               NAME              FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
414 COSME PITRE, IVETTE Y         07/09/18   Commonwealth of Puerto         161157             Undetermined* COSME PITRE, IVETTE Y   07/09/18   Commonwealth of Puerto    163009       Undetermined*
    BOX 9206 COTTE STA                       Rico                                                            BOX 9206 COTTO STA                 Rico
    ARECIBO, PR 00613                        17 BK 03283-LTS                                                 ARECIBO, PR 00613                  17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
415 COTTO ALICEA,                 06/28/18   Commonwealth of Puerto         121988             Undetermined* COTTO ALICEA,           06/28/18   Commonwealth of Puerto    163000       Undetermined*
    GUILLERMINA                              Rico                                                            GUILLERMINA                        Rico
    CALLE CORAZON                            17 BK 03283-LTS                                                 URB. VILLA CRIOLLA                 17 BK 03283-LTS
    C - 10                                                                                                   CALLE CORAZON C 10
    URB. VILLA CRIOLLO                                                                                       CAGUAS, PR 00725
    CAGUAS, PR 00725

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
416 COTTO ARROYO,                 06/05/18   Commonwealth of Puerto         35910                 $ 10,000.00 COTTO ARROYO,          06/05/18   Commonwealth of Puerto    46249           $ 10,000.00
    ALEXIS                                   Rico                                                             ALEXIS                            Rico
    URB. EL MADRIGAL                         17 BK 03283-LTS                                                  URB EL MADRIGAL                   17 BK 03283-LTS
    CALLE 2 B-11                                                                                              B11 CALLE 2
    PONCE, PR 00731                                                                                           PONCE, PR 00731

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
417 COTTO RAMOS, OMARA            06/28/18   Commonwealth of Puerto         103371             Undetermined* COTTO RAMOS, OMARA      06/28/18   Commonwealth of Puerto    139513       Undetermined*
    PO BOX 2                                 Rico                                                            PO BOX 2                           Rico
    AGUAS BUENAS, PR                         17 BK 03283-LTS                                                 AGUAS BUENAS, PR                   17 BK 03283-LTS
    00703                                                                                                    00703

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
418 COTTO RAMOS, OMARA            06/28/18   Commonwealth of Puerto         118214             Undetermined* COTTO RAMOS, OMARA      06/28/18   Commonwealth of Puerto    139513       Undetermined*
    PO BOX 2                                 Rico                                                            PO BOX 2                           Rico
    AGUAS BUENAS, PR                         17 BK 03283-LTS                                                 AGUAS BUENAS, PR                   17 BK 03283-LTS
    00703                                                                                                    00703

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
419 COTTO RIVERA, IDALIA          05/29/18   Commonwealth of Puerto         36592              Undetermined* COTTO RIVERA, IDALIA    06/05/18   Commonwealth of Puerto    48526        Undetermined*
    REPARTO                                  Rico                                                            REPTO MONTELLANO                   Rico
    MONTELLANO                               17 BK 03283-LTS                                                 G33 CALLE C                        17 BK 03283-LTS
    G33 CALLE C                                                                                              CAYEY, PR 00736
    CAYEY, PR 00736

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 80 of 95
                                       Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                            Desc:
                                                   Exhibit Exhibit A (Schedule of Claim-English) Page 82 of 96

                                                                             Twenty-Third Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
420 COTTO SERRANO,                06/29/18   Commonwealth of Puerto         130688             Undetermined* COTTO SERRANO,         06/29/18   Commonwealth of Puerto    138479       Undetermined*
    LUCAS JAVIER                             Rico                                                            LUCAS JAVIER                      Rico
    363 MARTIN LEON                          17 BK 03283-LTS                                                 363 CALLE MARTIN                  17 BK 03283-LTS
    BUENA VISTA                                                                                              LEON
    CAYEY, PR 00736                                                                                          CAYEY, PR 00736-3210

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
421 COUVERTIER MATIAS,            06/29/18   Commonwealth of Puerto         116737                $ 19,999.56 COUVERTIER MATIAS,    06/29/18   Commonwealth of Puerto    162960          $ 19,999.56
    GLADYNEL                                 Rico                                                             GLADYNEL                         Rico
    EB-13 CALLE TILO                         17 BK 03283-LTS                                                  EB-13 CALLE TILO                 17 BK 03283-LTS
    BAYAMON, PR 00961                                                                                         BAYAMON, PR 00961

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
422 CRESPO MAISONET,              06/07/18   Commonwealth of Puerto         57607              Undetermined* CRESPO MAISONET,       06/07/18   Commonwealth of Puerto    61755        Undetermined*
    JOSE D                                   Rico                                                            JOSE D                            Rico
    ALTURAS DE                               17 BK 03283-LTS                                                 ALTURAS DE                        17 BK 03283-LTS
    MAYAGUEZ                                                                                                 MAYAGUEZ
    1112 CALLE UROYAN                                                                                        1112 CALLE UROYAN
    MAYAGUEZ, PR 00682                                                                                       MAYAGUEZ, PR 00682

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
423 CRESPO MARTINEZ,              06/29/18   Commonwealth of Puerto         76436              Undetermined* CRESPO MARTINEZ,       06/29/18   Commonwealth of Puerto    87340        Undetermined*
    ANGEL RAMON                              Rico                                                            ANGEL RAMON                       Rico
    P O BOX 32                               17 BK 03283-LTS                                                 PO BOX 31                         17 BK 03283-LTS
    RINCON, PR 00677                                                                                         RINCON, PR 00677

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
424 CRESPO MEDINA,                05/09/18   Commonwealth of Puerto         11916              Undetermined* CRESPO MEDINA,         05/09/18   Commonwealth of Puerto    12597        Undetermined*
    MAYRA I                                  Rico                                                            MAYRA I                           Rico
    RAMEY CALLE U 105                        17 BK 03283-LTS                                                 RAMEY CALLE U 105                 17 BK 03283-LTS
    AGUADILLA, PR 00603                                                                                      AGUADILLA, PR 00603

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
425 CRESPO MEDINA,                07/05/18   Commonwealth of Puerto         146106             Undetermined* CRESPO MEDINA,         07/05/18   Commonwealth of Puerto    155619       Undetermined*
    MYRTA                                    Rico                                                            MYRTA                             Rico
    PO BOX 1586                              17 BK 03283-LTS                                                 P.O. BOX 1586                     17 BK 03283-LTS
    AGUADILLA, PR 00605                                                                                      AGUADILLA, PR 00605

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 81 of 95
                                       Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                             Desc:
                                                   Exhibit Exhibit A (Schedule of Claim-English) Page 83 of 96

                                                                             Twenty-Third Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
426 CRESPO RIVERA,                07/06/18   Commonwealth of Puerto         75114                 $ 6,000.00* CRESPO RIVERA,         07/06/18   Commonwealth of Puerto    131344           $ 6,000.00
    ANTHONY                                  Rico                                                             ANTHONY                           Rico
    HC-02 BOX 5521                           17 BK 03283-LTS                                                  HC-02 BOX 5521                    17 BK 03283-LTS
    RINCON, PR 00677                                                                                          RINCON, PR 00677

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
427 CRISPIN MORALES, ANA          05/18/18   Commonwealth of Puerto         33975              Undetermined* CRISPIN MORALES, ANA    05/18/18   Commonwealth of Puerto    49717        Undetermined*
    L                                        Rico                                                            L                                  Rico
    9 LOMAS SANTAS                           17 BK 03283-LTS                                                 9 SECTOR LOMA SANTA                17 BK 03283-LTS
    ISABELA, PR 00662                                                                                        ISABELA, PR 00662

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
428 CRUZ ALVAREZ,                 06/05/18   Commonwealth of Puerto         44036              Undetermined* CRUZ ALVAREZ,           06/05/18   Commonwealth of Puerto    44792        Undetermined*
    CARMEN D                                 Rico                                                            CARMEN D                           Rico
    PARC AMALIA MARIN                        17 BK 03283-LTS                                                 PARC. AMALIA MARIN                 17 BK 03283-LTS
    5647 TAINO                                                                                               5647 CALLE TAINO
    PONCE, PR 00716                                                                                          PONCE, PR 00716

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
429 CRUZ AVILES,                  05/29/18   Commonwealth of Puerto         23937              Undetermined* CRUZ AVILES,            05/29/18   Commonwealth of Puerto    34448        Undetermined*
    GUALBERTO                                Rico                                                            GUALBERTO                          Rico
    175 VALLES DE ANASCO                     17 BK 03283-LTS                                                 175 VALLES DE ANASCO               17 BK 03283-LTS
    ANASCO, PR 00610-9673                                                                                    ANASCO, PR 00610-9673

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
430 CRUZ AVILES,                  05/29/18   Commonwealth of Puerto         34442              Undetermined* CRUZ AVILES,            05/29/18   Commonwealth of Puerto    34448        Undetermined*
    GUALBERTO                                Rico                                                            GUALBERTO                          Rico
    175 VALLES DE ANASCO                     17 BK 03283-LTS                                                 175 VALLES DE ANASCO               17 BK 03283-LTS
    ANASCO, PR 00610-9673                                                                                    ANASCO, PR 00610-9673

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
431 CRUZ AVILES,                  05/29/18   Commonwealth of Puerto         34444              Undetermined* CRUZ AVILES,            05/29/18   Commonwealth of Puerto    34448        Undetermined*
    GUALBERTO                                Rico                                                            GUALBERTO                          Rico
    175 VALLES DE ANASCO                     17 BK 03283-LTS                                                 175 VALLES DE ANASCO               17 BK 03283-LTS
    ANASCO, PR 00610-9673                                                                                    ANASCO, PR 00610-9673

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 82 of 95
                                       Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                              Desc:
                                                   Exhibit Exhibit A (Schedule of Claim-English) Page 84 of 96

                                                                             Twenty-Third Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
432 CRUZ AVILES,                  05/25/18   Commonwealth of Puerto         34452              Undetermined* CRUZ AVILES,             05/29/18   Commonwealth of Puerto    34448        Undetermined*
    GUALBERTO                                Rico                                                            GUALBERTO                           Rico
    175 VALLES DE ANASCO                     17 BK 03283-LTS                                                 175 VALLES DE ANASCO                17 BK 03283-LTS
    ANASCO, PR 00610-9674                                                                                    ANASCO, PR 00610-9673

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
433 CRUZ BENITEZ, RALPH           06/06/18   Commonwealth of Puerto         48841                 $ 37,500.00 CRUZ BENITEZ, RALPH     06/07/18   Commonwealth of Puerto    58903           $ 37,500.00
    CARLOS MONDRÍGUEZ                        Rico                                                             CARLOS MONDRÍGUEZ                  Rico
    TORRES                                   17 BK 03283-LTS                                                  TORRES Y DENISE                    17 BK 03283-LTS
    PO BOX 295                                                                                                DUBOCQ
    LAS PIEDRAS, PR 00771                                                                                     PO BOX 295
                                                                                                              LAS PIEDRAS, PR 00771

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
434 CRUZ BENITEZ, RALPH           07/05/18   Commonwealth of Puerto         103140                $ 37,500.00 CRUZ BENITEZ, RALPH     07/05/18   Commonwealth of Puerto    124464          $ 37,500.00
    CARLOS MONDRÍGUEZ                        Rico                                                             ATTN: CARLOS                       Rico
    TORRES                                   17 BK 03283-LTS                                                  MONDRÍGUEZ TORRES                  17 BK 03283-LTS
    PO BOX 295                                                                                                PO BOX 295
    LAS PIEDRAS, PR 00771                                                                                     LAS PIEDRAS, PR 00771

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
435 CRUZ BENITEZ, RALPH           07/05/18   Commonwealth of Puerto         152876                $ 30,000.00 CRUZ BENITEZ, RALPH     07/05/18   Commonwealth of Puerto    153856          $ 30,000.00
    CARLOS MONDRIGUEZ                        Rico                                                             CARLOS MONDRÍGUEZ                  Rico
    TORRES                                   17 BK 03283-LTS                                                  TORRES                             17 BK 03283-LTS
    PO BOX 295                                                                                                PO BOX 295
    LAS PIEDRAS, PR 00771                                                                                     LAS PIEDRAS, PR 00771

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
436 CRUZ BURGOS,                  06/26/18   Commonwealth of Puerto         101239             Undetermined* CRUZ BURGOS,             06/26/18   Commonwealth of Puerto    108118       Undetermined*
    MYRIAM                                   Rico                                                            MYRIAM                              Rico
    P.O. BOX 612                             17 BK 03283-LTS                                                 P.O. BOX 612                        17 BK 03283-LTS
    JUANA DIAZ, PR 00795                                                                                     JUANA DIAZ, PR 00795

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
437 CRUZ CANDELARIO,              06/29/18   Commonwealth of Puerto         78223              Undetermined* CRUZ CANDELARIO,         06/29/18   Commonwealth of Puerto    78786        Undetermined*
    OCTAVIO                                  Rico                                                            OCTAVIO                             Rico
    PO BOX 1247                              17 BK 03283-LTS                                                 PO BOX 1247                         17 BK 03283-LTS
    SALINAS, PR 00751                                                                                        SALINAS, PR 00751-1247

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.



              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 83 of 95
                                       Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                            Desc:
                                                   Exhibit Exhibit A (Schedule of Claim-English) Page 85 of 96

                                                                             Twenty-Third Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
438 CRUZ CEPEDA,                  05/07/18   Commonwealth of Puerto          9387              Undetermined* CRUZ CEPEDA,           05/07/18   Commonwealth of Puerto    9445         Undetermined*
    KIMBERLY                                 Rico                                                            KIMBERLY                          Rico
    BO MANGO                                 17 BK 03283-LTS                                                 BO MANGO                          17 BK 03283-LTS
    HC-01 BOX 6007                                                                                           HC-01 BOX 6007
    JUNCOS, PR 00777                                                                                         JUNCOS, PR 00777

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
439 CRUZ CRUZ,                    05/07/18   Commonwealth of Puerto          9457              Undetermined* CRUZ CRUZ,             05/08/18   Commonwealth of Puerto    10432        Undetermined*
    FREDESWINDA                              Rico                                                            FREDESWINDA                       Rico
    URB. ALTURAS DEL                         17 BK 03283-LTS                                                 URB ALT DEL MAR                   17 BK 03283-LTS
    MAR                                                                                                      151 ARECIFE
    CALLE ARACIFE #151                                                                                       CABO ROJO, PR 00623
    CABO ROJO, PR 00623

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
440 CRUZ GALARZA, HELEN           06/28/18   Commonwealth of Puerto         60797              Undetermined* CRUZ GALARZA, HELEN    06/29/18   Commonwealth of Puerto    80979        Undetermined*
    PO BOX 3090                              Rico                                                            PO BOX 3090                       Rico
    SAN SEBASTIAN, PR                        17 BK 03283-LTS                                                 SAN SEBASTIAN, PR                 17 BK 03283-LTS
    00685                                                                                                    00685

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
441 CRUZ GALARZA, HELEN           06/28/18   Commonwealth of Puerto         62048              Undetermined* CRUZ GALARZA, HELEN    06/29/18   Commonwealth of Puerto    80979        Undetermined*
    PO BOX 3090                              Rico                                                            PO BOX 3090                       Rico
    SAN SEBASTIAN, PR                        17 BK 03283-LTS                                                 SAN SEBASTIAN, PR                 17 BK 03283-LTS
    00685                                                                                                    00685

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
442 CRUZ GOMEZ, ROSALIA           06/29/18   Commonwealth of Puerto         105754             Undetermined* CRUZ GOMEZ, ROSALIA    06/29/18   Commonwealth of Puerto    163908       Undetermined*
    HC-06 BOX 6752                           Rico                                                            H C 6 BOX 6752                    Rico
    GUAYNABO, PR 00971                       17 BK 03283-LTS                                                 GUAYNABO, PR 00971                17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
443 CRUZ LUGO, CARMEN L.          06/25/18   Commonwealth of Puerto         57191              Undetermined* CRUZ LUGO, CARMEN L.   06/25/18   Commonwealth of Puerto    71451        Undetermined*
    32A CALLE MENA                           Rico                                                            32A CALLE MENA,                   Rico
    MONTE GRANDE                             17 BK 03283-LTS                                                 MONTE GRANDE                      17 BK 03283-LTS
    CABO ROJO, PR 00623                                                                                      CABO ROJO, PR 00623

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 84 of 95
                                       Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                            Desc:
                                                   Exhibit Exhibit A (Schedule of Claim-English) Page 86 of 96

                                                                             Twenty-Third Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
444 CRUZ MARTINEZ, ANA L          03/13/18   Commonwealth of Puerto          2336              Undetermined* CRUZ MARTINEZ, ANA L   03/13/18   Commonwealth of Puerto    2657         Undetermined*
    PO BOX 515                               Rico                                                            P.O. BOX 1048                     Rico
    AIBONITO, PR 00705                       17 BK 03283-LTS                                                 BO. ASOMANTE                      17 BK 03283-LTS
                                                                                                             AIBONITO, PR 00705

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
445 CRUZ REYES, IVELISSE          05/23/18   Commonwealth of Puerto         14428              Undetermined* CRUZ REYES, IVELISSE   05/23/18   Commonwealth of Puerto    19432        Undetermined*
    HC 12 BOX 7302                           Rico                                                            HC 12 BOX 7302                    Rico
    HUMACAO, PR 00791-                       17 BK 03283-LTS                                                 HUMACAO, PR 00791                 17 BK 03283-LTS
    9557

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
446 CRUZ REYES, IVELISSE          05/23/18   Commonwealth of Puerto         16844              Undetermined* CRUZ REYES, IVELISSE   05/23/18   Commonwealth of Puerto    19432        Undetermined*
    HC 12 BOX 7302                           Rico                                                            HC 12 BOX 7302                    Rico
    HUMACAO, PR 00791                        17 BK 03283-LTS                                                 HUMACAO, PR 00791                 17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
447 CRUZ RIVERA, JOSE E           05/05/18   Commonwealth of Puerto         11775              Undetermined* CRUZ RIVERA, JOSE E    05/05/18   Commonwealth of Puerto    11820        Undetermined*
    URB. MENDEZ B3                           Rico                                                            B 3 URB MENDEZ                    Rico
    YABUCOA, PR 00767                        17 BK 03283-LTS                                                 YABUCOA, PR 00767                 17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
448 CRUZ RIVERA, JOSE E           05/05/18   Commonwealth of Puerto         11803              Undetermined* CRUZ RIVERA, JOSE E    05/05/18   Commonwealth of Puerto    11820        Undetermined*
    URB. MENDEZ B-3                          Rico                                                            B 3 URB MENDEZ                    Rico
    YOBUCOA, PR 00767                        17 BK 03283-LTS                                                 YABUCOA, PR 00767                 17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
449 CRUZ RIVERA, JOSE E           05/05/18   Commonwealth of Puerto         11819              Undetermined* CRUZ RIVERA, JOSE E    05/05/18   Commonwealth of Puerto    11820        Undetermined*
    URB MENDEZ                               Rico                                                            B 3 URB MENDEZ                    Rico
    B3                                       17 BK 03283-LTS                                                 YABUCOA, PR 00767                 17 BK 03283-LTS
    YABUCOA, PR 00767

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 85 of 95
                                       Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                                Desc:
                                                   Exhibit Exhibit A (Schedule of Claim-English) Page 87 of 96

                                                                             Twenty-Third Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                     REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                          DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME               FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
450 CRUZ RIVERA, WILDA            06/27/18   Commonwealth of Puerto         53236              Undetermined* CRUZ RIVERA, WILDA         06/27/18   Commonwealth of Puerto    53723        Undetermined*
    BARRIO SUD ARRIBA                        Rico                                                            BARRIO SUD ARRIBA                     Rico
    SECTOR MONTALVAN                         17 BK 03283-LTS                                                 SECTOR MONTALVAN                      17 BK 03283-LTS
    APARTADO #2                                                                                              APARTADO #2
    CIDRA, PR 00739                                                                                          CIDRA, PR 00739

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
451 CRUZ RODRIGUEZ,               07/06/18   Commonwealth of Puerto         151656             Undetermined* CRUZ RODRIGUEZ,            07/06/18   Commonwealth of Puerto    160656       Undetermined*
    MILAGROS                                 Rico                                                            MILAGROS                              Rico
    HC 04 BOX 5690                           17 BK 03283-LTS                                                 HC 04 BOX 5690                        17 BK 03283-LTS
    COROZAL, PR 00783                                                                                        COROZAL, PR 00783

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
452 CRUZ SANCHEZ,                 06/24/18   Commonwealth of Puerto         47379               $ 150,000.00* CRUZ SANCHEZ,             06/24/18   Commonwealth of Puerto    48831         $ 150,000.00*
    MARTHA Z.                                Rico                                                             MARTHA Z.                            Rico
    ARNALDO ELIAS                            17 BK 03283-LTS                                                  ARNALDO ELIAS                        17 BK 03283-LTS
    PO BOX 191841                                                                                             PO BOX 191841
    SAN JUAN, PR 00919-1841                                                                                   SAN JUAN, PR 00919-1841

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
453 CRUZ VELAZQUEZ,               04/30/18   Commonwealth of Puerto         11110                $ 145,514.07 CRUZ VELAZQUEZ,           04/30/18   Commonwealth of Puerto    12417         $ 145,514.07*
    HECTOR L                                 Rico                                                             HECTOR L                             Rico
    PO BOX 9613                              17 BK 03283-LTS                                                  PO BOX 9613                          17 BK 03283-LTS
    CAGUAS, PR 00726                                                                                          CAGUAS, PR 00726

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
454 CRUZ, ROLANDO                 06/06/18   Commonwealth of Puerto         49172              Undetermined* CRUZ, ROLANDO              06/06/18   Commonwealth of Puerto    49191        Undetermined*
    ALVARADO                                 Rico                                                            ALVARADO                              Rico
    HC-3 BOX 4738                            17 BK 03283-LTS                                                 HC-3 BOX 4738                         17 BK 03283-LTS
    ADJUNTAS, PR 00601                                                                                       ADJUNTAS, PR 00601

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
455 CUADRADO SANCHEZ,             05/23/18   Commonwealth of Puerto         28275              Undetermined* CUADRADO SANCHEZ,          05/23/18   Commonwealth of Puerto    32717        Undetermined*
    GERARDINA                                Rico                                                            GERARDINA                             Rico
    HC 15 BOX 16343                          17 BK 03283-LTS                                                 HC 15 BOX 16343                       17 BK 03283-LTS
    HUMACAO, PR 00791                                                                                        HUMACAO, PR 00791-
                                                                                                             9708

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                           Page 86 of 95
                                       Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                                Desc:
                                                   Exhibit Exhibit A (Schedule of Claim-English) Page 88 of 96

                                                                             Twenty-Third Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                     REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                          DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME               FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
456 CUADRADO SILVA,               05/29/18   Commonwealth of Puerto         37875                $ 350,000.00 CUADRADO SILVA,           05/29/18   Commonwealth of Puerto    44226          $ 350,000.00
    ELVIN A                                  Rico                                                             ELVIN A                              Rico
    HC 02 BOX 69032                          17 BK 03283-LTS                                                  HC2 BOX 69032                        17 BK 03283-LTS
    LAS PIEDRAS, PR 00771                                                                                     LAS PIEDRAS, PR 00771

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
457 CUADRADO SILVA,               05/29/18   Commonwealth of Puerto         39693                $ 350,000.00 CUADRADO SILVA,           05/29/18   Commonwealth of Puerto    44226          $ 350,000.00
    ELVIN A                                  Rico                                                             ELVIN A                              Rico
    HC2 BOX 69032                            17 BK 03283-LTS                                                  HC2 BOX 69032                        17 BK 03283-LTS
    LAS PIEDRAS, PR 00771                                                                                     LAS PIEDRAS, PR 00771

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
458 CUALIO BONET, JULIO           05/07/18   Commonwealth of Puerto         13662              Undetermined* CUALIO BONET, JULIO        05/07/18   Commonwealth of Puerto    13839        Undetermined*
    PO BOX 2044                              Rico                                                            PO BOX 2044                           Rico
    ANASCO, PR 00610                         17 BK 03283-LTS                                                 ANASCO, PR 00610                      17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
459 CUALIO BONET, JULIO           05/07/18   Commonwealth of Puerto         13795              Undetermined* CUALIO BONET, JULIO        05/07/18   Commonwealth of Puerto    13839        Undetermined*
    URB SAN ANTONIO                          Rico                                                            PO BOX 2044                           Rico
    F11                                      17 BK 03283-LTS                                                 ANASCO, PR 00610                      17 BK 03283-LTS
    ANASCO, PR 00610

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
460 CUBA RODRIGUEZ, JOSE          05/24/18   Commonwealth of Puerto         21012               $ 150,000.00* CUBA RODRIGUEZ, JOSE      06/27/18   Commonwealth of Puerto    57570         $ 150,000.00*
    M                                        Rico                                                             M                                    Rico
    ARNALDO ELIAS                            17 BK 03283-LTS                                                  ARNALDO H. ELIAS                     17 BK 03283-LTS
    PO BOX 191841                                                                                             PO BOX 191841
    SAN JUAN, PR 00919-1841                                                                                   SAN JUAN, PR 00919-1841

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
461 CUEBAS APONTE,                06/05/18   Commonwealth of Puerto         71923              Undetermined* CUEBAS APONTE,             06/28/18   Commonwealth of Puerto    89245        Undetermined*
    CLARIBEL                                 Rico                                                            CLARIBEL                              Rico
    BALBOA 254 INTERIOR                      17 BK 03283-LTS                                                 BALBOA 254 INTERIOR                   17 BK 03283-LTS
    LA QUINTA                                                                                                BO LA QUINTA
    MAYAGUEZ, PR 00680                                                                                       MAYAGUEZ, PR 00680

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                           Page 87 of 95
                                       Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                             Desc:
                                                   Exhibit Exhibit A (Schedule of Claim-English) Page 89 of 96

                                                                             Twenty-Third Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
462 CUEVAS APONTE,                06/05/18   Commonwealth of Puerto         65525              Undetermined* CUEVAS APONTE,          06/05/18   Commonwealth of Puerto    69769        Undetermined*
    CLARIBEL                                 Rico                                                            CLARIBEL                           Rico
    BO LA QUINTA                             17 BK 03283-LTS                                                 BO LA QUINTA                       17 BK 03283-LTS
    254 BALBOA INT                                                                                           254 BALBOA INT
    MAYAGUEZ, PR 00680                                                                                       MAYAGUEZ, PR 00680

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
463 CUEVAS MATOS,                 06/29/18   Commonwealth of Puerto         71979                 $ 6,800.00* CUEVAS MATOS,          06/29/18   Commonwealth of Puerto    78202           $ 6,800.00*
    LILIANA                                  Rico                                                             LILIANA                           Rico
    PO BOX 82                                17 BK 03283-LTS                                                  PO BOX 82                         17 BK 03283-LTS
    CANOVANAS, PR 00729-                                                                                      CANOVANAS, PR 00729-
    0082                                                                                                      0082

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
464 CUEVAS PAGAN,                 07/05/18   Commonwealth of Puerto         138568             Undetermined* CUEVAS PAGAN,           07/05/18   Commonwealth of Puerto    144198       Undetermined*
    LUCIAN                                   Rico                                                            LUCIAN                             Rico
    BO. PUEBLO SECTOR                        17 BK 03283-LTS                                                 HC-01 BOX 4591                     17 BK 03283-LTS
    GUAJATACA                                                                                                BO. PUEBLO
    HC-01 BOX 4591                                                                                           LARES, PR 00669
    LARES, PR 00669

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
465 CUEVAS RODRIGUEZ,             06/28/18   Commonwealth of Puerto         119524                $ 75,000.00 CUEVAS RODRIGUEZ,      06/28/18   Commonwealth of Puerto    130305          $ 75,000.00
    IVELISSE                                 Rico                                                             IVELISSE                          Rico
    URB. REXVILLE                            17 BK 03283-LTS                                                  B23 CALLE 3A                      17 BK 03283-LTS
    CALLE 3A B23                                                                                              REXVILLE
    BAYAMON, PR 00957                                                                                         BAYAMON, PR 00957

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
466 CURET ENRIQUEZ,               06/28/18   Commonwealth of Puerto         60401              Undetermined* CURET ENRIQUEZ,         07/03/18   Commonwealth of Puerto    104308       Undetermined*
    ALMA D                                   Rico                                                            ALMA D                             Rico
    PMB 509                                  17 BK 03283-LTS                                                 PMB 509 CALLE                      17 BK 03283-LTS
    CALLE ESANCHEZ                                                                                           ESANCHEZ ORIENTE #
    ORIENTE#154                                                                                              154
    HUMACAO, PR 00791                                                                                        HUMACAO, PR 00791

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 88 of 95
                                       Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                            Desc:
                                                   Exhibit Exhibit A (Schedule of Claim-English) Page 90 of 96

                                                                             Twenty-Third Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
467 DALECCIO COLON,               03/15/18   Commonwealth of Puerto          2905              Undetermined* DALECCIO COLON,        03/15/18   Commonwealth of Puerto    2929         Undetermined*
    YMAR                                     Rico                                                            YMAR                              Rico
    3173 BELTRADA AVE                        17 BK 03283-LTS                                                 3173 BELTRADA AVE                 17 BK 03283-LTS
    HENDERSON, NV 89044                                                                                      HENDERSON, NV 89044

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
468 DAVID REYES, KEYLA N          06/27/18   Commonwealth of Puerto         99111              Undetermined* DAVID REYES, KEYLA N   06/27/18   Commonwealth of Puerto    102249       Undetermined*
    PO BOX 543                               Rico                                                            URB. PROVINCIAS DEL               Rico
    COAMO, PR 00769                          17 BK 03283-LTS                                                 RIO I                             17 BK 03283-LTS
                                                                                                             129 CALLE GUYABO
                                                                                                             COAMO, PR 00769-4930

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
469 DAVID ROSARIO,                05/25/18   Commonwealth of Puerto         20430              Undetermined* DAVID ROSARIO,         05/30/18   Commonwealth of Puerto    44443        Undetermined*
    TERESA                                   Rico                                                            TERESA                            Rico
    HC 04 BOX 17814                          17 BK 03283-LTS                                                 HC-04 BOX 17814                   17 BK 03283-LTS
    BO LA SABANA                                                                                             COMUY, PR 00627-9502
    CAMUY, PR 00627

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
470 DAVID ROSARIO,                05/25/18   Commonwealth of Puerto         21670              Undetermined* DAVID ROSARIO,         05/30/18   Commonwealth of Puerto    44443        Undetermined*
    TERESA                                   Rico                                                            TERESA                            Rico
    HC 04 BOX 17814                          17 BK 03283-LTS                                                 HC-04 BOX 17814                   17 BK 03283-LTS
    BO LA SABANA                                                                                             COMUY, PR 00627-9502
    CAMUY, PR 00627

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
471 DAVILA ALVAREZ,               04/18/18   Commonwealth of Puerto          7592              Undetermined* DAVILA ALVAREZ,        05/25/18   Commonwealth of Puerto    33801        Undetermined*
    NILDA L                                  Rico                                                            NILDA L                           Rico
    COND QUINTANA A                          17 BK 03283-LTS                                                 500 ROBERTO H.TODD                17 BK 03283-LTS
    EDF A APT 1402                                                                                           PO BOX 8000
    SAN JUAN, PR 00917                                                                                       SANTURCE, PR 00910

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 89 of 95
                                       Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                              Desc:
                                                   Exhibit Exhibit A (Schedule of Claim-English) Page 91 of 96

                                                                             Twenty-Third Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME              FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
472 DAVILA JIMENEZ,               06/29/18   Commonwealth of Puerto         77562              Undetermined* DAVILA JIMENEZ,          06/29/18   Commonwealth of Puerto    95206        Undetermined*
    BETSY I                                  Rico                                                            BETSY I                             Rico
    AQ3 CALLE 47                             17 BK 03283-LTS                                                 URB. SANTA JUANITA                  17 BK 03283-LTS
    URB. SANTA JUANITA                                                                                       AQ3 CALLE 47
    BAYAMSN, PR 00956                                                                                        BAYAMON, PR 00956

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
473 DAVILA PEREZ,                 06/28/18   Commonwealth of Puerto         58046              Undetermined* DAVILA PEREZ,            06/29/18   Commonwealth of Puerto    137733       Undetermined*
    SANDRA M.                                Rico                                                            SANDRA M.                           Rico
    URB. CAMPAMENTO                          17 BK 03283-LTS                                                 URB. CAMPAMENTO                     17 BK 03283-LTS
    CALLE E                                                                                                  CALLE E
    BUZON 11                                                                                                 BUZON 11
    GURABO, PR 00778                                                                                         GURABO, PR 00778

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
474 DE GARRIGA, YAHAIRA           05/29/18   Commonwealth of Puerto         38182                $ 25,000.00* DE GARRIGA, YAHAIRA     05/29/18   Commonwealth of Puerto    41802          $ 25,000.00*
    URB BRISAS DEL                           Rico                                                             URB BRISAS DEL                     Rico
    LAUREL                                   17 BK 03283-LTS                                                  LAUREL                             17 BK 03283-LTS
    1001 CLOS                                                                                                 1001 CLOS
    FLAMBOYANES                                                                                               FLAMBOYANES
    COTO LAUREL, PR 00780                                                                                     COTO LAUREL, PR 00780

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
475 DE JESUS AVILES, LUZ E        06/06/18   Commonwealth of Puerto         62168              Undetermined* DE JESUS AVILES, LUZ E   06/06/18   Commonwealth of Puerto    64761        Undetermined*
    PO BOX 2390                              Rico                                                            URB. ALTURAS DE                     Rico
    BAYAMON, PR 00960                        17 BK 03283-LTS                                                 FLAMBOYAN                           17 BK 03283-LTS
                                                                                                             CALLE 14 X 13
                                                                                                             BAYAMON, PR 00962

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
476 DE JESUS CORREA,              06/28/18   Commonwealth of Puerto         112078             Undetermined* DE JESUS CORREA,         06/28/18   Commonwealth of Puerto    120210       Undetermined*
    NIVEA                                    Rico                                                            NIVEA                               Rico
    URB. JARDINES DE                         17 BK 03283-LTS                                                 CALLE Y-A1-14                       17 BK 03283-LTS
    ARROYO                                                                                                   URB. JARDINES DE
    CALLE Y-A1-14                                                                                            ARROYO
    ARROYO, PR 00714                                                                                         ARROYO, PR 00714

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 90 of 95
                                       Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                              Desc:
                                                   Exhibit Exhibit A (Schedule of Claim-English) Page 92 of 96

                                                                             Twenty-Third Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
477 DE JESUS DE JESUS,            06/07/18   Commonwealth of Puerto         53644              Undetermined* DE JESUS DE JESUS,       06/07/18   Commonwealth of Puerto    77137        Undetermined*
    SANDRA                                   Rico                                                            SANDRA                              Rico
    VILLA CAMARERO                           17 BK 03283-LTS                                                 VILLA CAMARERO                      17 BK 03283-LTS
    5544 CALLE TINTORERA                                                                                     5544 CALLE TINTORERA
    SANTA ISABEL, PR 00757                                                                                   SANTA ISABEL, PR 00757

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
478 DE JESUS DE JESUS,            06/07/18   Commonwealth of Puerto         61582              Undetermined* DE JESUS DE JESUS,       06/07/18   Commonwealth of Puerto    77137        Undetermined*
    SANDRA                                   Rico                                                            SANDRA                              Rico
    VILLA CAMARERO                           17 BK 03283-LTS                                                 VILLA CAMARERO                      17 BK 03283-LTS
    5544                                                                                                     5544 CALLE TINTORERA
    SANTA ISABEL, PR 00757                                                                                   SANTA ISABEL, PR 00757

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
479 DE JESUS DE JESUS,            06/07/18   Commonwealth of Puerto         62446              Undetermined* DE JESUS DE JESUS,       06/07/18   Commonwealth of Puerto    77137        Undetermined*
    SANDRA                                   Rico                                                            SANDRA                              Rico
    VILLA CAMERERO                           17 BK 03283-LTS                                                 VILLA CAMARERO                      17 BK 03283-LTS
    5544 CALLE TINTORERA                                                                                     5544 CALLE TINTORERA
    SANTA ISABEL, PR 00757                                                                                   SANTA ISABEL, PR 00757

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
480 DE JESUS FELICIANO,           05/25/18   Commonwealth of Puerto         25996                   $ 3,043.70 DE JESUS FELICIANO,    05/30/18   Commonwealth of Puerto    23815           $ 3,043.70*
    SERAFIN                                  Rico                                                              SERAFIN                           Rico
    LIRIO DEL MAR                            17 BK 03283-LTS                                                   LIRIO DEL MAR                     17 BK 03283-LTS
    TORRES, ESQ.                                                                                               TORRES, ESQ.
    PO BOX 3552                                                                                                PO BOX 3552
    MAYAGUEZ, PR 00681                                                                                         MAYAGUEZ, PR 00681

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
481 DE JESUS FUENTES,             05/29/18   Commonwealth of Puerto         23985              Undetermined* DE JESUS FUENTES,        06/26/18   Commonwealth of Puerto    50579        Undetermined*
    KARLA B                                  Rico                                                            KARLA B                             Rico
    90 BALCONES MONTE                        17 BK 03283-LTS                                                 90 BALCONES MONTE                   17 BK 03283-LTS
    REAL II                                                                                                  REAL II
    APT 7701 EDIF 1                                                                                          APT 7701 EDIF 1
    CAROLINA, PR 00987                                                                                       CAROLINA, PR 00987

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 91 of 95
                                       Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                           Desc:
                                                   Exhibit Exhibit A (Schedule of Claim-English) Page 93 of 96

                                                                             Twenty-Third Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                     DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME           FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
482 DE JESUS GONZALEZ,            07/06/18   Commonwealth of Puerto         158089             Undetermined* DE JESUS GONZALEZ,    07/06/18   Commonwealth of Puerto    158297       Undetermined*
    VENTURA                                  Rico                                                            VENTURA                          Rico
    PMB 24 P.O BOX 6000                      17 BK 03283-LTS                                                 PMB 24 P.O BOX 6000              17 BK 03283-LTS
    PATILLAS, PR 00723                                                                                       PATILLAS, PR 00723

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
483 DE JESUS MARTINEZ,            06/26/18   Commonwealth of Puerto         36296              Undetermined* DE JESUS MARTINEZ,    06/26/18   Commonwealth of Puerto    52790        Undetermined*
    YOLANDA                                  Rico                                                            YOLANDA                          Rico
    HC 33 BOX 5323                           17 BK 03283-LTS                                                 HC 33                            17 BK 03283-LTS
    DORADO, PR 00646                                                                                         BOX 5323
                                                                                                             DORADO, PR 00646

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
484 DE JESUS MUNIZ,               06/29/18   Commonwealth of Puerto         125874             Undetermined* DE JESUS MUNIZ,       06/29/18   Commonwealth of Puerto    165616       Undetermined*
    MARIA M.                                 Rico                                                            MARIA M.                         Rico
    AM-23 CALLE 33 URB.                      17 BK 03283-LTS                                                 AM 23 CALLE 33                   17 BK 03283-LTS
    VILLAS DE LAZA                                                                                           URB VILLAS DE LAZA
    CANÓVANAS, PR 00729                                                                                      CANOVANAS, PR 00729

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
485 DE JESUS ROSARIO,             06/29/18   Commonwealth of Puerto         141476             Undetermined* DE JESUS ROSARIO,     06/29/18   Commonwealth of Puerto    155156       Undetermined*
    JOSE LUIS                                Rico                                                            JOSE LUIS                        Rico
    HC 2 BOX 5305                            17 BK 03283-LTS                                                 HC2 BOX 5305                     17 BK 03283-LTS
    PENUELAS, PR 00624-                                                                                      PENUELAS, PR 00624-
    9679                                                                                                     9679

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
486 DE JESUS ROSARIO,             06/29/18   Commonwealth of Puerto         144328             Undetermined* DE JESUS ROSARIO,     06/29/18   Commonwealth of Puerto    155156       Undetermined*
    JOSE LUIS                                Rico                                                            JOSE LUIS                        Rico
    HC-2 BOX 5305                            17 BK 03283-LTS                                                 HC2 BOX 5305                     17 BK 03283-LTS
    PENUELAS, PR 00624-                                                                                      PENUELAS, PR 00624-
    9679                                                                                                     9679

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                      Page 92 of 95
                                       Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                            Desc:
                                                   Exhibit Exhibit A (Schedule of Claim-English) Page 94 of 96

                                                                             Twenty-Third Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
487 DE JESUS ROSARIO,             06/29/18   Commonwealth of Puerto         150600             Undetermined* DE JESUS ROSARIO,      06/29/18   Commonwealth of Puerto    155156       Undetermined*
    JOSE LUIS                                Rico                                                            JOSE LUIS                         Rico
    HC 2 BOX 5305                            17 BK 03283-LTS                                                 HC2 BOX 5305                      17 BK 03283-LTS
    PENUELAS, PR 00624-                                                                                      PENUELAS, PR 00624-
    9679                                                                                                     9679

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
488 DE JESUS ROSARIO,             06/29/18   Commonwealth of Puerto         155010             Undetermined* DE JESUS ROSARIO,      06/29/18   Commonwealth of Puerto    155156       Undetermined*
    JOSE LUIS                                Rico                                                            JOSE LUIS                         Rico
    HC 2 BOX 5305                            17 BK 03283-LTS                                                 HC2 BOX 5305                      17 BK 03283-LTS
    PENUELAS, PR 00624-                                                                                      PENUELAS, PR 00624-
    9679                                                                                                     9679

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
489 DE LA CRUZ SANTIAGO,          05/30/18   Commonwealth of Puerto         44598              Undetermined* DE LA CRUZ SANTIAGO,   05/30/18   Commonwealth of Puerto    46679        Undetermined*
    DAMARIS                                  Rico                                                            DAMARIS                           Rico
    HC 1 BOX 17294                           17 BK 03283-LTS                                                 HC 1 BOX 17294                    17 BK 03283-LTS
    HUMACAO, PR 00791                                                                                        HUMACAO, PR 00791-
                                                                                                             9739

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
490 DE LA ROSA                    06/29/18   Commonwealth of Puerto         135764                $ 30,000.00 DE LA ROSA            06/29/18   Commonwealth of Puerto    138964         $ 30,000.00*
    GUERRERO, RUTH E.                        Rico                                                             GUERRERO, RUTH E.                Rico
    B16 CALLE LAUREL                         17 BK 03283-LTS                                                  B-16 CALLE LAUREL                17 BK 03283-LTS
    URB. CAMPO ALEGRE                                                                                         B-16
    BAYAMON, PR 00956                                                                                         URB. CAMPO ALEGRE
                                                                                                              BAYAMON, PR 00956

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
491 DE LEON COLON,                06/27/18   Commonwealth of Puerto         104958             Undetermined* DE LEON COLON,         06/27/18   Commonwealth of Puerto    114127       Undetermined*
    DESIDERIO                                Rico                                                            DESIDERIO                         Rico
    HC 2 BOX 8085                            17 BK 03283-LTS                                                 HC 2 BOX 8085                     17 BK 03283-LTS
    GUAYANILLA, PR 00656                                                                                     GUAYANILLA, PR 00656

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 93 of 95
                                       Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                            Desc:
                                                   Exhibit Exhibit A (Schedule of Claim-English) Page 95 of 96

                                                                             Twenty-Third Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT               NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
492 DE LEON FLECHA,               06/06/18   Commonwealth of Puerto         49059              Undetermined* DE LEON FLECHA,        06/06/18   Commonwealth of Puerto    48915        Undetermined*
    JESSICA                                  Rico                                                            JESSICA                           Rico
    URB VILLA                                17 BK 03283-LTS                                                 VILLA UNIVERSITARIA               17 BK 03283-LTS
    UNIVERSITARIA                                                                                            C/16 L7
    L 7 CALLE 16                                                                                             HUMACAO, PR 00791
    HUMACAO, PR 00791

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
493 DE LEON ROJAS,                05/19/18   Commonwealth of Puerto         15114              Undetermined* DE LEON ROJAS,         05/19/18   Commonwealth of Puerto    16532         $ 150,000.00*
    ELIZABETH                                Rico                                                            ELIZABETH                         Rico
    CONDOMINO VILLAS DE                      17 BK 03283-LTS                                                 CONDOMINIO VILLAS                 17 BK 03283-LTS
    GUAYNABO                                                                                                 DE GUAYNABO
    CALLE BETANCES #52                                                                                       CALLE BETANCES #52
    APARTMENTO #1                                                                                            APT. 1
    GUAYNABO, PR 00971                                                                                       GUAYNABO, PR 00971

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
494 DE LEON SANTIAGO,             06/28/18   Commonwealth of Puerto         125287             Undetermined* DE LEON SANTIAGO,      06/28/18   Commonwealth of Puerto    141870       Undetermined*
    MARITZA                                  Rico                                                            MARITZA                           Rico
    URB. BRISAS DEL MAR                      17 BK 03283-LTS                                                 URB. BRISAS DEL MAR               17 BK 03283-LTS
    CALLE BARRASA M-13                                                                                       CALLE BARRASA M-13
    GUAYAMA, PR 00784                                                                                        GUAYAMA, PR 00784

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
495 DE LOURDES RUIZ,              07/06/18   Commonwealth of Puerto         121482             Undetermined* DE LOURDES RUIZ,       07/06/18   Commonwealth of Puerto    122844       Undetermined*
    MARIA                                    Rico                                                            MARIA                             Rico
    PO BOX 18                                17 BK 03283-LTS                                                 P.O BOX 18                        17 BK 03283-LTS
    RINCON, PR 00677                                                                                         RINCON, PR 00677

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
496 DE SANTIAGO RAMOS,            07/03/18   Commonwealth of Puerto         124365             Undetermined* DE SANTIAGO RAMOS,     07/03/18   Commonwealth of Puerto    130121       Undetermined*
    MARTA                                    Rico                                                            MARTA                             Rico
    CALLE CUPEY #111 URB.                    17 BK 03283-LTS                                                 CALLE CUPEY #111 URB              17 BK 03283-LTS
    LOS ARBOLES                                                                                              LOS ARBOLES
    ANASCO, PR 00610                                                                                         ANASCO, PR 00610

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 94 of 95
                                       Case:17-03283-LTS Doc#:6272-1 Filed:04/15/19 Entered:04/15/19 20:30:27                                            Desc:
                                                   Exhibit Exhibit A (Schedule of Claim-English) Page 96 of 96

                                                                             Twenty-Third Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
497 DEIDA GONZALEZ,               06/25/18   Commonwealth of Puerto         51834              Undetermined* DEIDA GONZALEZ,        06/25/18   Commonwealth of Puerto    64456        Undetermined*
    WILMA                                    Rico                                                            WILMA                             Rico
    96 CALLE JORGE                           17 BK 03283-LTS                                                 CALLE JORGE LASALLE               17 BK 03283-LTS
    LASALLE                                                                                                  # 96
    QUEBRADILLAS, PR                                                                                         QUEBRADILLAS, PR
    00678                                                                                                    00678

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
498 DEL TORO RUIZ, EVA            06/28/18   Commonwealth of Puerto         131409             Undetermined* DEL TORO RUIZ, EVA     06/29/18   Commonwealth of Puerto    146963       Undetermined*
    LYDIA                                    Rico                                                            LYDIA                             Rico
    REPARTO ESPERANZA                        17 BK 03283-LTS                                                 REPARTO ESPEMNZA                  17 BK 03283-LTS
    P-14 MONSERRATE                                                                                          P-14 MONSERRATE
    PACHECO                                                                                                  PACHEO
    YAUCO, PR 00698-3137                                                                                     YAUCO, PR 00698-3137

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
499 DEL VALLE ARROYO,             05/29/18   Commonwealth of Puerto         38450              Undetermined* DEL VALLE ARROYO,      05/29/18   Commonwealth of Puerto    43333        Undetermined*
    CARLOS J                                 Rico                                                            CARLOS J                          Rico
    PO BOX 8273                              17 BK 03283-LTS                                                 PO BOX 8273                       17 BK 03283-LTS
    CAGUAS, PR 00726                                                                                         CAGUAS, PR 00726

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
500 DEL VALLE JIMENEZ,            07/25/18   Commonwealth of Puerto         118582             Undetermined* DEL VALLE JIMENEZ,     07/25/18   Commonwealth of Puerto    157404       Undetermined*
    JUAN ANIBAL                              Rico                                                            JUAN ANIBAL                       Rico
    HC 04 BOX 17054                          17 BK 03283-LTS                                                 HC 04 BOX 17054                   17 BK 03283-LTS
    LARES, PR 00669                                                                                          LARES, PR 00669

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 95 of 95
